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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY
UNIVERSITIES SUPERANNUATION SCHEME
LIMITED,                                Civil Action No.

                       Plaintiff,                   Judge:

     v.

PERRIGO CO., PLC, JOSEPH PAPA, and
JUDY BROWN,

                                                    JURY TRIAL DEMANDED
                       Defendants.




                                    COMPLAINT
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         Plaintiff Universities Superannuation Scheme Limited (“USS” or “Plaintiff”),1 purchaser

of the common stock of Perrigo Co., plc (“Perrigo” or the “Company”) between April 21, 2015,

and May 3, 2017, both dates inclusive (the “Relevant Period”), and owner of Perrigo common

stock as of November 13, 2015 as alleged below, brings this action (the “Action”) seeking to

recover damages caused by defendants’ violations of securities laws against Perrigo; Joseph C.

Papa (“Papa”), Perrigo’s former Chief Executive Officer (“CEO”); and Judy L. Brown

(“Brown”), Perrigo’s former Chief Financial Officer (“CFO”) (collectively, “Defendants”).

         Plaintiff alleges the following based upon personal knowledge as to those allegations

concerning Plaintiff and, as to all other matters, upon investigation of counsel, including, among

other things: (i) review and analysis of public filings made by Perrigo with the United States

Securities and Exchange Commission (“SEC”); (ii) review and analysis of documents filed by

Mylan, N.V. (“Mylan”) with the SEC in connection with its tender offer for Perrigo; (iii) review

and analysis of documents filed by Perrigo and Mylan with the Irish Takeover Panel in

connection with Mylan’s tender offer for Perrigo; (iv) review and analysis of press releases and

other publications disseminated by Defendants (defined below); (v) review and analysis of news

articles and conference call transcripts; (vi) review and analysis of other court filings related to

Perrigo and Mylan, including the amended complaint for violation of the federal securities laws

in Roofers’ Pension Fund v. Perrigo Co., plc, No. 2:16-cv-02805-MCA-LDW (D.N.J.) and

pleadings in In re Generic Pharmaceuticals Pricing Antitrust Litig., MDL No. 2724, No. 2:16-

md-02724-CMR (E.D. Pa.); (vii) review and analysis of other publicly available information

concerning Perrigo and Mylan; (viii) analysis of pricing in the generic drug markets in which



    1
     L. Civ. R. 10.1 Statement: The main office of Plaintiff is located at: Royal Liver Building,
Liverpool, England, L3 1PY.
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Perrigo operated; (ix) analysis of Perrigo’s organic revenue growth; (x) review and analysis of

other publicly available information; and (xi) information obtained from interviews with

knowledgeable individuals. The investigation of facts pertaining to this case is ongoing. Plaintiff

believes that additional evidence will support the allegations herein after a reasonable

opportunity for discovery.

I.     SUMMARY OF THE ACTION

       1.      This action arises from misrepresentations and omissions that Defendants made to

Plaintiff while fighting a hostile takeover and throughout the Relevant Period (between April 21,

2015, and May 3, 2017). On April 8, 2015, pharmaceutical conglomerate Mylan announced an

unsolicited bid to purchase Perrigo for cash and stock worth $205 per share (later increased to

$246 per share). After twice increasing its bid, Mylan proceeded with a formal tender offer,

which was announced on September 14, 2015. To discourage Perrigo shareholders from

accepting Mylan’s offer, Defendants repeatedly made material misrepresentations and omissions

about four key areas: (a) the integration and overvaluation of Perrigo’s largest acquisition,

Omega Pharma N.V. (“Omega”); (b) Perrigo’s organic growth; (c) collusive pricing and pricing

pressure in Perrigo’s most profitable division, generic drugs (which Perrigo called “Generic Rx”

or sometimes just “Rx”); and (d) the deteriorating value of Perrigo’s largest financial asset, a

royalty stream for the drug Tysabri.

       2.      To fight Mylan’s offer, Defendants touted and spoke at length regarding the

integration and prospects of Omega, making false and misleading statements and omissions

regarding the status of the integration and the key role Omega would play in Perrigo’s growth.

Following the expiration of Mylan’s tender offer, as alleged below (e.g., at ¶¶ 210-11, 215, 223),

Perrigo effectively conceded that Defendants had misrepresented Omega’s integration and

prospects. The concealed problems with Omega were so profound that the Company ultimately


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took impairment charges totaling more than $2 billion, or nearly half of the total purchase price

for Omega.

       3.      Further, and as demonstrated through the accounts of numerous former employees

of Perrigo and Omega (among other sources) detailed below, Defendants touted synergies with

Omega as central to Perrigo’s growth claims, even though Defendants knew or recklessly

disregarded that there were deep problems with the Omega integration and the underlying assets,

including: (a) a decentralized structure, disparate information technologies (“IT”) and

management resistance at Omega that made integration difficult; (b) regulatory hurdles to

achieving claimed synergies; and (c) weak Omega sales. For example, according to a former

Director of Marketing at Perrigo from prior to the beginning of the Relevant Period until April

2017 (“Confidential Witness 1” or “CW1”) who was interviewed in the course of drafting this

complaint, it was clear almost immediately after the Omega deal closed on March 30, 2015 that

Omega was substantially underperforming, the integration had stalled and was marred by

pervasive problems, and the synergies and growth projections touted by Perrigo and its

executives, including Papa and Brown, were an illusion.

       4.      Additionally, understanding that organic growth was crucial to investors,

Defendants misleadingly claimed 7% to 8% average historical organic growth during Defendant

Papa’s tenure as CEO, without disclosing that organic growth (which it did not regularly report)

had slowed to a trickle during the six quarters prior to the Relevant Period, and was even

negative during some of those periods.

       5.      Prior to the Mylan tender offer deadline, Defendants accompanied these inflated

projections with express promises of accuracy, completeness, and care under the Irish Takeover

Rules, which applied because Perrigo is an Irish company. Irish Takeover Rules require directors




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to be diligent and acknowledge accountability for their statements to investors. Accordingly,

each press release and presentation Perrigo made from the beginning of the Relevant Period

(April 21, 2015) through the expiration of Mylan’s tender offer assured that: “The directors of

Perrigo accept responsibility for the information contained in this announcement [or

presentation]. To the best of the knowledge and belief of the directors of Perrigo (who have

taken all reasonable care to ensure such is the case), the information contained in this

announcement [or presentation] is in accordance with the facts and does not omit anything likely

to affect the import of such information.”2

         6.    To discourage Perrigo investors such as Plaintiff from tendering shares to Mylan,

Defendants also issued an inflated profit forecast guiding investors to expect 2016 earnings of

$9.30 to $9.83 per share, which Perrigo would later concede was not “realistic.” Defendants’

manipulation of the profit forecast stood in stark contrast to the promises they made to investors

under Irish Takeover Rule 28, which they claimed to understand. Rule 28.1 mandates that

“[e]very such profit forecast (including the assumptions upon which it is based) shall be

compiled with scrupulous care, accuracy and objectivity.”3 Despite these promises, Perrigo and

its directors issued aggressive and unrealistic profit forecasts based upon assumptions that were

not remotely accurate or objective. For example, they assumed success in achieving Omega

synergies despite knowledge of significant problems with the integration, assumed an organic

growth rate far higher than the Company had recently been able to achieve consistently, and

assumed that Perrigo could continue the collusive price hikes driving profits in its Generic Rx

division, even as generic drug pricing came under increased scrutiny. Further, in addition to the

    2
     Except where otherwise noted, all emphasis in this complaint is added.
    3
     See Irish Takeover Rules, available at http://irishtakeoverpanel.ie/wp-
content/uploads/2014/01/ITP-Takeover-Rules.pdf.



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accounts of numerous former employees of Perrigo and Omega (among other sources) noted

above, and as alleged in detail below, according to CW1, by as early as 2013, Perrigo’s organic

growth had plateaued so it relied on the practice of accelerating sales to customers, or optimizing

sales, to make the Company’s numbers look better. CW1 explained that both Papa and Brown

would direct subordinates, including CW1’s boss, to optimize, but when John Hendrickson was

promoted to CEO, replacing Papa in April 2016, Hendrickson told Perrigo employees (including

CW1) that the Company would no longer push out inventory to make its numbers look better,

and ultimately Perrigo reduced guidance as a result.

       7.      In their efforts to defeat the Mylan bid, Defendants also hid the fact that results in

Perrigo’s most profitable division, Generic Rx, were significantly inflated by illegal price-fixing.

Instead of engaging in price competition that usually drives generic drug prices relentlessly

downward toward the cost of production, Perrigo and other generics manufacturers colluded to

raise contemporaneously prices for many generic products by 300% to 500% or more. These

price hikes allowed Perrigo to reap hundreds of millions of dollars in collusive revenues.

       8.      Further, throughout the Relevant Period, Defendants falsely presented an inflated

value for Perrigo’s largest financial asset—its Tysabri Royalty stream—and misclassified that

asset as an “intangible asset” in violation of generally accepted accounting principles (“GAAP”),

which mandated that the Tysabri Royalty stream be treated as a “financial asset” requiring

marking the fair value to market at least each quarter. Perrigo now admits that their repeated

assertions that the Tysabri royalty stream was worth $5.8 billion, and that Perrigo’s accounting

followed GAAP, were false. The fair value of the Tysabri royalty stream was far less than the

$5.8 billion reported by Perrigo throughout the Relevant Period, and Perrigo’s accounting for the

royalty stream as an “intangible asset” violated GAAP. Through its GAAP violations, overseen




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by Defendant Brown, Perrigo was able to hide billions of dollars in value deterioration from

investors. Because of fraudulent conduct, Perrigo was required to restate earnings and, in a

restatement on May 22, 2017—after the Relevant Period—Perrigo conceded that its Relevant

Period balance sheets should have recorded billions of dollars of deteriorating fair values, as

alleged in more detail below.

       9.      In other words, even by Defendants’ own account, Defendants misreported more

than $1 billion in revenue through GAAP violations.

       10.     Defendants’ misrepresentations and omissions served their purpose, defeating

Mylan’s takeover bid. On November 13, 2015, the tender offer was voted down by a misled

majority of Perrigo shareholders, with less than 50% of Perrigo investors tendering shares.

Because Mylan’s tender offer specified that it would proceed only if 50% or more shares were

tendered by that date, the offer expired pursuant to its terms. As an immediate consequence of

the tender offer’s failure, Plaintiff and other Perrigo shareholders were forced to hold onto

Perrigo stock valued at $140.54 per share on November 13, 2015 (as of when the market

opened), when they could have received a value of $174.36 per each Perrigo share (based upon

the Mylan share price at the close on November 12, 2015) had the tender offer succeeded.

       11.     However, the truth soon began to emerge, causing the value of Perrigo stock to

decline. On February 18, 2016, just three months after the failed take-over bid, Perrigo reported

fourth quarter 2015 revenue, profits, and margins that were all well below what the Defendants

had led investors to believe the Company would achieve. Perrigo revealed that certain Omega

assets would need to be restructured and took a $185 million impairment charge, while also

slashing the top end of the Company’s 2016 guidance range from $10.10 to $9.80. On this news,

Perrigo shares fell $14.77, or more than 10%, to close at $130.40.




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        12.    Next, on April 22, 2016, Reuters and other news agencies reported that longtime

Perrigo CEO and Chairman of the Board, Joseph Papa, the architect of the aggressive promises

used to defeat the Mylan bid, would leave Perrigo for Valeant Pharmaceuticals International, Inc.

(“Valeant”), a struggling company widely criticized for accounting violations and ethical lapses. 4

Analysts and shareholders understood Papa’s exit to mean that the problems at Perrigo were even

worse than they were told in February. As a result, Perrigo shares fell $7.33, or 5.7%, to close at

$121.53.

        13.    The following business day, April 25, 2016, Perrigo announced that Papa was

leaving and, to facilitate his exit, Perrigo had waived parts of his non-compete agreement.

Perrigo also lowered its 2016 earnings guidance to $8.20 to $8.60 per share, a full $1.40 less (at

midpoint) than claimed only three months earlier. The Company further reported that it expected

first quarter 2016 earnings to be only $1.71 to $1.77 per share, which it blamed on more

competitive generic drug pricing (the natural result of collusion becoming more difficult as

regulators focused in on widespread price-fixing in the industry). Perrigo also stated that it was

considering additional impairment charges for Omega, assets it touted to fend off the Mylan bid.

CNBC commentator Jim Cramer called this a “terrible moment for Perrigo,” explaining that

Defendant Papa had come on Cramer’s show “and talked about how the Mylan bid dramatically

undervalued Perrigo. . . . That was clearly untrue.” The April 25, 2016 partial disclosures

caused Perrigo shares to tumble $21.95, or 18%, to close at $99.40.




    4
      Specifically, Valeant has been called “the corporate poster-child for price-gouging” and
investigated for potentially illegal practices. See R. Boyd, “Valeant, The End of The Michael
Pearson Era,” available at http://sirf-online.org/2017/03/23/valeant-the-end-of-the-michael-
pearson-era/.



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        14.     On May 12, 2016, Perrigo announced another $467 million impairment charge for

Omega, tripling the original impairment figure, only months after Defendants trumpeted the

success of the Omega acquisition. On this additional news, Perrigo shares fell $3.71, or 4%, to

close at $89.04.

        15.     The fall in Perrigo’s stock price was tempered, in part, by a new policy announced

by the incoming CEO, John Hendrickson (“Hendrickson”). Going forward, Hendrickson

promised Perrigo would “try to be as transparent as possible” and issue “realistic” forecasts. This

was intended to be, and was taken by investors as, a clear admission that prior guidance under

Papa had been neither transparent nor realistic. Analysts praised Hendrickson’s promise of

candor, emphasizing the need to “re-establish credibility” after the prior regime. Despite these

promises, however, Perrigo did not come clean about the full extent of its problems with the

Omega integration, its anti-competitive pricing in the Generic Rx division, or the declining value

of its largest financial asset, the Tysabri royalty stream.

        16.     On August 10, 2016, Perrigo announced that it was cutting guidance yet again as

a result of having to implement “transformational organizational changes” at Omega, and

because of additional pricing pressure in the Generic Rx division. Even worse, Perrigo projected

that 2016 impairment charges, which were excluded from this guidance, would nearly double,

from $1.74 per share to $3.29 per share. Consequently, Perrigo shares fell approximately 10% to

close at $86.00.

        17.     On September 12, 2016, institutional investor Starboard Value published a

scathing letter critical of the inflated “management and Board sanctioned [growth] claims that




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allowed Perrigo to persuade enough shareholders to reject Mylan’s offer and support Perrigo’s

standalone plan,” that Perrigo has since slowly deflated.5

        18.    On December 8, 2016, after announcing that it needed to restructure the entire

branded division (consisting mostly of Omega assets), Perrigo shares declined by an additional

2.37%, from $83.94 to $81.94. By the time the year was over, Perrigo had accrued over $2

billion in impairment charges related to Omega.

        19.    On February 27, 2017, Perrigo stunned investors by announcing it would sell the

Tysabri royalty stream for only $2.2 billion cash (plus additional contingent payments of up to

$0.65 billion), billions of dollars less than the asset had been recorded on Perrigo’s books and

presented to investors throughout the Relevant Period. Defendants deliberately hid this

deterioration from investors through their GAAP violations and failure to record the fair value of

the asset each quarter.

        20.    Perrigo also disclosed on February 27, 2017, that it could not timely file its

Annual Report on Form 10-K for 2016 because it needed to review historical revenue

recognition practices for the royalty stream and other potential issues (which ultimately led to the

restatement of every single financial statement issued during the Relevant Period), and disclosed

that the person most responsible for the GAAP violations, Chief Financial Officer (“CFO”) Judy

Brown, was unexpectedly resigning. On these additional disclosures, Perrigo shares dropped

another 12%, or $9.91 per share, from $84.68 to close at $74.77.




    5
       See Starboard letter dated September 12, 2016, available at
http://www.valuewalk.com/2016/09/starboard-value-delivers-letter-perrigo-company-ceo/; see
also infra ¶ 225. All numbers in the Starboard chart reflect the midpoint of the guidance range
updates provided by Perrigo for 2016 adjusted earnings per share (“EPS”).



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        21.    On March 3, 2017, Bloomberg reported that Perrigo—like many other generic

drug companies—was in the sights of antitrust regulators at the Department of Justice

investigating generic drug price-fixing. In a filing made in a private lawsuit, the Department of

Justice asked that private discovery be delayed with respect to Perrigo and other manufacturers

of generic topical drugs because the government attorneys were worried that private discovery

“could reveal details of the ongoing criminal investigation and delay, or even frustrate, its

progress.” See “Perrigo Joins Firms With Generic Drugs Under U.S. Glare,” Bloomberg (March

3, 2017), available at https://www.bloomberg.com/news/articles/2017-03- 03/perrigo-joins-list-

of-firms-with-generic-drugs-under-u-s-glare. This additional disclosure drove Perrigo shares

down an additional $2.80 to close at $72.76.

        22.    Finally, after the market closed on May 2, 2017, Perrigo announced that its offices

had been raided by the Department of Justice as part of a criminal price-fixing probe, a more

severe action than was taken against most other generic drug companies. The Wall Street

Journal’s Charley Grant noted on Twitter: “Federal investigations happen all of the time to

companies. Federal raids do not.” On this final disclosure, Perrigo shares fell over 5%, or $3.88

per share, to close at $72.35 on May 3, 2017.

        23.    Shortly after the Relevant Period, Perrigo issued a restatement admitting that it

violated GAAP in every single financial statement issued during the Relevant Period. Audit

Analytics noted that Perrigo’s restatement was one of the largest issued by any public company

over the past two decades.6




    6
       See “Perrigo Restates to Correct More than $1 Billion in Errors,” June 1, 2017, available at
http://www.auditanalytics.com/blog/perrigo-restates-to-correct-more-than-1-billion-in-errors/.



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         24.   In total, Defendants’ false and misleading statements caused Perrigo’s stock to

fall more than 62% and robbed investors of the opportunity to fairly evaluate and participate in a

takeover offer worth more than twice the current share price. Defendants Papa and Brown, in

particular, were cushioned from this blow. They were awarded millions of dollars in special

bonuses for their roles in defeating the Mylan offer. See paragraph 115 below.

II.      JURISDICTION AND VENUE

         25.   The claims asserted herein arise primarily under Sections 10(b), 14(e), and 20(a)

of the Exchange Act, 15 U.S.C. §§ 78j(b), 78n(e), and 78t(a), and Rule 10b-5 promulgated

thereunder by the SEC, 17 C.F.R. § 240.10b-5. This Court has jurisdiction over the subject

matter of Counts I, II, and III pursuant to 28 U.S.C. §§ 1331 and 1337, and Section 27 of the

Exchange Act, 15 U.S.C. § 78aa.

         26.   Venue is proper in this District pursuant to Section 27 of the Exchange Act and

28 U.S.C. § 1391(b). Many of the acts and conduct that constitute the violations of law

complained of herein occurred in this District. Defendant Papa resides in this District and has

maintained a residence in this District throughout the Relevant Period. In addition, the Company

maintains offices and operations in Piscataway, New Jersey, and Parsippany, New Jersey, which

are situated within this District. In connection with the acts alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the mails, interstate telephone communications, and the facilities of

the national securities markets.

III.     PARTIES AND RELEVANT NON-PARTIES

         A.    Plaintiff

         27.   Plaintiff Universities Superannuation Scheme Limited (“USS” or “Plaintiff”),

acting as sole corporate trustee of Universities Superannuation Scheme, is located at Royal Liver


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Building, Liverpool, England, L3 1PY. Established in 1974, USS is a trustee company limited by

guarantee, incorporated in England and Wales, and solely set up to administer the scheme

provided by Universities, Higher Education and other associated institutions for their employees,

and which runs the pensions administration and group functions. USS Investment Management

Ltd. is a wholly owned subsidiary of USS regulated by the Financial Conduct Authority, which

operates the investment arm of the business from its London office.

       28.     USS purchased Perrigo common stock between April 21, 2015 and May 3, 2017,

inclusive, held 797,831 shares of Perrigo common stock as of the November 13, 2015 tender

offer deadline, and suffered damages as a result of the violations pled herein.

       B.      Defendants

       29.     Defendant Perrigo is the world’s largest manufacturer of over-the-counter

(“OTC”) healthcare products. Perrigo is also a significant supplier of generic pharmaceuticals,

infant nutrition products, branded pharmaceuticals in Europe (through its Omega acquisition),

and animal health products. Initially founded in 1887 and based for most of its existence in

Allegan, Michigan, in 2013 Perrigo redomiciled as an Irish corporation with corporate

headquarters in Dublin, Ireland. At all periods relevant hereto, Perrigo had significant operations

in New Jersey, including a 14,000 square foot research and development facility in Piscataway

Township. Perrigo describes its Piscataway facility as a “strategic location in the hub of New

Jersey’s pharmaceutical industry” that “gives Perrigo a footprint in the northeast.” The Company

also operates a research and development facility in Parsippany, New Jersey.

       30.     Perrigo’s common stock is dual listed on the New York Stock Exchange

(“NYSE”) (symbol: PRGO) and Tel Aviv Stock Exchange (“TASE”) (symbol: PRGO), both

highly efficient markets. As of February 19, 2016, Perrigo had approximately 143 million shares

outstanding.


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        31.    Defendant Joseph Papa (“Papa”) joined Perrigo in October 2006 as its President

and Chief Executive Officer (“CEO”) and served in that capacity until April 25, 2016. Papa was

also a director of Perrigo between November 2006 and April 2016. Papa is currently President

and Chief Executive Officer of Bausch Health Companies Inc. (formerly Valeant

Pharmaceuticals International Inc.).

        32.    Defendant Judy Brown (“Brown”) served as Perrigo’s CFO from July 2006 until

her resignation on February 27, 2017.

        33.    Papa and Brown are referred to as the “Individual Defendants.”

IV.     DEFENDANTS’ FRAUDULENT SCHEME

        A.     Perrigo Experiences Rapid Corporate Growth Through Acquisition

        34.    Defendant Perrigo is the successor to Perrigo Company, a Michigan corporation

that began in 1887 as a seller of packaged goods (“Former Perrigo”). For more than a century,

Former Perrigo was a slow-growing manufacturer and distributor of healthcare products based in

tiny Allegan, Michigan and operating primarily in the United States. Former Perrigo focused on

store brand versions of popular OTC products such as analgesics and cough syrup, which remain

mainstays of the Company to this day.

        35.    After Defendant Papa became CEO and Chairman of Perrigo’s Board in October

2006, Former Perrigo adopted a “roll-up” strategy, becoming a serial acquirer of healthcare

companies. Through these acquisitions, Former Perrigo both grew its core OTC business and

expanded into markets like generic prescription drugs, infant nutrition, and animal healthcare.

        36.    In 2013, Defendant Perrigo became the successor of Former Perrigo as the result

of an “inversion” transaction with Elan, an Irish corporation, which closed on December 18,

2013. That transaction resulted in the formation of a new Irish corporation, Defendant Perrigo

Company plc, that was 71% owned by shareholders of Former Perrigo and 29% owned by


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shareholders of Elan. Defendant Perrigo trades on the NYSE and TASE under ticker symbol

“PRGO.”

         37.   The inversion structure utilized by Perrigo has been described as “the tax

avoidance strategy du jour.” Paul Krugman, Corporate Artful Dodgers, N.Y. Times (July 27,

2014), https://www.nytimes.com/2014/07/28/opinion/paul-krugman-tax-avoidance-du-jour-

inversion.html. It “refers to a legal maneuver in which a company declares that its U.S.

operations are owned by its foreign subsidiary, not the other way around, and uses this role

reversal to shift reported profits out of American jurisdiction to someplace with a lower tax rate.”

Id. The tactic reportedly allowed Perrigo to save $150 million per year, primarily from avoiding

U.S. taxes it would otherwise have to pay. See David Gelles, The New Corporate Tax Shelter: A

Merger Abroad, N.Y. Times Dealbook (October 8, 2013),

https://dealbook.nytimes.com/2013/10/08/to-cut-corporate-taxes-a-merger-abroad-and-a-new-

home/.

         38.   Through the inversion, Perrigo also acquired Elan’s major asset, a financial

interest in the royalty stream for Tysabri, a blockbuster treatment for multiple sclerosis

manufactured and sold by Biogen Inc. (formerly known as Biogen Idec Corporation). Perrigo

began to report this royalty interest as a separate reporting unit known as “Specialty Sciences” in

its periodic report for the quarter ended December 28, 2013.

         39.   As Perrigo now admits, GAAP required Perrigo to account for the acquired

royalty stream as a financial asset. Accordingly, under GAAP, Perrigo was required to disclose

the fair market value of the Tysabri royalty stream in each quarterly report and to take expenses

(or recognize non-operating income) on a quarterly basis for all mark-to-market changes in

value. However—as the Company has now admitted—Defendants improperly accounted for the




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Tysabri royalty asset and failed to make these required disclosures, concealing from investors the

severe deterioration in the value of the Tysabri royalty stream.

        40.    Although the inversion transaction made Perrigo an Irish corporation and

provided a financial asset—the royalty stream—Perrigo gained no meaningful operations. Just

like Former Perrigo, Defendant Perrigo had virtually no presence in continental Europe. After

the inversion transaction, Perrigo began to seek a European foothold, which it found in Omega,

now included as one of Perrigo’s five divisions.

        41.    Throughout most of the Relevant Period, Perrigo segmented its results into five

major divisions:

               (a)     Branded Consumer Healthcare (“BCH” or “Omega Segment”): BCH

contained the newly-acquired Omega businesses, as well as a German supplement brand called

Yokebe, purchased in 2015, and additional European OTC brands purchased from

GlaxoSmithKline in 2015. As of June 27, 2015, the BCH unit marketed approximately 5,200

branded OTC products in Europe, focusing on natural health, vitamins, supplements and

minerals, cough and cold, allergy, skin care, weight management, pregnancy and fertility

products, sleep aids, and anti-parasitic products such as lice treatments. During the six months

ended December 31, 2015, the Omega segment represented approximately 23% of consolidated

net sales.

               (b)     Consumer Healthcare (“CHC”): Perrigo’s CHC unit marketed primarily

unbranded and store brand OTC analgesics, cough syrups, smoking cessation products,

gastrointestinal remedies, supplements and animal healthcare products. This segment also

included nutritional products, such as infant formula, which had previously been reported

separately, and its Israeli-based pharmaceutical and diagnostic business, which had previously




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been reported as “Other.” According to its SEC filings, the CHC division marketed over 4,900

products during the Relevant Period. During the six months ended December 31, 2015, the CHC

segment represented approximately 50% of consolidated net sales.

               (c)     Generic Rx: Perrigo’s Rx unit offered approximately 800 generic

prescription drug products (including otherwise OTC drugs that are sold through the prescription

channel to obtain reimbursement, which Perrigo calls ORx). The Rx unit focused on “extended

topical” treatments, such as creams, ointments, gels, sprays, foams, powders, suppositories and

shampoos. During the six months ended December 31, 2015, the Rx segment represented

approximately 20% of Perrigo’s consolidated net sales.

               (d)     Specialty Sciences: Specialty Sciences consisted of the royalty stream

Perrigo received from Biogen for Biogen’s sales of Tysabri. Perrigo was entitled to a royalty rate

of 18% of annual worldwide sales of Tysabri up to $2.0 billion, and 25% of sales above $2.0

billion. During the six months ended December 31, 2015, Specialty Sciences was reported to

represent approximately 6% of Perrigo’s consolidated net sales. Subsequently, in May 2017,

Perrigo conceded that none of the royalty stream receipts should have been labeled “sales” or

included in operating results.

               (e)     Other: This division includes Perrigo’s Active Pharmaceutical Ingredient

(“API”) business, which manufactures active ingredients sold to other healthcare companies.

While Perrigo does not separately report a percentage of total sales figure for the “Other”

segment, deducting the percentages represented by the remaining segments, this segment

contributed approximately 3% to the Company’s net sales in the six months ended December 31,

2015.




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       B.      Perrigo Makes Its Largest Acquisition Ever and Quickly Experiences Major,
               Known Integration Issues

       42.     Perrigo attempted to expand into Europe in late 2014 by making its largest

acquisition ever. On November 6, 2014, Perrigo announced it would acquire Omega for

€3.6 billion, or $4.5 billion. The acquisition closed on March 30, 2015, just before the beginning

of the Relevant Period in this action. Omega was one of the largest OTC healthcare companies in

Europe and had a commercial presence in 35 countries. Like Perrigo, Omega operated as a

roll-up, growing primarily through acquisition. However, unlike Perrigo, Omega focused on

name brand products rather than store brand or unbranded products.

       43.     Omega was far larger and more complex than any other company Perrigo had

previously acquired. With annual revenues of approximately $1.6 billion, approximately 2,500

employees (including an 1,100 employee sales force), a portfolio of several thousand branded

products, decentralized management, and a mishmash of IT systems, Omega posed an

integration challenge far more substantial than Perrigo had ever previously faced.

       44.     Defendants were aware of considerable integration and operating challenges with

Omega. Perrigo was exposed to these challenges during the extensive due diligence prior to the

acquisition. As described in deal documents, Perrigo was provided a confidential package of

information regarding Omega businesses during the latter half of July 2014 and engaged with the

assistance of its professional advisors between September 7, 2014, and November 4, 2014, in

additional due diligence into Omega group companies and their “business, operations, assets,

liabilities, legal, tax, commercial and accounting and financial condition.” See Purchase

Agreement, attached as Exhibit 10.1 to Form 8-K filed on November 12, 2014. As part of this

due diligence, Perrigo and its advisors were given access to a confidential “data room,”

participated in a presentation by Omega management on September 25, 2014, conducted



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meetings with management of Omega and Omega group companies, and were provided further

information in the form of answers to written questions. Id.

       45.     Defendants described the Omega acquisition as a key part of the 5% to 10%

organic growth they trumpeted in their opposition to Mylan’s tender offer. As Defendants

explained during the Relevant Period, their profit forecast assumed the Omega assets would

deliver organic growth at the midpoint of that range, or 7.5%. See Form 8-K filed on October 22,

2015. Perrigo’s growth assumption for Omega was more than double the 3.2% organic growth

that Omega’s management had independently projected for 2013–2017 as part of its goodwill

calculation. See 2013 Omega Annual Report at 42. While Papa claimed that he had prepared his

own elevated assumption for Omega’s organic growth in compliance with the “scrupulous care,

accuracy and objectivity” standard required under Irish Takeover Rules, he was, in fact, aware of

extensive integration problems, among others, at Omega imperiling Perrigo’s aggressive

guidance.

       46.     A former Director of Marketing at Perrigo (“Confidential Witness 1”, or “CW1”)

from prior to the beginning of the Relevant Period until April 2017 explained many of these

known integration issues when CW1 was interviewed in the course of Plaintiff’s investigation.

Indeed, according to CW1 and as further detailed below, it was clear almost immediately after

the Omega deal closed on March 30, 2015 that Omega was substantially underperforming, the

integration had stalled and was marred by pervasive problems, and the synergies touted by

Perrigo and its executives, including Papa and Brown, were a mirage.

       47.     CW1 worked out of Perrigo’s Allegan, Michigan office and reported to Tom

Cotter, Vice President of OTC Marketing, who reported to Jeff Needham, Executive Vice

President and General Manager of U.S. Consumer Health at Perrigo. CW1 handled marketing for




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Perrigo’s core over-the-counter drugs business. CW1 made regular quarterly presentations to

Perrigo executives, including Papa and Brown. CW1 explained that CW1 was very familiar with

the Omega acquisition, including how Omega performed immediately following the acquisition,

and traveled to Omega (in Belgium) to work on its marketing and potential product offerings

around May 2016.

       48.     In or around June or July 2015, while in the process of putting together business

plans for fiscal year 2016, Omega transfer/legacy products began to be transitioned to CW1’s

team at Perrigo. According to CW1, it was clear at that time that the Omega business was

struggling (as recounted below), but issues with the acquisition and Omega’s business were

obvious to CW1 and other Perrigo employees prior to then—and almost immediately following

the March 30, 2015 closing of the Omega acquisition.

       49.     CW1 explained that, unlike the other acquisitions that CW1 had been involved

with at Perrigo, the Omega acquisition seemed to happen very quickly. CW1 further explained

that after the acquisition closed, based on the deal model or synergies that were proposed

between the two companies, it was clear that there was nothing there, stating that it felt like facts

and figures had been made up, particularly with respect to Omega products being marketed and

sold in the U.S. and Perrigo products being marketed and sold in Europe.

       50.     CW1 recalled looking at the deal models, which according to CW1 were

overinflated, included targets that CW1 could not understand, and made no sense. CW1

questioned the numbers in the deal models and was told that they were created by an external

consultant, McKinsey, that CW1 understood Papa and Brown had hired on behalf of Perrigo.

According to CW1, this was unlike any other acquisition CW1 had been involved with at

Perrigo. CW1 regularly interfaced with Perrigo’s Merger and Acquisition (M&A) or Brand




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Team that CW1 believed should have made the deal models given CW1’s understanding that

Perrigo previously had always utilized its internal M&A team for that purpose. CW1 went on to

say that the projected 7% growth was a fallacy because it was based on products that were never

actually released in the United States, and could not be marketed in the United States the same

way as in Europe due to known regulatory differences.

         51.     According to CW1, there were projections related to anticipated Omega product

releases in the United States that were never released (and were unlikely to ever be released) in

the United States. Even if they could be released, they were unlikely to be as profitable as they

were in Europe, according to CW1. CW1 cited as an example Omega’s homeopathic cough

syrup, Bronchostop, which contains thyme herb and marshmallow root extracts as the active

ingredients. CW1 explained that Papa was always touting Bronchostop in relation to the Omega

acquisition. According to CW1, Perrigo had relied on McKinsey instead of its internal teams to

project that business. According to CW1, rather than doing very well in the United States as

Defendants projected, Bronchostop was never released in the United States, and it should never

have been included in Perrigo’s projections. According to CW1, Bronchostop contained

ingredients that would never be approved by regulators for release in the United States.

According to CW1, by July 2017, only one Omega product had been released in the United

States, a chocolate flavored cough syrup (not Bronchostop)—and even that was a small

release7—and noted that a different Omega product, a weight loss supplement/diet aid (XLS),

would never gain traction in the United States. CW1 explained that Perrigo had an internal

dashboard that tracked each product.




7
    CW1 estimated this product accounts for a total of about $500,000 in revenue annually.



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       52.     According to CW1, there were several factors that made it clear that Omega

would not be successful in the United States. According to CW1, regulatory or governing bodies

in the United States (particularly the FDA) impose different and potentially more stringent drug

approval rules and marketing requirements, as well as other differences between the European

and American markets that hindered the introduction of new products. CW1 explained that many

of Omega’s top products are homeopathic, which are more difficult to market in the United

States than in Europe because the FDA and other American regulators are very particular about

the way such substances can be marketed in the United States, including prohibiting the use of

certain terminology. CW1 explained that in Europe, Omega could claim things like Bronchostop

stops coughs, but, in the United States, regulators would never allow a homeopathic product like

Bronchostop to be touted or marketed in such a manner.

       53.     Sales of Perrigo’s legacy products in Europe also faced regulatory headwinds.

According to CW1, Perrigo would have trouble marketing their legacy products in Europe

because they would be seen as having too many chemicals. Even if such legacy products could

be sold in Europe, European consumers would be less likely to purchase them than American

consumers. CW1 explained that the European market was not receptive to the U.S. drugs since it

tends to prefer the homeopathic route when treating minor ailments. CW1 offered as an example

a Perrigo legacy allergy medicine being projected to make $50 million in Europe, even though

senior management knew that this was not feasible given the European proclivity for using

homeopathic remedies.

       54.     CW1 also explained that initially there was a lack of meaningful integration

between the two companies, and CW1 and other Perrigo employees were told by Needham to

leave Omega alone—i.e. to not divert resources to, or assist with, the integration. CW1 recalled




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how Perrigo employees kept asking executive management why the two companies were not

being integrated. CW1 added that CW1’s boss, Needham, initially did not want his team working

on the Omega part of the business because he was not responsible for it, and Needham refused to

give resources to Omega. CW1 participated in phone calls and conversations with Omega

personnel immediately following the acquisition, but CW1 recalled a directive from Needham

when the Omega acquisition first occurred that his team was not to get too involved with Omega.

CW1 explained that Needham kept a very lean team and resented that Papa would not give him

more resources, so Needham was not willing to assist Omega until 2016.

       55.     CW1 was puzzled by Perrigo’s decision initially to leave Omega alone because,

for the first few quarters, it was clear that Omega was not meeting financial expectations in 2015.

CW1 reviewed internal reports based on deal models and financials that showed Omega’s

performance. According to CW1, Omega was always underperforming in 2015. CW1 knew this

because CW1 viewed the reports. CW1 explained that it had become clear that Omega was

suffering and not performing well certainly by the second half of 2015—by which point Omega

became part of the five business segments that made up Perrigo’s overall finances and was

missing/underperforming by significant dollars.

       56.     According to CW1, Papa and Brown both had access to the reports referenced by

CW1 showing that Omega was significantly underperforming. According to CW1, those reports

made it clear that Omega was missing revenue targets from the start, and CW1 recalled that

Omega was missing such targets by at least 20% but possibly even as much as 30%.

       57.     CW1 recalled that Perrigo’s quarterly internal financials were reporting

something totally different from what Defendants were touting to the market about Omega in

connection with responding to Mylan’s takeover bids. According to CW1, the internal consensus




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was concern because there were no synergies between the companies. This became even clearer

to CW1 when CW1 traveled to Omega’s Belgium headquarters with other high-level Perrigo

employees, including Vice Presidents of marketing, regulatory and product development, around

May 2016. CW1 recalled being asked to go to Belgium while Papa was still CEO, and the

directive to make the trip came directly from Papa to Needham. CW1 recalled that, during that

trip, CW1’s colleagues (from legacy Perrigo and Omega) admitted the lack of synergies.

       58.    The lack of synergies and underperformance of Omega from the outset of the

acquisition is further corroborated by information attributed to unnamed former Perrigo and

Omega employees, in complaints filed in Roofers’ Pension Fund v. Perrigo Co., plc, No. 2:16-

cv-02805-MCA-LDW, ECF No. 89 (D.N.J. June 21, 2017) (the “Amended Securities Class

Action Complaint” or “ASCAC”) and in Carmignac Getion, S.A. v. Perigo Company PLC, No.

2:17-cv-10467, ECF 1 (D.N.J. Nov. 1, 2017) (the “Carmignac Complaint” or “Carmignac

Compl.”). These unnamed employees provided information concerning: (a) the poor

organizational structure at Omega (see, e.g., ASCAC ¶62(a)); (b) IT integration problems,

including difficulties integrating Omega’s IT systems with Perrigo’s (see, e.g., ASCAC ¶62(b);

Carmignac Compl, ¶¶82-109); (c) management resistance, including that Coucke and other

Omega managers were not cooperating with Perrigo in the integration (see, e.g., ASCAC

¶62(c)); (d) Perrigo’s diversion of resources and budget to fight the Mylan bid (see, e.g., ASCAC

¶62(d); Carmignac Compl. ¶104); and (e) underperformance in key Omega markets and

unrealistic expectations relating to Omega, including Defendants’ misleading revenue

projections for Omega that not only were unsupported but were actually contradicted by internal

data, and failed to disclose significant issues and underperformance impacting Omega revenues

(see, e.g., ASCAC ¶62(e); Carmignac Compl. ¶¶110-16, 141, 286).




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        59.    Given the magnitude and duration of these problems with Omega during the

Relevant Period, Perrigo was far from being in position to benefit from the Omega acquisition.

Despite having knowledge of these material problems with the Omega integration, Defendants

continued to point to Omega’s value as the primary basis for rejecting Mylan’s multiple offers in

communications with investors.

        C.     Perrigo’s Organic Growth Slows Considerably Just Before the Relevant
               Period

        60.    Throughout Papa’s reign as CEO, the Company touted its ability to grow

organically, as well as through acquisition. 8 For example, in early 2014, Papa explained that

organic growth had accounted for half (8%) of Perrigo’s 15% to 16% revenue growth over the

past four years, and that the Company targeted organic revenue growth of 5% to 10% during any

rolling three-year period. See Dominic Coyle, Takeover of Elan the perfect fit in Perrigo’s

prescription for growth, Irish Times (Feb. 7, 2014), https://irishtimes.com/business/health-

pharma/takeover- of-elan-the-perfect-fit-in-perrigo-s-prescription-for-growth-1.1682196. By

blending older, high growth periods with newer low-growth periods, Perrigo was able to create

the deceptive impression of organic growth levels it had not consistently achieved for many

quarters.

        61.    Relying on the same methodology alleged in the ASCAC (at ¶64) and utilized by

the Class Action plaintiff’s forensic accounting expert (the “Accounting Expert”), Plaintiff has




    8
      Perrigo calculates “organic growth” as the year-over-year change in net sales after
deducting sales attributable to acquisitions made in the twelve (12) months preceding the given
period. See, e.g., October 22, 2015 earnings release, Table III. Organic growth generally refers to
growth by increased output, expanded customer base, or increased demand and sales, rather than
by acquisition.



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determined that Perrigo’s actual organic growth rates during the six quarters preceding the

Relevant Period averaged approximately 1%—and were even negative for two of those quarters:

Quarter         12/28/2013    3/29/2014      6/28/2014      9/27/2014     12/27/2014     3/29/2015
ending
Actual            6.5%          0.9%           6.7%          -9.0%          -0.2%          0.9%
organic
growth rate
To determine these rates for each quarter, Plaintiff here, like the Accounting Expert, first

calculated Perrigo’s Net Sales without the Tysabri royalty stream, which the Company recently

admitted cannot be included in net sales under GAAP. See ASCAC ¶64 (citing ASCAC ¶123);

see also infra ¶133. Next, to obtain organic revenues, sales attributable to acquisitions that were

made during the preceding year were deducted.9 See ASCAC ¶64. Finally, Plaintiff here, like the

Accounting Expert, deducted organic revenues from revenues reported in the prior year quarter

to determine organic revenue growth and expressed that as a percentage (rounded to the nearest

tenth).

          62.   Perrigo’s opaque financial reporting obscured the deterioration in organic growth

and prevented investors from making these calculations on their own. Perrigo did not disclose

organic growth in most periodic reports, and throughout the Relevant Period misreported net

    9
       Specifically, for the quarter ending December 13, 2013, sales attributable to recent
acquisitions Velcera ($5.2 million) and Rosemont and Fera ($26.3 million) were excluded to
calculate organic revenue. For the quarter ending March 29, 2014, sales attributable to Velcera
and Aspen ($6.1 million) and Rosemont and Fera ($17.1 million) were excluded to calculate
organic revenue. For the quarter ending June 28, 2014, sales attributable to Aspen ($6 million)
and Fera ($20 million) were excluded to calculate organic revenue. For the quarter ending
September 27, 2014, sales attributable to Aspen ($6 million) and methazolomide ($3.8 million)
were excluded to calculate organic revenue. For the quarter ended December 27, 2014, sales
attributable to Aspen ($6 million, estimated based on prior quarter), methazolomide ($3.8
million, estimated based on prior quarter), and Lumara ($6.03 million, estimated based on
subsequent quarter disclosure) were excluded to calculate organic revenue. That certain of
Plaintiff’s inputs and assumptions relating to sales attributable to recent acquisitions differed
slightly from those alleged in the ASCAC (compare ASCAC ¶64 n.10, ¶105 n.13) did not lead to
materially different results.



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sales in violation of GAAP by including royalty income. Moreover, Perrigo did not consistently

break out the impacts of recent acquisitions and repeatedly changed the way it presented

financial statements.

       63.     But that was not the only way Defendants attempted to maintain the mirage of

Perrigo’s ability to grow organically. According to CW1, by as early as 2013, Perrigo’s organic

growth had plateaued so it needed to find new ways to make it appear that the Company had

growth trajectory. CW1 explained that one way Perrigo relied on was through optimizing—the

practice of accelerating sales to customers.

       64.     More specifically, according to CW1, Perrigo began as early as 2013 to optimize,

which was a directive that came directly from CEO Papa. CW1 was in meetings where Papa

would direct his subordinates to optimize or stuff inventory into the channel. CW1 further

advised that CW1 would hear this on leadership calls. CW1 then recounted how Papa would

make direct requests to Needham to optimize more, and how Brown would make similar

requests. CW1 added that this went on for years and that it got out of control. According to

CW1, at the end of CW1’s last fiscal year at Perrigo (2016), Perrigo had optimized $40 to $45

million worth of inventory at year end. Because of this practice Perrigo began the year in the

hole with less demand for product than there would have otherwise been. CW1 added that

Perrigo in recent years was optimizing at least $15 to $20 million a quarter in CW1’s division. It

was CW1’s understanding that optimizing was happening throughout Perrigo and not just in

CW1’s business unit.

       65.     CW1 explained that Perrigo sales were suffering from the trends in the market,

and Perrigo attempted to make up these deficiencies (in sales) by optimizing. CW1 described

optimizing as a vicious cycle because once you begin stuffing the channel like that, you cannot




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stop. CW1 added that Perrigo was incentivizing their sales employees by giving them bonuses

for pipe filling or optimizing, and optimizing was a lot of pressure, especially for Perrigo’s sales

team who was interfacing directly with the customers.

       66.     CW1 further explained that at year-end, during Christmas week, Perrigo would

have a shutdown, which would be used to push Perrigo’s customers to take on more inventory

prior to year-end. CW1 recalled how Perrigo employees would call their buyers to push the

inventory out, which ultimately put Perrigo in the hole at the beginning of the following year.

CW1 recalled that CW1’s boss, Needham, pushed back on the culture of optimization at Perrigo

because he was uncomfortable with the $40 million worth of optimized inventory. CW1 further

recalled based on CW1’s conversations with Needham that Papa would pressure Needham to

optimize. According to CW1, it was well known within Perrigo that the purpose of optimizing

was to create a false appearance of organic growth.

       67.     According to CW1, when CEO John Hendrickson was promoted (April 2016), he

told Perrigo employees (including CW1), that the Company would no longer push out inventory

to make their numbers look better. CW1 continued to say that Perrigo’s recent reduced guidance

is a direct result of Perrigo stopping the optimization. CW1 added that Hendrickson told CW1

and others that he was taking Perrigo back to its roots. CW1 reiterated that Hendrickson said no

more optimizing and ultimately reduced guidance.

       D.      Perrigo’s Generic Rx Results Were Boosted by Anti-competitive Practices
               And Not Insulated From Pricing Pressures

       68.     While Perrigo was principally known as a manufacturer of store brand OTC

products, the operating segment with the greatest impact on earnings was not its consumer

healthcare (CHC) division, but Generic Rx. For the six quarters prior to the Relevant Period, the




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Generic Rx division contributed more to Perrigo’s adjusted net operating earnings than any other

segment:

Quarter
                    12/28/2013 3/29/2014 6/28/2014 9/27/2014                       12/27/2014          3/28/2015
ending:
Generic Rx
adjusted net
                     $123.1m         $100.3m        $122.3m         $81.1m          $127.7m             $120m
operating
income
Rank among
Perrigo
                         1st             1st           1st            1st               1st                1st
operating
divisions
Source: Perrigo press releases dated 2/6/14, 5/7/14, 8/14/14, 11/6/14, 2/5/15, 4/21/15 (reporting operating income by
division, 10-K filed May 22, 2017 (restating operating income to exclude Tysabri royalty stream).

         69.      Accordingly, Perrigo’s ability to maintain its profit margin in the Generic Rx

business was of paramount importance to investors. Perrigo claimed to enjoy these margins

because the topical generic sector in which it focused was difficult for competitors to enter. For

example, at the J.P. Morgan Healthcare Conference on January 13, 2014, Defendant Papa told

analysts that:

                  Our Rx segment, generic Rx segment, has been a real star for us.
                  This segment has really been a focus on going after products that
                  are generic equivalent products, but importantly staying away from
                  just simple oral tablets and going after what we call extended
                  topicals. And by extended topicals, they fall under the category of
                  dermatology, absorbed topically through the skin, absorbed
                  topically through the lungs; nasal products absorbed topically
                  through the nasal mucosa; ophthalmic and otic are the areas that
                  we predominantly focus on. And the reason why that’s important is
                  that it’s much harder to bring these products to the market to be
                  clear, but once you get them to the marketplace they’re much
                  harder for other competitors to come into the space.

In other words, as Papa explained, Perrigo had “unique positioning” because its Generic Rx

business was focused on products where it could be “one of two or three players entering a

market rather than one of 20 players.”




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       70.     Generic drugs are drugs that enter the market after a patent monopoly has expired.

Because they must be demonstrably equivalent in therapeutic effect to the branded drug, they are

differentiated only by price. In functioning markets, generic drugs provide substantial price

breaks for consumers as increased competition drives prices towards the marginal cost of

production. Reviewing a study of data prior to the collusive activities alleged herein, the United

States Food and Drug Administration (“FDA”) concluded that “[g]eneric competition is

associated with lower drug prices[.]” See U.S. Food & Drug Ass’n, Generic Competition and

Drug Prices (last updated May 13, 2015), https://www.fda.gov/aboutfda/centersoffices/officeof

medicalproductsandtobacco/cder/ucm129385.htm. Specifically, the FDA determined that prices

should decline substantially where at least two generic manufacturers have entered the market:




Id. A Federal Trade Commission study reached the same conclusion, finding that in a “mature

generic market, generic prices are, on average, 85% lower than the pre-entry branded drug

prices.” See Fed. Trade Comm’n, Pay-for-Delay: How Drug Company Pay-Offs Cost Consumers

Billions (Jan. 2010), available at https://www.ftc.gov/sites/default/files/documents/reports/ pay-




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delay-how-drug-company-pay-offs-cost-consumers-billions-federal-trade-commission-staff-

study/100112payfordelayrpt.pdf.

       71.     In the six quarters preceding the Relevant Period, Perrigo’s Generic Rx unit relied

on anti-competitive markets to generate its “star” performance. In contrast to the price declines

that are typically associated with maturing generic markets, Perrigo relied on collusion with

other manufacturers of generic drugs, or in some cases took advantage of pre-existing price-

fixing conspiracies, to engage in unprecedented price hikes that could never be accomplished in

a competitive market. According to a Wall Street Journal analysis into generic drug price fixing,

eight of the nine best-selling Perrigo generic drugs analyzed had price boosts of up to 531%

since September 2013:




See J. Rockoff and M. Rapoport, Valeant’s New CEO Brings Familiar Prescription, Wall St. J.

(July 5, 2016), https://www.wsj.com/articles/valeants-new-ceo-brings-familiar-prescription-



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1467745749. Experts from SSR Health LLC cited in the Wall Street Journal concluded, “Generic

drug prices rose significantly in 2013 and 2014 . . . and Perrigo upped the list prices of its

generics more than many rivals. The list prices of Perrigo’s drugs rose 52% over the past four

years, compared with an average 18% across manufacturers.” Id. A Perrigo spokeswoman

quoted in the Wall Street Journal article conceded, “we take our competitors’ pricing into

account” when raising prices for Perrigo generics. Id.

       72.     Plaintiff’s counsel here retained an economic analyst with deep experience in

investigating antitrust allegations to examine the Perrigo generic drugs identified by the Wall

Street Journal, and analyzed in the ASCAC, for signs of collusion. Plaintiff’s economic expert

determined that there were strong indicia of collusion, including dramatic price hikes

contemporaneous with competitors following industry conferences and a startling absence of

price variance following these hikes, in many of Perrigo’s most important generic drugs—

desonide cream and ointment, econazole cream, permethrin cream, tretinoin cream, clobetasol

gel and foam, and halobetasol cream and ointment—identifying no material differences from the

analysis in the ASCAC. Because generic drugs by different manufacturers were therapeutically

equivalent and interchangeable by pharmacists, there would be strong incentive for the

manufacturers of these generic drugs to try to gain market share by lowering price in a normal,

unaffected market. Moreover, each of the above-listed drugs had a highly-concentrated market

structure susceptible to collusion, inelastic demand because most of the price increases fell to

third-party payors, and high barriers to entry due to the requirement that new competitors first

obtain an abbreviated new drug approval (“ANDA”) from the FDA. Third-party data services

such as Symphony Health Services, IMS and First Data Bank provided weekly pricing updates,

transmitting prices among market participants. Finally, there were no non-collusive factors that




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could explain the rapid and coordinated price increases initiated by Perrigo and its so-called

“competitors.”

                 1.     Desonide

       73.       Perrigo’s pricing of Desonide cream shows clear signs of collusion with Taro

Pharmaceuticals (“Taro”) and other generic manufacturers. Desonide is a mild topical

corticosteroid that has been used to treat a variety of skin conditions since the 1970’s and has

been available in generic form for decades. For years, competition among generic manufacturers

kept prices stable, at relatively low levels. Prior to the Relevant Period, Perrigo and Taro

dominated the market for the most prevalent form of generic Desonide, external cream:




       74.       In February and April 2013, representatives of Perrigo and Taro met at the annual

meetings of the Generic Pharmaceutical Association from February 20–22, 2013, in Orlando,

Florida; the National Association of Chain Drug Stores (“NACDS”) from April 20–23, 2013, in

Palm Beach, Florida; and the June 4–5, 2013, Generic Pharmaceutical Association CMC

workshop in Maryland. As is described in pleadings filed by the attorneys general (“AGs”) of



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forty-six states following a lengthy, ongoing investigation into generic drug price-fixing, such

industry meetings are used by generic pharmaceutical executives to “sow the seeds for their

illegal agreements,” which are refined via private meetings and communications. See, e.g.,

Amended Complaint, Connecticut v. Aurobindo Pharma USA, Inc., No. 3:16-cv-02056, ECF.

No. 168, ¶7 (D. Conn. Mar. 1, 2017); see also Plaintiff States’ [Proposed] Consolidated

Amended Complaint, In re Generic Pharmaceuticals Pricing Antitrust Litigation, Nos. 16-MD-

2724, 16-AG-27240, ECF No. 3-1,¶9 (E.D. Pa. Oct. 31, 2017) (proposed amended complaint

expanding state AGs’ suit by targeting twelve more drug companies (for a total of eighteen),

thirteen more drugs (for a total of fifteen), and senior executives of two of the defendant drug

companies, including Rajiv Malik, Mylan’s president and executive director).10

         75.   Promptly after these trade meetings, between April and June 2013, Perrigo and

Taro both abruptly raised Desonide prices by approximately 600%. Thereafter, Perrigo and Taro

continued to maintain this high fixed price, and other manufacturers which began to sell generic

Desonide did so at the prices fixed by Perrigo and Taro:


    10
        Perrigo is not currently named as a defendant in the state AGs’ actions. However, as
Connecticut Attorney General George Jepsen explained, after two years of investigation his
office has “evidence of widespread participation in illegal conspiracies across the generic drug
industry.” See Press Release, Office of the Attorney General, Connecticut Leads 20 State
Coalition Filing Federal Antitrust Lawsuit against Heritage Pharmaceuticals, other Generic
Drug Companies, (Dec. 15, 2016), http://www.ct.gov/ag/cwp/view.asp?Q=588538&A=2341. In
an interview with The New York Times, Jepsen stated that the existing complaint was “just the
tip of the iceberg.” He stressed that the “investigation is continuing, and it goes way beyond the
two drugs in this lawsuit, and it involves many more companies than are in this lawsuit.” See
Katie Thomas, 6 Generic Drug Makers Accused of Fixing Prices, N.Y. Times, B2 (Dec. 16,
2016).
     Further, on October 31, 2017, Jepson stated that “[o]ur ongoing investigation continues to
uncover additional evidence, and we anticipate bringing more claims involving additional
companies and drugs at the appropriate time.” Press Release, Office of the Attorney General, AG
Jepsen Leads Coalition in New, Expanded Complaint in Federal Generic Drug Antitrust
Lawsuit, (Oct. 31, 2017), http://www.ct.gov/ag/cwp/view.asp?Q=597392&A=2341.



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According to the calculations of Plaintiff’s expert, between 2013–2016, Perrigo’s prices for

generic Desonide were nearly 97% correlated with those of Taro Pharma USA, and were 100%

correlated with prices from new market entrants Actavis and G&W Labs. These coordinated,

extreme price hikes and the complete lack of price variation following fixing are both strong

indicia of collusion.

       76.     During the Relevant Period, an article in eDermatology News noted that there was

no rational basis for generic Desonide price hikes:

               [R]ecently I’ve become aware of a new wrinkle that complicates
               daily practice life for both doctors and patients in a significant
               way. I can’t make any sense of it.

               I mean the high price of desonide.

               When I was [a] student many years ago, my teachers told me that I
               should prescribe generic drugs whenever possible. This would help
               hold down medical costs. It was the right thing to do.


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                                               ***

              But lately I’ve been getting complaints from patients about the
              high cost of desonide. My first reaction to these was, “How on
              earth is that possible?”

                                               ***

              I asked my secretary to call the pharmacy to get a price for other
              generic steroid creams. Triamcinolone would cost $14.70.
              Alclometasone would cost $35.20.

              And desonide – generic desonide – would cost $111.70. For a 15-g
              tube. $111.70 for 15 g of a generic cream that’s been on the market
              forever! Does that make any sense?

Alan Rockoff, M.D., The high price of desonide, eDermatology News (Feb. 3, 2015),

http://www.mdedge.com/edermatologynews/article/96892/high-price-desonide.

       77.    The coordinated price hikes substantially increased monthly Desonide revenues

for Perrigo and other generic manufacturers:




       78.    Perrigo generated millions of dollars in collusive revenues through

supracompetitive pricing of Desonide cream. Indeed, as alleged in the Amended Securities Class



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Action Complaint (at ¶76), the lead plaintiff’s expert determined that Perrigo derived $98.3

million in collusive revenues across its formulations of generic Desonide for 2014, $49.7 million

for 2015, and $22.6 million for 2016.11

               2.      Econazole

         79.   Similarly, anti-competitive pricing can be seen in generic Econazole, a

prescription cream marketed since 1982 and available in generic form since 2002, which is used

to treat skin infections such as athlete's foot, jock itch, and ringworm. Like Desonide, Perrigo

dominated the generic Econazole market in the years preceding the Relevant Period:




         80.   Just as with Desonide, Perrigo and other manufacturers made unprecedented,

coordinated price hikes in generic Econazole cream prices just after attending industry meetings,


    11
       As detailed in the ASCAC, the lead plaintiff’s expert determined the collusive revenues
that Perrigo earned by supracompetitive pricing of Desonide and the other compounds discussed
below through a multi-step process under which the expert first ascertained what the price per
unit would have been but for the collusion. See ASCAC ¶76 (describing methodology and
assumptions).




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in this case the February 19–21, 2014, Generic Pharmaceutical Association annual meeting in

Orlando, Florida and the June 3–4, 2014, Generic Pharmaceutical Association CMC workshop

meeting in Maryland:




According to the calculations of Plaintiff’s expert, between 2014–2016, Perrigo prices for

generic Econazole cream were 97.82% correlated with prices from Igi Labs, and 78.76%

correlated with prices from Taro. As with Desonide, the lockstep, extreme price hikes and lack of

price variation following fixing of generic Econazole indicate a high likelihood of collusion.

       81.     The coordinated 2014 price hikes in generic Econazole were extremely lucrative.

For Perrigo and the other two substantial producers of generic Econazole, Taro and Igi, monthly

revenues ramped substantially following the price hikes:




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       82.     Perrigo generated millions of dollars in collusive revenues through

supracompetitive pricing of Econazole cream. As alleged in the ASCAC (at ¶80), the lead

plaintiff’s expert determined that Perrigo reaped $72.5 million in collusive revenue from generic

Econazole cream in 2014, $125.2 million in 2015, and $53.6 million in 2016.

               3.     Permethrin

       83.     Collusion is also evident in the 300%+ contemporaneous price hikes that Perrigo

and other generic manufacturers rammed through for permethrin cream, a prescription treatment

for lice and scabies that is on the World Health Organization’s List of Essential Medicines.

Permethrin has been available in branded form since 1986 and in generic form since 1998.

Perrigo, which has sold Permethrin since 2003, dominates the market, selling far more than its

peers Actavis Pharma and Renaissance Acquisition Holdings (now a division of Mylan):




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       84.     Although economic theory and the actual experience documented by the FDA in

competitive generic drug markets indicates that when additional competitors enter the market,

prices should drop (see supra ¶70), Perrigo successfully increased prices for Permethrin as

competitors entered the market:




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Even with these large hikes, Plaintiff’s expert has calculated that Perrigo’s prices for generic

Permethrin cream remained nearly 99.4% correlated between 2011–2015 with those of Actavis.

Such lockstep pricing is strong indicia of collusion. Moreover, each price hike occurred after

industry conferences, specifically the February 2011 and 2013 annual meetings of the Generic

Pharmaceutical Association, which are industry meetings that have been identified by the

Department of Justice for their role in facilitating price-fixing in the generic drug industry. See

supra ¶74.

       85.     The coordinated price hike caused monthly sales to increase substantially for both

Perrigo and Actavis, demonstrating the benefit of the price-fixing conspiracy to its participants,

and the demand inelasticity of Permethrin:




       86.     Perrigo generated millions of dollars in collusive revenues through

supracompetitive pricing of Permethrin external cream. As alleged in the ASCAC (at ¶84), the

lead plaintiff’s expert determined that Perrigo received collusive revenues for Permethrin cream

totaling $79.1 million in 2014, $60.4 million in 2015, and $73.8 million in 2016.




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               4.      Tretinoin

       87.     While Perrigo may not have been responsible for initiating collusion in generic

Tretinoin, a topical treatment for acne more commonly known as Retin-A, it certainly enjoyed

inflated returns because of price fixing in this market. Perrigo acquired a portfolio of tretinoin

products from Matawan Pharmaceuticals, a division of Rouses Point Pharmaceuticals

(“Rouses”), in December 2015. Perrigo had previously served as the authorized generic

distributor of these products from 2005 to 2013, so it was familiar with what pricing in this

market should have been in a normal competitive market. At all relevant times, the portfolio of

products distributed by Perrigo, briefly sold by Rouses itself, then reacquired by Perrigo,

dominated the market for generic Tretinoin:




       88.     Lockstep price increases were implemented while the Tretinoin portfolio was

controlled by Rouses, which were maintained after Perrigo’s December 2015 purchase:




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According to the calculations of Plaintiff’s expert, between 2013–2016, Perrigo’s prices for

generic Tretinoin external cream were highly correlated with prices from Spear Derm and

Actavis—specifically, according to those calculations, Perrigo prices for generic Tretinoin

external cream were nearly 93% correlated with prices from Spear Derm and 95% correlated

with Actavis Pharma. 12 Perrigo generated millions of dollars in collusive revenues through

supracompetitive pricing of Tretinoin external cream. As alleged in the ASCAC (at ¶86), the lead

plaintiff’s expert determined that Perrigo’s results were inflated by $84.1 million in collusive

revenue from generic Tretinoin revenues in 2016.




    12
       In calculating the correlation between Spear Derm’s and Actavis’ prices for generic
Tretinoin, Plaintiff’s expert reached results that were not materially different to those alleged in
the Amended Securities Class Action Complaint. See ASCAC ¶86 (alleging that Actavis’ prices
for generic Tretinoin were 82% correlated with Spear Derm’s prices).



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               5.      Clobetasol

       89.     Clobetasol is a potent corticosteroid used to treat eczema, dermatitis, and

psoriasis, among other skin conditions. Many formulations of Clobetasol, another important

Perrigo generic drug, also showed signs of collusion. For example, for generic Clobetasol gel,

Perrigo was the dominant producer throughout the Relevant Period in a market with only four

substantial participants:




       90.     For the gel formulation of Clobetasol, the other three substantial producers

engaged in coordinated, collusive price hikes in 2014, simultaneously inflating prices by several

hundred percent. In January 2016, Perrigo joined the existing price-fixing conspiracy and raised

its own prices five-fold so that they were approximately identical to all other competitors.

Because all other market participants had agreed to maintain the same anti-competitive prices,

and because demand for Clobetasol gel was extremely inelastic, Perrigo’s price inflation led to a

huge spike in monthly sales:




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Perrigo generated millions of dollars in collusive revenues through supracompetitive pricing of

Clobetasol gel. As alleged in the ASCAC (at ¶88), the lead plaintiff’s expert determined that

Perrigo’s collusive revenues across various formulations of Clobetasol were $28.0 million in

2014, $21.1 million in 2015, and $43.0 million in 2016.

               6.     Halobetasol propionate

       91.     Another key topical generic drug, halobetasol propionate, shows similar evidence

of collusion. Halobetasol propionate is a corticosteroid used on the skin to reduce swelling,

redness, and itching due to certain dermatological conditions. It has been available in generic

form since 1990. Perrigo dominated the market for generic halobetasol propionate ointment,

along with another manufacturer, G&W Labs:




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       92.     Perrigo and G&W Labs kept their prices highly correlated between 2012–2016,

including a massive lockstep hike in 2013 just after the annual meeting for the Generic

Pharmaceutical Association:




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       93.     The coordinated price hikes in halobetasol propionate ointment were very

profitable for both Perrigo and G&W Labs. Monthly sales revenue from the drug more than

doubled for both Perrigo and G&W Labs immediately following the lockstep 2013 price hike:




Perrigo generated millions of dollars in collusive revenues through supracompetitive pricing of

Halobetasol Propionate ointment. As alleged in the ASCAC (at ¶91), the lead plaintiff’s expert

determined that the collusive revenues from halobetasol propionate were $17.7 million in 2014,

$15.4 million in 2015, and $14.4 million in 2016.

       E.      To Fend Off Hostile Bid from Mylan, Defendants Inflate Growth Projections.

       94.     On April 8, 2015, Mylan made an unsolicited offer directly to Perrigo

shareholders to acquire the Company for $205 per share in cash and stock, a premium of

approximately 25% above the price that Perrigo shares had closed at the prior trading day, and

substantially above any price at which Perrigo shares had traded for the entire history of the

Company. In the public offer letter addressed to Defendant Papa, Mylan Chairman of the Board

Robert Coury stated:


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        As you and I have discussed on a number of occasions over the
        past few years, a combination of Mylan and Perrigo offers clear
        and compelling strategic and financial benefits, has sound
        industrial logic, and would create a global leader with a unique and
        one-of-a-kind profile. We have complementary operations across
        all of our businesses, both from a product and geographic
        perspective. In an environment where scale and reach are
        becoming increasingly important, the combination of our
        companies would result in an unmatched global platform,
        substantial revenue and operating synergies, and enhanced long-
        term growth potential, all of which would serve to create
        significant value for the combined company’s shareholders and
        other stakeholders.

        Based on our many conversations over the years and my
        knowledge of Perrigo, I have often noted the similarity in the
        culture and core values of our two companies. We both place
        paramount emphasis on integrity, respect and responsibility in our
        commitment to provide the world’s 7 billion people access to the
        broadest range of affordable, high quality medicine. We also have
        a common focus on innovation, reliability and excellent customer
        service. Most importantly, all of our people are dedicated to
        creating better health for a better world, one person at a time. This
        shared culture and these common values will be key contributors to
        a successful integration.

        For the foregoing reasons, I am writing on behalf of Mylan to
        propose a combination of Mylan and Perrigo in a transaction that
        would deliver to your shareholders significantly greater near-term
        and long-term value than they could otherwise obtain on a
        standalone basis. Our proposal is the natural culmination of our
        prior discussions and reflects our shared vision for the industry.
        This is the right time for our two companies to move forward
        together, and Mylan and our Board are firmly committed to
        making this combination a reality.

        Specifically, we propose to offer Perrigo shareholders $205 in a
        combination of cash and Mylan stock for each Perrigo share,
        which represents a greater than 25% premium to the Perrigo
        trading price as of the close of business on Friday, April 3, 2015,
        a greater than 29% premium to Perrigo’s sixty-day average share
        price and a greater than 28% premium to Perrigo’s ninety-day
        average share price.

        Our proposal provides a very significant cash payment to Perrigo
        shareholders. In addition, even with conservative assumptions for
        what we believe to be significant and meaningful synergies coming


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               from both companies, our proposal provides Perrigo shareholders
               with an even greater equity value in the combined company than
               they currently have in Perrigo today.

               In addition to the compelling value to shareholders, a combination
               of Mylan and Perrigo would offer substantial benefits to the other
               stakeholders of both companies. In particular, the combination
               would provide a broader variety of opportunities to our employees
               and increased stability for the communities in which we operate
               and serve. The position of our creditors and suppliers would be
               enhanced by the combined company’s scale and significant free
               cash flows, and patients would receive improved access to
               affordable, high quality medicine through increased scale across
               geographies and robust capabilities to drive innovation.

See Form 425 filed by Mylan on April 8, 2015.

       95.     Because Perrigo is an Irish company, Mylan’s April 8, 2015 proposal commenced

an offer period under the Irish Takeover Rules, which strictly governed both Mylan’s bid and

Perrigo’s defense against the bid. In particular, to prohibit unsubstantiated claims to support or

defeat an offer, Irish Takeover Rules require the directors of the offeror and offeree, when

making public statements, to “accept responsibility for the information contained in the

document or advertisement and [to state] that, to the best of their knowledge and belief (having

taken all reasonable care to ensure that such is the case), the information contained in the

document or advertisement is in accordance with the facts and, where appropriate, that it does

not omit anything likely to affect the import of such information.” Irish Takeover Rule 19.2.

       96.     Because financial projections by the offeror and offeree can unfairly influence

takeovers, Irish Takeover Rules further require that every profit forecast by an offeror or offeree

“(including the assumptions upon which it is based) shall be compiled with scrupulous care,

accuracy and objectivity by the directors of the offeror or (as the case may be) of the offeree…”

Irish Takeover Rule 28.1.




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        97.     In response to the announcement, investors sent both stocks sharply higher.

Analysts were similarly positive. Bank of America/Merrill Lynch stated, “From a business

combination perspective, this makes sense to us as it brings together two companies with

arguably best-in-class operations in the generic (MYL) and OTC (PRGO) spaces.” Barclays

wrote: “We believe a combination between MYL and PRGO would offer a unique value

proposition to their customers. . . .” Deutsche Bank concluded that “the combination of these

companies makes a lot of strategic sense. . . . MYL represents a de-risking as PRGO would

otherwise be in a multi-year globalization phase.” UBS predicted that the combined stock would

move higher over the next year. Market observer Jim Cramer opined that “[t]hese two would be

a match made in heaven.” See Summary of Analyst Opinions, Form 425 filed by Mylan on May

5, 2015, at slide 32.

        98.     On or about April 21, 2015, Defendants decided to reject Mylan’s unsolicited bid

and keep Perrigo an independent company. To make their case to investors, Defendants both

concealed the true deterioration of Perrigo growth and affirmatively misrepresented the truth. In

a press release that day, Perrigo falsely told investors that Mylan’s $205 bid “substantially

undervalues the Company and its growth prospects,” and that the offer “does not take into

account the full benefits of the Omega Pharma acquisition.”

        99.     In an investor presentation also held on April 21, 2015, Defendants ramped up

their claims that an independent Perrigo was worth more than $205 because it had a “durable

competitive position” and a “compelling growth strategy.” See Investor Presentation, Slide 3, Ex.

99.2 to Form 8-K filed on April 21, 2015. Papa accepted personal responsibility in writing for

the April 21, 2015 investor presentation, making the representations required by Irish Takeover

Rule 19.2 and set forth in paragraph 95 above. See Ex. 99.2 to April 21, 2015 Form 8-K, Slide 1.




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       100.    In a slide entitled “Proven Financial Track Record,” Defendants claimed that

Perrigo had a “proven history of meeting our goals,” identifying organic net sales growth of 7%

between 2011 and 2014, and also had “the ability to keep delivering” growth in the 5–10%

range. Id. at slide 10. For its Generic Rx division, Perrigo enhanced its hype even further, telling

investors to expect growth in the 8% to 12% range. Id. at slide 9. In the oral part of the

presentation, Papa claimed to “see additional upside for Perrigo on the horizon over and above”

the organic growth goal. Defendants omitted entirely the fact that organic growth had slowed

substantially, had not reached 7% in any of the last six quarters, and that even the growth

reported was boosted by anti-competitive practices in the Generic Rx division and the

unsustainable optimizing of sales.

       101.    Perrigo called its growth strategy “base plus plus plus,” which it depicted visually

with a pyramid:




The base was the existing businesses with their inflated 5–10% growth projections. Layered on

top of that was the industry trend of switching from prescription to OTC, which theoretically



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helped the core CHC business but had failed to deliver much upside for several quarters. At the

very top of the “base plus plus plus” pyramid, above mergers and acquisitions, was the

projection of “Tysabri upside” from possible new indications in stroke and secondary

progressive multiple sclerosis.

       102.    The April 21, 2015 presentation was also misleading with respect to generic drug

pricing. Defendant Papa falsely told investors that “[o]n the question of pricing…our goal on

pricing has been the same goal, really for all the time, almost nine years I’ve been at Perrigo.

What we seek to do on our pricing is keep pricing flat to up slightly.” In truth, Perrigo had

massively spiked prices of many of its most important generic drugs by colluding with other

generic manufacturers and/or joining prices fixed by existing illegal conspiracies.

       103.    Regarding Omega, Defendants’ presentation claimed the acquisition was

“accretive to Perrigo’s organic growth profile,” see Ex. 99.2 to April 21, 2015 Form 8-K, slide

24, and Papa further exclaimed, “[w]e’re very pleased with our initial integration projects.” In

fact, Papa and the other Defendants were aware of the serious problems with the integration and

management of Omega and also knew that Omega management had modeled long-term organic

growth of just 3.2%, well below the 5–10% range claimed by Perrigo.

       104.    Defendants repeated these misrepresentations and omissions, and made additional

misrepresentations and omissions throughout the offer period, all of which are detailed in Section

V below.

       105.    On April 24, 2015, Mylan made a legally binding commitment to tender for

Perrigo shares at $60 cash plus 2.2 Mylan shares per Perrigo share tendered. At Mylan’s closing

price that day of $76.06, the revised bid was worth over $227 per share. Perrigo’s board again

rejected the offer and encouraged shareholders not to tender shares.




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         106.   On April 29, 2015, Mylan increased its bid again, this time to $75 cash plus 2.3

Mylan shares per Perrigo share tendered. At Mylan’s closing price of $74.50 on April 29, 2015,

the revised bid was worth over $246 per share. Again, Perrigo’s board rejected the offer and

encouraged shareholders not to tender shares.

         107.   While promoting Perrigo’s organic growth claims to investors, Defendants knew

that organic growth was eroding. For the six quarters reported before the Relevant Period,

Perrigo had averaged approximately 1% in organic growth, a slowdown it did not report to

investors. See supra ¶61. In the second calendar year quarter of 2015, organic growth turned

negative, for both the quarter and the trailing twelve months.13 Nonetheless, to encourage

investors to ignore this deterioration, Defendants issued an investor presentation on August 6,

2015, purportedly developed under the strict requirements of the Irish Takeover Rules,

reiterating that organic growth targets remained intact and claiming to have a “strategy for

delivering 5-10% organic growth.” See August 2015 investor presentation, available at

https://www.sec.gov/Archives/edgar/data/1585364/000158536415000093/august2015investorpre

sen.htm. However, at the time: (a) Perrigo had not been able to consistently deliver organic

growth in that range over the last six quarters; (b) Perrigo was having substantial problems

integrating its largest acquisition, Omega; (c) Perrigo and other generic drug competitors were

facing considerable headwinds as increasing scrutiny from regulators and customers made it

more difficult to obtain the supracompetitive pricing driving results in Perrigo’s Generic Rx




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       Specifically, Plaintiff determined that Perrigo’s organic growth for the quarter ended June
27, 2015, was approximately -2.1%, calculated in the manner described in paragraph 61 and
adjusted to exclude inorganic revenue from the recent acquisitions of Omega ($401.2 million),
Gelcaps ($4.5 million), and Lumara ($6.03 million, estimated), and the average organic growth
over the four quarters ending June 27, 2015 was thus approximately -2.6%.



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division; and (d) although masked by Perrigo’s accounting violations, the fair value of Perrigo’s

largest financial asset, the Tysabri royalty stream, had already started to plummet.

         108.   By the time of Perrigo’s August 2015 investor presentation, generic drug makers

were under increasing scrutiny for price-fixing. Four manufacturers, including Actavis, which

shared the lucrative generic Retin-A (tretinoin) market with Perrigo, had disclosed that they

received subpoenas from the United States Department of Justice’s Antitrust Division related to

generic drug pricing and collusion. An article published on August 7, 2015, in FiercePharma (a

widely-followed daily news resource for pharmaceutical executives), reported that “the DOJ is

looking into whether trade associations were used as a conduit to trade drug-pricing

information.” See Eric Palmer, Actavis gets subpoena as DOJ probe of generic pricing moves up

food chain, FiercePharma (Aug. 7, 2015), http://www.fiercepharma.com/regulatory/actavis-gets-

subpoena-as-doj-probe-of-generic-pricing-moves-up-food-chain. This put Perrigo in the spotlight

of regulators, as it had increased prices of several generic drugs by several hundred percent or

more in coordination with competitors shortly after trade association meetings. See Section

IV(D).

         109.   On September 14, 2015, Mylan commenced its formal tender offer to purchase

Perrigo shares. As Mylan had earlier promised, Perrigo shareholders would receive $75 in cash

and 2.3 Mylan ordinary shares for each Perrigo ordinary share tendered. The deadline to tender

shares was November 13, 2015, and the offer required only 50% of shares to be tendered. Mylan

described its offer to Perrigo shareholders as deciding between one of two scenarios: either

accept a “highly attractive offer” including $75 in cash and a total value substantially greater

than Perrigo’s market price, or, alternatively, receive no cash and risk a significant decline in the




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value of Perrigo’s stock, while “weathering the delays and potential execution and integration

risk inherent in Perrigo’s standalone strategy.”

       110.    On September 17, 2015, Defendants urged Perrigo investors to reject Mylan and

not tender shares into the offering. The letter to investors issued that day by Defendants Perrigo

and Papa boasted that since 2007, “we have successfully integrated 27 acquisitions with trailing

12-month net sales of more than $3.2 billion, all while maintaining our relentless focus on return

on invested capital. Simply stated, Perrigo has an outstanding track record of value creation

and our future is bright.” In fact, Perrigo had not successfully integrated its largest acquisition,

Omega, had not been able to consistently deliver organic growth in that range over the last six

quarters, and had covered up value destruction for its largest financial asset, the Tysabri royalty

stream, by applying the wrong accounting treatment and refusing to mark the asset to its fair

market value quarterly as GAAP required.

       111.    On October 22, 2015, Perrigo announced results for the third calendar quarter,

emphasizing income growth in the Generic Rx division without disclosing the anti-competitive

practices boosting that growth. As with the prior quarterly release, Perrigo masked the

diminished value of its largest financial asset, the Tysabri royalty stream, by, as they later

admitted, failing to account for the change in fair value as required by GAAP. Perrigo also

announced that it would cut costs by laying off 800 workers, and authorized a debt-fueled $2

billion share buyback. However, Defendants did not disclose that cutting workers would impair

Perrigo’s organic growth and integration efforts.

       112.    That same day, Defendants doubled down on their materially misleading profit

forecasts, purportedly issued under the strict standards of the Irish Takeover Rules. With the

Mylan takeover deadline only weeks away, Defendants projected not only strong results in the




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remainder of the 2015 calendar year, but also blockbuster returns for 2016. Defendants touted a

baseline earnings projection of $9.30 per share and projected that share buybacks and efficiency

gains would further boost that figure to $9.83 per share. In a letter supplied to shareholders

issued pursuant to the Irish Takeover Rules, and filed with the SEC as an attachment to Form 8-

K on October 22, 2015, Defendants acknowledged their obligation to make “certain attestations

to those profit forecasts.” They further conceded that the directors prepared the profit forecast,

and did so based on growth assumptions which were expressly “within the directors’ influence

and control.”

       113.     Defendants’ misrepresentations and omissions succeeded. On November 13,

2015, Perrigo investors tendered less than the 50% threshold, ending Mylan’s takeover bid.

Instead of receiving $75 cash and additional equity compensation, Perrigo investors had to face

Perrigo’s true prospects as an independent company.

       114.     On January 11, 2016, Defendants Perrigo and Papa issued a press release

adjusting 2016 earnings guidance to reflect two accretive acquisitions made in December 2015.

According to the press release, Perrigo’s purchase of a generic version of Entocort added $0.35

per share to the projection, and its purchase of various generic Retin-A (tretinoin) formulations

added another $0.20. As a result, Perrigo and Papa claimed that Perrigo would earn $9.50 to

$10.10 per share.

       115.     Although Defendants’ misleading efforts cost Perrigo shareholders dearly, they

enriched Defendants Papa and Brown. Perrigo’s Board of Directors awarded Papa and Brown a

“special cash bonus” of $500,000 and $375,000, respectively, for their “key contributions related

to Mylan’s takeover attempt.” Also, on December 28, 2015, the Board granted restricted stock to




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Papa worth $1.5 million, and to Brown worth $375,000 to further “recognize” their merger

defense “contributions.” See Perrigo Form PRE 14A filed with the SEC on March 4, 2016.

       F.      Defendants Hide Billions of Dollars of Deterioration in Perrigo’s Largest
               Financial Asset by Violating GAAP

       116.    Throughout the Relevant Period, the royalty stream for Tysabri was Perrigo’s

largest financial asset and played an important role in the “base plus plus plus” growth strategy

Defendants claimed as a basis to reject Mylan’s takeover offer. High margin revenues from

existing indications were an important part of the base for which Perrigo predicted 5% –10%

organic growth, and the potential for additional revenues from new treatment indications in

stroke and secondary progressive MS was so significant that it formed its own “plus” layer,

which Defendants visually depicted at the top of their revenue pyramid. See ¶101.

               1.     Applicable GAAP Requirements

       117.    GAAP include those principles recognized by the accounting profession as the

conventions, rules, and procedures necessary to define accepted accounting practices at a

particular time. SEC Regulation S-X (17 C.F.R. § 210.4-01(a)(1)) provides that financial

statements filed with the SEC that are not presented in accordance with GAAP will be presumed

to be misleading, despite footnotes or other disclosures. The Financial Accounting Standards

Board (“FASB”), the entity that holds the authority to promulgate GAAP, has codified GAAP

into a numbered scheme called the Accounting Standards Codification (“ASC”), which has been

adopted as the framework for financial reporting for all public filers. In addition, the FASB has

issued guidance in the form of FASB Concept Statements (“FASCON”s), which set the

objectives, qualitative characteristics, and other concepts used in the development of GAAP, and

which reflect the underlying basis and framework for the promulgation of accounting standards.




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       118.    Financial statements (including footnote disclosures), like those filed on Forms

10-Q and 10-K with the SEC, are a central feature of financial reporting. One of the fundamental

objectives of financial reporting is to provide accurate and reliable information concerning an

entity’s financial performance during the period being presented. FASCON No. 8, Conceptual

Framework for Financial Reporting (“FASCON 8”), which, as its title provides, represents,

along with other FASCONs, the framework for financial accounting, states that “[t]he objective

of general purpose financial reporting is to provide financial information about the reporting

entity that is useful to existing and potential investors, lenders, and other creditors in making

decisions about providing resources to the entity.” FASCON 8, ¶ OB2.

       119.    This framework also states that “[d]ecisions by existing and potential investors

about buying, selling, or holding equity and debt instruments depend on the returns that they

expect from an investment in those instruments,” and that “[i]nvestors’, lenders’, and other

creditors’ expectations about returns depend on their assessment of the amount, timing, and

uncertainty of (the prospects for) future net cash inflows to the entity.” FASCON 8, ¶ OB3.

       120.    FASCON 8 also states that, in order to assess an entity’s prospects for future net

cash inflows, “existing and potential investors, lenders and other creditors need information

about the resources of the entity, [and] claims against the entity.” FASCON 8, ¶ OB4. It also

states that investors and other creditors are interested to know and understand, among other

things, “how efficiently and effectively the entity’s management and governing board have

discharged their responsibilities to use the entity’s resources.” Id.

       121.    Because investors, lenders, and other creditors rely on financial statements for

much of the financial information they need to make rational decisions regarding the entity, they




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are considered to be the primary users to whom general purpose financial reports are directed.

FASCON 8, ¶ OB5.

        122.   A primary quality that renders financial information useful to investors, creditors,

and other users in their decision-making is faithful representation. For an entity to faithfully

represent what it purports to represent, including its financial position and the results of its

operations for selected periods of time, information must be complete, neutral, and free from

error. FASCON 8, ¶ QC12. To be complete, the financial information must include all

information necessary for a user to understand the phenomenon being depicted, including all

necessary descriptions and explanations. FASCON 8, ¶ QC13. To be neutral, the financial

information must be without bias in the selection or presentation of such information. FASCON

8, ¶ QC14. The standard describes a neutral depiction of financial information in more detail as

follows:

               A neutral depiction is not slanted, weighted, emphasized,
               deemphasized, or otherwise manipulated to increase the probability
               that financial information will be received favorably or
               unfavorably by users. Neutral information does not mean
               information with no purpose or no influence on behavior. On the
               contrary, relevant financial information is, by definition, capable of
               making a difference in users’ decisions.

Id.

        123.   Significantly, for financial assets like the Tysabri royalty stream, GAAP requires

the assets be measured at their fair value at the end of each reporting period subsequent to their

initial measurement. See ASC 815-10-35-1.

               2.      Defendants’ Accounting Admittedly Violated GAAP

        124.   Throughout the Relevant Period, Perrigo falsely stated that the value of the

Tysabri royalty stream was $5.8 billion. This was not the fair market value of the royalty stream,

and Defendants dodged the reporting of current fair market values by violating GAAP. While the


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Company was unquestionably required to account for the royalty stream as a “financial asset,”

marking the fair value to market at least each quarter, the Company instead treated it as if it were

an “intangible asset.” The Company now admits this treatment violated GAAP. See Form 10-K

filed on May 22, 2017. As a result of this accounting maneuver, investors were prevented from

learning that the royalty stream had lost billions of dollars of value.

       125.    The Company concedes that its accounting for the Tysabri royalty stream violated

GAAP. As the Company admitted in May 2017:

               After an extensive evaluation of the facts and circumstances and
               the judgments required to determine the appropriate classification,
               it was determined that under existing U.S. GAAP the contingent
               payments from Elan's May 2013 sale of Tysabri® to Biogen (the
               "Tysabri®royalty stream") should have been recorded as a
               financial asset, rather than an intangible asset, on the date of our
               acquisition of Elan.

               Our Tysabri®royalty stream is now accounted for in our
               consolidated financial statements for 2016 and prior restated
               periods as a financial asset using the fair value option. We made
               the election to account for the Tysabri financial asset using the fair
               value option as we believe this method is most appropriate for an
               asset that does not have a par value, a stated interest stream, or a
               termination date. Accounting for the Tysabri® royalty stream as a
               financial asset required us to adjust our financial statements for the
               Restated Periods to (1) remove the Tysabri® royalty stream from
               net sales in our Consolidated Statements of Operations, (2) remove
               the amortization expense (reflected in cost of goods sold)
               associated with recording the Tysabri® royalty stream as an
               intangible asset, and (3) include the quarterly changes in fair value
               of the Tysabri® royalty stream as a component of other non-
               operating income/expense. The cash payments we received from
               the royalty stream are included in our Consolidated Statements of
               Cash Flows for the Restated Periods and reflect the cash received
               from the Tysabri® royalty stream as cash from investing activities,
               rather than as cash from operating activities.

Id. Perrigo knew all along that the Tysabri royalty stream was a financial asset. The Company

never operated any business involving Tysabri, and in a May 2016 conference call with

investors, then-CEO John Hendrickson expressly called the royalty stream a “financial asset.”


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Accordingly, there was no basis for Perrigo to dodge the accounting required by ASC 815-10-

35-1.

        126.   Perrigo’s restatement is an admission that its Relevant Period financial statements

were materially false when made. GAAP defines a “restatement” as:

               The process of revising previously issued financial statements to
               reflect the correction of . . . [a]n error in recognition, measurement,
               presentation, or disclosure in financial statements resulting from
               mathematical mistakes, mistakes in the application of generally
               accepted accounting principles (GAAP), or oversight or misuse of
               facts that existed at the time the financial statements were
               prepared.

ASC 250-10-20; see also ASC 250-10-45-17 (distinguishing that a mere “change in accounting

estimate shall not be accounted for by restating or retrospectively adjusting amounts reported in

financial statements of prior periods”).

               3.      Defendants’ Used GAAP Violations to Hide Billions of Dollars of
                       Deterioration in Fair Value

        127.   Perrigo’s GAAP violations were used to create the impression that the valuation

of the Tysabri royalty stream remained intact, even as its actual value plummeted due to known

adverse clinical and competitive developments.

        128.   In June 2015, the phase II trial for Tysabri as a treatment for stroke failed to meet

its primary endpoint. This indication was one of the two potential new indications that

Defendants Perrigo and Papa touted as “Tysabri upside” and placed at the very top of their “base

plus plus plus” pyramid slide presented to investors. See paragraph 101. Instead of recording the

diminution in fair value associated with this adverse development, Perrigo violated GAAP and

told investors that the Tysabri royalty stream had the same value as before: $5.8 billion.

        129.   The “Tysabri upside” thesis fell apart in October 2015 when the phase III trial for

the other proposed new indication, secondary progressive MS, also failed.



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         130.   Tysabri’s core indication for primary MS also came under attack in October 2015,

when Phase III trial results for ocrelizumab, a competing drug, were so positive that experts

called it a “game changer.” See Phase III studies show Roche’s ocrelizumab reduces relapse

rate, delays disability progression in MS patients, News Medical (Oct. 12, 2015),

http://www.news-medical.net/news/20151012/Phase-III-studies-show-Roches-ocrelizumab-

reduces-relapse-rate-delays-disability-progression-in-MS-patients.aspx. In February 2016, the

FDA designated ocrelizumab a “breakthrough therapy.” See Press Release, Roche (Feb. 17,

2016),https://www.roche.com/investors/updates/inv-update-2016-02-17.htm.

         131.   Nevertheless, Defendants continued to insist the Tysabri asset was not impaired.

Perrigo’s February 25, 2016 Form 10-KT, signed by each of the Individual Defendants, again

referenced a $5.8 billion valuation for the Tysabri royalty stream. Even worse, the Form 10-KT

stated that despite these negative developments, the royalty stream’s “fair value exceeded its

carrying value.” This was false. As the Company now concedes, its internal calculations show

that the fair value of the Tysabri royalty stream dropped from $5.42 billion in June 2015 to only

$5.02 billion on April 2, 2016. By the end of 2016, the fair value was only $2.35 billion – less

than half of the figure referenced in the February 25, 2016 Form 10-KT.

         132.   Defendants’ GAAP violations and blatantly false valuation assertions prevented

investors from understanding the deterioration in Perrigo’s largest financial asset. Investors did

not learn the extent of these losses until the Tysabri royalty stream was sold on February 27,

2017, for only $2.2 billion (plus contingent payments that could total up to $650 million).

         133.   In May 2017, to correct their GAAP violations, Defendants took one of the largest

restatements of any public company since 2001. As accounting consultancy Audit Analytics

noted:




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                Back in March, we predicted that Perrigo would likely restate its
                historical financial statements. What we could not predict is that 85
                days after the late filing, Perrigo would join the restatements club
                with a staggering $1 Billion restatement of net income.

                Since 2001, there have only been 19 restatements that exceeded the
                $1 Billion threshold.

Perrigo Restates to Correct More than $1 Billion in Errors, Audit Analysis (June 1, 2017),

http://www.auditanalytics.com/blog/perrigo-restates-to-correct-more-than-1-billion-in-errors/.

V.      MISREPRESENTATIONS AND OMISSIONS MADE BY DEFENDANTS
        DURING THE RELEVANT PERIOD

        A.      Omega Integration and Overvaluation

        134.    In the April 21, 2015 investor presentation discussed above, Perrigo and Papa

assured investors that the Omega acquisition “is accretive to Perrigo’s organic growth profile,

and creates additional value derived from synergies and increased global scale.” Presentation

slides explained that the “directors of Perrigo accept responsibility for the information contained

in this presentation. To the best of the knowledge and belief of the directors of Perrigo (who have

taken all reasonable care to ensure such is the case), the information contained in this

presentation is in accordance with the facts and does not omit anything likely to affect the import

of such information.” Ex. 99.2 to April 21, 2015 Form 8-K, Slide 1. Defendants Perrigo and Papa

also orally stated:

                At Omega, we feel very good about the opportunity with Omega
                and specifically what I would refer to and we’ve talked about in
                the past about revenue synergies. We do believe that there are
                revenue synergies with the product portfolio that we have at
                Perrigo as we bring the 3,000 Perrigo products and help to bring
                them to Omega and look for ways that we could do line extensions
                of existing Omega brands. That’s something that we have teams
                underway already from an integration process. Those teams are
                very active in looking at which ones are the best ones to do, the
                earliest ones to do and move that forward. We do believe that that
                will allow us with the Omega portfolio to be in that 5% to 10%
                compound annual growth rate. Obviously, the more success we


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               have with Omega, the more it would help us to be at the higher end
               of that from the revenue synergies point of view.

       135.    In response to an analyst question during the April 21, 2015 investor presentation,

Defendants Perrigo and Papa went even further, stating:

               Q - David R. Risinger-MORGAN STANLEY -ANALYST: Many of
               my questions have been asked. I just wanted to ask about Omega
               though. So, I was hoping that you might be able to characterize the
               recent organic growth of Omega. Obviously, we don’t have access
               to that. And also, maybe discuss what you're assuming for Omega
               organic growth ex-currency over the next three quarters that's
               baked into your guidance for 2015? I just want to get a sense for
               the momentum of that business on a stand-alone basis.

               A - Joseph C. Papa: Sure. Well, I will start with Omega. We’re
               very pleased with our initial integration projects with Omega, so
               there is a lot of good activities happening with the integration
               team. I'd say it's focused on both driving that topline numbers to
               put your question but it's also focused on improving the cost of
               goods sold. We've got a supply chain team already working with
               them to drive the bottom line results as well. As I talk about the
               growth of Omega from a historical point of view moving into the
               future, it has been accretive to our growth rate. So, we’re excited
               about that.

       136.    The statements identified in paragraphs 134 and 135 were materially false and

misleading when made because: (a) the Defendants had not “taken all reasonable care” to ensure

that the characterization of Omega’s organic growth prospects, synergies, and integration was “in

accordance with the facts and does not omit anything likely to affect the import of such

information,” and, as a result, the presentation did omit material facts; (b) Omega was not

accretive to Perrigo’s claimed organic growth rate; (c) the presentation omitted there were

serious impediments to integration, including technological disparities, the decentralized

structure of Omega, management resistance, and regulatory hurdles; and (d) the presentation

omitted that Omega was already underperforming.




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       137.    On May 6, 2015, in response to an analyst’s request for “highlights . . . about

Omega,” Defendant Papa explained that one of the key sources of the “tremendous revenue

synergies” would be generated through substituting Omega’s outsourced manufacturing with

Perrigo’s in-house manufacturing capabilities. According to Papa:

               [O]ne of the things Omega did really well was sales marketing.
               One of the things they, by their own admission, say they were not
               focused on was the supply chain and manufacturing. We think we
               can help them tremendously with that. We've already got over 20
               projects, identified staff to lower the cost of goods of the Omega
               product. I remind you that 79% of what Omega sells today, they
               outsource. Some of those products we can bring into a Perrigo
               facility or an Omega facility with our expertise, and lower the cost
               of goods by 30-40%, which will absolutely add to the bottom line
               of Omega and Perrigo.”

       138.    The statements identified in paragraph 137 were materially false and misleading

when made because they omitted the following information necessary to make the statements not

misleading under the circumstances in which they were made: (a) that EU regulatory hurdles

would not allow Perrigo to simply transfer the 79% of supply outsourced by Omega to Perrigo’s

U.S.-based manufacturing facilities, and Omega lacked the manufacturing facilities to satisfy this

supply; and (b) there were serious, known impediments to the integration, including

technological disparities, the decentralized structure of Omega, and management resistance,

which undermined the synergies projected by Papa.

       139.    On June 2, 2015, Defendants held a conference call for analysts and investors, in

which Perrigo, through Coucke, stated with respect to Omega:

               [W]e have achieved the success we see today through our unique
               and disciplined approach, and under the leadership of an
               exceptional management team that we have built here at Omega
               Pharma. Over the last three years as a private company, Omega
               Pharma has optimized its commercial infrastructure to deliver
               superior results. First of all, we hired best-in-class management
               and a consumer-centric sales and marketing team with extensive
               OTC experience.


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               Secondly, we streamlined the operations and we instituted an
               efficient management structure with real, efficient, direct, short
               reporting lines between Omega Pharma leadership team and
               country management.

       140.    The statements identified in paragraph 139 were materially false and misleading

when made because: (a) Omega did not have an “exceptional management team” or “best-in-

class management”; (b) Omega had not “optimized its commercial infrastructure”; and (c)

Omega had not already “instituted an efficient management structure,” but instead required

thorough restructuring.

       141.    On June 23, 2015, Defendants Perrigo and Brown attended the Oppenheimer

Consumer Conference and stated as follows in response to an analyst question regarding the

Omega integration:

               Q: I have observations on Omega integration and opportunities to
               get the Perrigo brands over to Europe . . . .

               A - Judy L. Brown: Sure, great. I’m happy to talk about Omega.
               So Omega [P]harmaceuticals, a company that grew dramatically.
               Started in the mid-1990s by its founder who was a pharmacist and
               thought that there was a niche potential in the European over-the-
               counter pharma market of product lines that were potentially not
               being well served by big pharma, and continued to acquire small
               brands and build them together over the course of many years.
               Bought many smaller companies. Built them together, created
               infrastructure, which is what made the asset incredibly appealing
               for us at Perrigo was we had aspirations of growing
               internationally, but didn't have a distribution footprint. So as I
               mentioned earlier, part of the strength of our business model in the
               U.S. is that we have a truck rolling to pretty much every chain
               store, every large grocery store in the United States. We can reach
               everyone and we reach them almost on the daily basis. We did not
               have that infrastructure in Europe, but many, many hundreds of
               products that we eventually could sell if we had the infrastructure
               upon which to sell it.

               Omega gave us that. 35 countries in Europe, many brands,
               distribution reach. What made it what we felt was a great marriage
               and what the seller felt was also a wonderful marriage was the
               combination of their commercial knowledge, their sales and


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              marketing prowess, and their reach with our product and our
              supply-chain base.

              We closed the transaction on March 30, so we are about nine
              weeks in right now, and we are online – I should say in line with
              our going online integration process. Back office is working
              smoothly. We’re bringing them onto all of our back-office
              systems, and importantly what was the underlying core of this
              deal was allowing Omega to remain independent in their sales
              and marketing process, not interfering with that but providing
              them product to put into that pipeline.

              So that will – that is a regulatory process. They have been making
              selections of products in certain countries that they want from our
              lineup and starting the regulatory processes that are required to get
              those new drugs approved in those new markets. And that is on
              track. And it is exciting for that team because in one fell swoop
              you have leading sales and marketing teams country by country
              being able to pick from a list of products that are relevant to and
              important for their patients and consumers locally. So, we are well
              underway.

       142.   The statements identified in paragraph 141 were materially false and misleading

when made because: (a) the Company was not “in line” with its planned Omega integration

process; (b) the back office integration was not “working smoothly”; (c) the statements omitted

that there were serious, known impediments to the integration of Omega, including technological

disparities, the decentralized structure of Omega, and management resistance; and (d) the

statements omitted that Omega was already underperforming.

       143.   On August 5, 2015, on a conference call held in connection with the Company’s

announcement of financial results for the second quarter of calendar year 2015, Defendants Papa

and Perrigo made the following materially false and misleading statements:

              Before we get into the agenda, however, I'd like to start by
              thanking Perrigo employees for their diligent focus[,] which has
              led to adjusted net income growth of 37%. Even with all the noise
              you have been following over the past few months, our nearly
              13,000 Perrigo employees have announced three M&A
              transactions, delivered on our Omega integration plan, achieved
              great operational efficiencies and productivity improvement,


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               executed on our new product launches, and delivered on our Base
               Plus Plus Plus strategy. It’s great work by the team.

       144.    The statements identified in paragraph 143 were materially false and misleading

when made, because: (a) Perrigo’s employees had not “delivered on [the] Omega integration

plan”; (b) the statements omitted that there were serious, known impediments to the integration

of Omega, including technological disparities, the decentralized structure of Omega, and

management resistance; and (c) the statements omitted that Omega was already

underperforming.

       145.    On September 17, 2015, Perrigo, Papa and Perrigo’s directors issued a letter to

investors urging them to reject Mylan’s tender offer. The letter trumpeted that since 2007, “we

have successfully integrated 27 acquisitions with trailing 12-month net sales of more than $3.2

billion, all while maintaining our relentless focus on return on invested capital. Simply stated,

Perrigo has an outstanding track record of value creation and our future is bright.” The letter

further stated that “[t]he directors of Perrigo accept responsibility for the information contained

in this announcement. To the best of the knowledge and belief of the directors of Perrigo (who

have taken all reasonable care to ensure such is the case), the information contained in this

announcement is in accordance with the facts and does not omit anything likely to affect the

import of such information.”

       146.    The statements identified in paragraph 145 were materially false and misleading

when made because they misstated and/or omitted the following information necessary to make

the statements not misleading under the circumstances in which they were made: (a) the

Defendants had not “taken all reasonable care” to ensure that the descriptions of Perrigo’s record

of integrating acquisitions and value creation was “in accordance with the facts and does not

omit anything likely to affect the import of such information,” and as a result the letter did omit



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material facts; (b) the letter omitted that Perrigo had not successfully integrated its largest

acquisition, Omega; (c) the letter omitted that Omega’s senior executives had already warned

Perrigo, Papa and Brown of regulatory impediments to their assumption that synergies could

easily be achieved by swapping Omega’s suppliers that were located in its key markets with

Perrigo’s U.S.-based supply chain; and (d) the letter omitted that Perrigo had not created value

for shareholders by the Omega acquisition.

        147.    On the same day, Defendant Papa stated in his first public address to investors

after Mylan’s tender offer opened, during which he explicitly and repeatedly attacked the Mylan

offer as “dilutive,” that:

                We supplemented [Omega] with our manufacturing infrastructure
                so that we can—one of the clear synergies we saw is that we—
                Omega was manufacturing only about 23% of what they were
                selling. The other 77% was from outside their company. We said,
                we can bring some of that back into our business, into the Perrigo
                infrastructure, lower the cost of goods sold, and drive that to the
                bottom.

        148.    The statements identified in paragraph 147 were materially false and misleading

when made because they omitted the following information necessary to make the statements not

misleading under the circumstances in which they were made: (a) Omega’s senior executives had

already warned Perrigo, Papa and Brown of regulatory impediments to their assumption that

synergies could easily be achieved by swapping Omega’s suppliers that were located in its key

markets with Perrigo’s U.S.-based supply chain; (b) there were serious, known impediments to

the integration of Omega, including technological disparities, the decentralized structure of

Omega, and management resistance; and (c) that Omega was already underperforming.

        149.    On October 22, 2015, to justify its inflated profit forecasts for calendar years 2015

and 2016, Perrigo and Papa indicated they assumed: (a) that 2016 net sales for the BCH (Omega)

segment would grow in the middle of the 5%-10% guidance they had previously published; and


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(b) that the “integration and realization of synergies in relation to the acquisition of, Omega

Pharma . . . will proceed as planned and will not be subject to unforeseen material delays.”

Perrigo and Papa further represented that these assumptions were “compiled with scrupulous

care, accuracy and objectivity by the directors.”

       150.    The statements identified in paragraph 149 above were materially false and

misleading when made because: (a) the Defendants had not compiled the assumptions regarding

BCH net sales, integration of Omega, and realization of synergies with “scrupulous care,

accuracy and objectivity”; (b) the statements omitted that Omega’s senior executives had already

warned Perrigo, Papa and Brown of regulatory impediments to their assumption that synergies

could easily be achieved by swapping Omega’s suppliers that were located in its key markets

with Perrigo’s U.S.-based supply chain; (c) the statements omitted that there were serious,

known impediments to the integration of Omega, including technological disparities, the

decentralized structure of Omega, and management resistance; (d) the statements omitted that

Omega was already underperforming; and (e) the statements omitted that Omega management

had actually modeled Omega’s organic growth rate between 2013-2017 to be only 3.2% per year,

not the 5%-10% range touted to investors.

       151.    Even after the Mylan tender offer had been thwarted, and on the cusp of

announcing “restructuring” and the first impairment charges related to Omega, Defendants

continued to tout the ability to “leverage” synergies from Omega. For example, during a

presentation to investors on January 5, 2016, Defendant Papa was asked by an analyst “how are

you . . . getting that revenue synergy? . . . [H]ow are you leveraging Omega across Perrigo?” In

response, Papa stated:

               [W]e felt there would be revenue synergies of $100 million-plus
               and cost-of- goods-sold synergies in the order of magnitude of the



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                $25 million range. We still feel very good about those – certainly
                on the cost-of-goods-sold synergies. We clearly are seeing projects
                in place that are going to generate far superior to $25 million just
                by simply either bringing some of the products that were
                outsourcing inside and/or things that we are doing just to leverage
                the Perrigo supply chain to get better raw material costs. So we
                feel very good about that.

        152.    The statements identified in paragraph 151 were materially false and misleading

when made because the statements omitted that Omega’s senior executives had already warned

Perrigo, Papa and Brown that this claimed synergy – that Perrigo would be able to substitute

Omega’s existing contract manufacturers with its own manufacturing capacity – would be

extremely difficult to “leverage” due to regulatory impediments.

        B.      Inflated Organic Growth Claims

        153.    Beginning on April 21, 2015, in a concerted effort to persuade Perrigo investors

to reject Mylan’s $205 per share cash and stock acquisition offer, Defendants repeatedly made

false claims regarding Perrigo’s organic growth. On that date, Perrigo and Papa issued a press

release stating, inter alia, that:

                Following a thorough review, advised by its financial and legal
                advisors, the Board unanimously concluded that the Proposal
                substantially undervalues the Company and its future growth
                prospects and is not in the best interests of Perrigo’s shareholders.

                Key factors informing the Board’s determination include:

                        The Proposal substantially undervalues Perrigo’s
                         differentiated global business, including the Company's
                         leading market position in key franchises, global
                         distribution platform, and proven expertise in product
                         development and supply chain management;

                        The Proposal would deny Perrigo shareholders the full
                         benefits of Perrigo’s durable competitive position and
                         compelling growth strategy, which is reflected in the
                         Company's three-year organic net sales compound
                         annual growth rate (CAGR) goal for calendar 2014 to
                         2017 of 5-10%;


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                                                ***

               Joseph C. Papa, Chairman, President and CEO, said, “The Board
               believes the Proposal substantially undervalues Perrigo and its
               growth prospects and that continued execution by the
               management team against our global growth strategy will deliver
               superior shareholder value. Perrigo has a long history of driving
               above market shareholder value through consistent growth with
               a focus on profitability and operational excellence, which is
               reflected in our organic net sales CAGR goal of 5-10% for the
               next three years. . . . We will continue to capitalize on our
               durable competitive position by expanding our international
               platform organically and through future synergistic deals. These
               actions will advance our leadership in the global OTC
               marketplace.”

Defendant Papa expressly took responsibility for the contents and accuracy of the April 21, 2015

press release. The press release stated “The directors of Perrigo accept responsibility for the

information contained in this announcement. To the best of the knowledge and belief of the

directors of Perrigo or Mylan (who have taken all reasonable care to ensure such is the case), the

information contained in this announcement is in accordance with the facts and does not omit

anything likely to affect the import of such information.”

       154.    The statements identified in paragraph 153 were materially false and misleading

when made because: (a) Perrigo’s organic growth was not “consistent”; (b) the Defendants had

not “taken all reasonable care” to ensure that their characterizations of Perrigo’s growth and

competitive position were “in accordance with the facts and does not omit anything likely to

affect the import of such information,” and as a result the press release did omit material facts;

(c) the statements omitted that over the six quarters preceding the Relevant Period, Perrigo’s

actual average organic growth was far below 5-10%; (d) the statements omitted that Omega

management modeled Omega’s long-term organic growth to be substantially below the 5-10%

range referenced in the press release; (e) the statements omitted that the growth that Perrigo was

able to achieve was derived to a material extent from unlawful, collusive pricing that inflated


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revenues in Perrigo’s Generic Rx division; (f) the statements omitted that Perrigo relied on the

unsustainable and undisclosed sales practices Perrigo internally referred to as “optimizing” to

achieve the growth it touted and projected; (g) the statements omitted that the Company had

failed to integrate Omega operationally, a failure that would compromise the organic growth

figures Defendants touted to investors; and (h) the statements omitted that certain of Perrigo’s

key synergy assumptions for the Omega acquisition were unproven and unlikely to materialize,

which would negate the cost savings and growth projections Defendants were touting to

investors.

       155.    Also on April 21, 2015, Defendants made a presentation to investors attempting to

justify their rejection of the lucrative Mylan offer. Presentation slides stated: “The directors of

Perrigo accept responsibility for the information contained in this presentation. To the best of the

knowledge and belief of the directors of Perrigo (who have taken all reasonable care to ensure

such is the case), the information contained in this presentation is in accordance with the facts

and does not omit anything likely to affect the import of such information.” During the

presentation, Defendants Perrigo and Papa (on behalf of all Perrigo’s directors at the time) stated

as follows:

               Simply put, the Board believes that continued execution by the
               management team against our existing global growth strategy will
               deliver superior shareholder value. Perrigo has a long history of
               driving shareholder value through consistent, above-market
               growth and we are exceptionally well positioned to continue to
               deliver superior growth and shareholder value as we build our
               strong independent future.

                                                 ***

               We’re just back from the board meeting in Ireland and I’m thrilled
               to talk to you about our future growth prospects which gives me
               great confidence that our strong durable base will enable us to
               achieve our goal to grow our net sales by 5% to 10% into the
               future. We continue to grow at this rate on a significantly bigger


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               base, but there is a significant potential upside not included in the
               CAGR goal. To reiterate this, our growth goal is purely organic.
               We have historically delivered a balanced mix of organic and
               inorganic growth, which we expect to continue into the future.
               We also see substantial upside for Perrigo on the horizon over and
               above this three-year goal.

                                                ***

               It’s a very exciting chapter in the Perrigo growth story. We’ve built
               a tremendous platform for growth and value creation and our
               pipeline is stronger than ever. Plus, we are positioned to benefit
               from clear demographic trends and the movement of products from
               Rx to OTC. Plus, we have just completed the Omega acquisition,
               which, among other major benefits, provides a significantly
               enhanced international platform for additional growth.


       156.    The statements identified in paragraph 155 were materially false and misleading

when made because: (a) Perrigo was not “exceptionally well positioned to continue to deliver

superior growth”; (b) Perrigo did not have a “strong durable base” capable of delivering 5-10%

“purely organic” growth; (c) the Omega acquisition did not “significantly enhance[]” Perrigo’s

claimed organic growth rates; (d) Perrigo’s growth prospects and competitive position were not

accurately described and the Defendants had not “taken all reasonable care” to ensure that their

characterizations of Perrigo’s growth and competitive position were “in accordance with the

facts and does not omit anything likely to affect the import of such information”; (e) the

statements omitted that Omega management modeled Omega’s long-term organic growth to be

substantially below the 5-10% range referenced in the press release; (f) the statements omitted

that the growth that Perrigo was able to achieve was derived to a material extent from unlawful,

collusive pricing that inflated revenues in Perrigo’s Generic Rx division; (g) the statements

omitted that Perrigo relied on the unsustainable and undisclosed sales practices Perrigo internally

referred to as “optimizing” to achieve the growth it touted and projected; (h) the statements

omitted that the Company had failed to integrate Omega operationally, a failure that would


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compromise the organic growth figures Defendants touted to investors; (i) the statements omitted

that certain of Perrigo’s key synergy assumptions for the Omega acquisition were unproven and

unlikely to materialize, which would negate the cost savings and growth projections Defendants

were touting to investors; and (j) Omega management modeled Omega’s long-term organic

growth to be substantially below the 5-10% range referenced in the presentation.

       157.    During the April 21, 2015 investor presentation, Defendants Perrigo and Brown

utilized slides claiming (in relevant part) to establish Perrigo’s “Proven Financial Track Record,”

“[a] proven history of meeting our goals,” and “the ability to keep delivering”:




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Brown, on behalf of Perrigo and Papa, stated:

               The durability of our diverse product portfolio is clearly evident,
               as our consolidated result is solidly in the range. We have met
               our consolidated organic-only goals in the past and fully intend
               to do so in the future. Looking forward, our goal is to once again
               deliver an organic net sales CAGR for the next three years in the
               5% to 10% range while off a significantly larger base.

       158.    The statements identified in paragraph 157 were materially false and misleading

when made because: (a) Perrigo did not have the “ability to keep delivering” organic net sales

growth of 5-10%, and had not had that ability for several quarters; (b) the information presented

in these slides and Defendant Brown’s discussion of growth was not “in accordance of the facts”

as Papa and Perrigo’s other directors had promised, and the presentation did omit material facts

“likely to affect the import of the information presented”; (c) the presentation omitted that over

the six quarters preceding the Relevant Period, Perrigo’s actual average organic growth was far

below 5- 10%, not “solidly in the range.”

       159.    On May 6, 2015, Defendants Perrigo and Papa attended the Deutsche Bank

Health Care Conference, and stated the following:

               We believe we have a business that will grow 5% to 10%,
               organically. So, we believe we can grow revenue 5% to 10%
               organically in our base business.


                                                ***

                But the final point, I guess, I want to make is that, in the
               meantime, the Perrigo Company is number one, going to continue
               to execute on our base business. We think we can execute as we
               said with the 5% to 10% compound annual growth rate over the
               three years organically.

                                                ***




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               What we’ve always said is, what’s most important for us is to
               continue to execute on our business, show that 5% to 10%
               compound annual growth rate.

               Historically, what we’ve been able to do is actually we’ve done
               right in the middle of that. We’ve done about 8% compound
               annual growth rate organically. And then we supplemented that
               with another approximately 7% to 8% of inorganic opportunity.
               Those were the things we’re going to continue to do. And that’s
               why I think the board is very comfortable in stating that we felt the
               Mylan offer substantially undervalues the company.

       160.    The statements identified in paragraph 159 were materially false and misleading

when made because: (a) they omitted that over the six quarters preceding the Relevant Period,

Perrigo’s actual average organic growth was far below 5-10%; and (b) they omitted that at the

time of the statements, Perrigo was failing to achieve organic growth goals and employing

unsustainable sales practices to maintain the illusion of organic growth, and therefore

“continu[ing] to execute” at the current rate would necessarily mean missing the growth targets

touted to investors as a reason to reject Mylan’s lucrative takeover offer.

       161.    On May 12, 2015, Defendants Perrigo and Papa attended the Bank of America

Merrill Lynch Health Care Conference and stated:

               I think the biggest challenge we have right now is that we just
               don’t see the offer that’s on the table as being equivalent to what
               we think the value of the Perrigo Company is. So we think it
               substantially undervalues the Company. Given that, what’s
               incumbent upon on me and the Board of the Company and the
               executive committee is make sure we continue to focus on driving
               the business, making sure that we continue to deliver on the 5% to
               10% compound annual growth rate, continue to deliver on really
               the bottom line.

       162.    The statements identified in paragraph 161 were materially false and misleading

when made because (a) Perrigo was not then “deliver[ing] on the 5% to 10% compound

[organic] annual growth rate,” and therefore could not “continue to deliver” that rate; and (b) the




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statements omitted that over the six quarters preceding the Relevant Period, Perrigo’s actual

average organic growth was far below 5% to 10%.

       163.    On June 2, 2015, Defendants Perrigo and Papa attended the Jefferies Global

Health Care Conference and stated: “[H]istorically, Perrigo has grown by about 5% to 10%

annually. Specifically, it has grown about 8% organically. And we’ve grown about 8%

inorganically on an annual basis.” These statements were materially false and misleading when

made because they omitted that Perrigo’s actual average organic growth during the six quarters

preceding the Relevant Period was far below 5% to 10%.

       164.    On August 5, 2015, Perrigo issued a press release announcing Perrigo’s earnings

for the second quarter of calendar year 2015. Like other releases during the Mylan offer period,

the August 5, 2015 press release stated: “The directors of Perrigo accept responsibility for the

information contained in this announcement. To the best of the knowledge and belief of the

directors of Perrigo (who have taken all reasonable care to ensure such is the case), the

information contained in this announcement is in accordance with the facts and does not omit

anything likely to affect the import of such information.” The press release quotes Defendants

Perrigo and Papa as stating “[o]ur durable business model and future growth prospects are self-

evident as we continue to progress on our stand-alone strategy.”

       165.    The statements identified in paragraph 164 were materially false and misleading

when made because: (a) Perrigo’s purportedly “self-evident” future growth was based upon

fanciful assumptions and greatly exaggerated; (b) Perrigo’s growth prospects and competitive

position were not accurately described and the Defendants had not “taken all reasonable care” to

ensure that their characterizations of Perrigo’s growth and competitive position were “in

accordance with the facts and does not omit anything likely to affect the import of such




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information,” and as a result, Perrigo’s press release did omit material facts; (c) the statements

omitted that over the six quarters preceding the Relevant Period, Perrigo’s actual average organic

growth was far below 5-10%; (d) the statements omitted that the growth that Perrigo was able to

achieve was derived to a material extent from unlawful, collusive pricing that inflated revenues

in Perrigo’s Generic Rx division; (e) the statements omitted that Perrigo relied on the

unsustainable and undisclosed sales practices Perrigo internally referred to as “optimizing” to

achieve the growth it touted and projected; (f) the statements omitted that the Company had

failed to integrate Omega operationally, a failure that would compromise the organic growth

figures Defendants touted to investors; and (g) the statements omitted that certain of Perrigo’s

key synergy assumptions for the Omega acquisition were unproven and unlikely to materialize,

which would negate the cost savings and growth projections Defendants were touting to

investors.

       166.    On August 6, 2015, in conjunction with the presentation of financial results for

the third calendar quarter of 2015, Defendants made a presentation to investors which claimed

that they had a “[c]lear strategy for delivering 5%-10% organic growth” as well as “[m]ultiple

avenues for additional upside.” This presentation also assured that: “The directors of Perrigo

accept responsibility for the information contained in this presentation. To the best of the

knowledge and belief of the directors of Perrigo (who have taken all reasonable care to ensure

such is the case), the information contained in this presentation is in accordance with the facts

and does not omit anything likely to affect the import of such information.”

       167.    The statements identified in paragraph 166 were materially false and misleading

when made because: (a) Perrigo did not have a clear strategy for delivering 5%-10% organic

growth; (b) Perrigo’s growth prospects and competitive position were not accurately described




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and the Defendants had not “taken all reasonable care” to ensure that their characterizations of

Perrigo’s growth and competitive position were “in accordance with the facts and does not omit

anything likely to affect the import of such information”; (c) the statements omitted that

Perrigo’s actual organic growth rate during the most recent eight quarters averaged well below

the referenced 5%-10% range; and (d) the statements omitted that organic growth was threatened

by known impediments to the Omega integration, by dependence on unsustainable sales

practices, and by the increasing difficulty in replicating supracompetitive price hikes in the

Generic Rx division.

       168.    On September 17, 2015, Defendants Perrigo and Papa issued a letter urging

shareholders to reject Mylan’s offer, which it also filed with the SEC on Schedule 14D-9.

Among other claims, the letter stated:

               After consideration of Mylan's offer, our Board of Directors
               unanimously concluded that the offer substantially undervalues the
               strength of Perrigo's business, operations, and future growth
               opportunities. We are confident in our 5- 10% three-year organic
               revenue CAGR goal, as executed historically, and we expect to
               meet our financial targets in the years to come, creating value for
               you well in excess of Mylan's offer, and with less risk.

The SEC filing further explained Perrigo’s reason for rejecting Mylan’s above-market offer as

follows:

               Perrigo has demonstrated a reliable ability to grow organically.
               Perrigo has grown organic net sales at a 6% CAGR since fiscal
               2008, and the Perrigo Board expects that by continuing its leading
               market position, Perrigo’s durable global base business will
               continue this trend and realize an organic net sales CAGR goal of
               5-10% over the next three years.

An appendix to the filing stated:

               1. RESPONSIBILITY

               1.1 The Directors of Perrigo, whose names are set out in
               paragraph 2 below, accept responsibility for the information


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               contained in this document, save that the only responsibility
               accepted by the Directors of Perrigo in respect of the information
               in this document relating to Mylan, the Mylan group, the board of
               directors of Mylan and the persons connected with them, which
               has been compiled from published sources, has been to ensure that
               such information has been correctly and fairly reproduced or
               presented (and no steps have been taken by the Directors of
               Perrigo to verify this information). To the best of the knowledge
               and belief of the Directors of Perrigo (having taken all reasonable
               care to ensure that such is the case), the information contained in
               this document for which they accept responsibility is in accordance
               with the facts and does not omit anything likely to affect the import
               of such information.

       169.    The statements identified in paragraph 168 were materially false and misleading

when made because: (a) the rejection of Mylan’s offer urged by Defendants increased, not

reduced, risk, as it encouraged investors to squander an offer at a significant premium to Perrigo

market price at the time; (b) Perrigo’s growth prospects and competitive position were not

accurately described and the Defendants had not “taken all reasonable care” to ensure that their

characterizations of Perrigo’s growth and competitive position were “in accordance with the

facts and does not omit anything likely to affect the import of such information”; (c) the

statements omitted that Perrigo’s actual organic growth rate during the most recent eight quarters

averaged well below the referenced 5%-10% range; and (d) the statements omitted that organic

growth was threatened by known impediments to the Omega integration, by dependence on

unsustainable sales practices, and by the increasing difficulty in replicating supracompetitive

price hikes in the Generic Rx division.

       170.    Also on September 17, 2015, Defendants Perrigo and Papa attended the Morgan

Stanley Global Healthcare Conference and stated:

               We try to focus on quality, affordable healthcare. And for us
               that's been a big driver of our average growth rate of somewhere
               around 5% to 10% organic.

                                               ***


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               Our goal is to continue to drive organically 5% to 10% growth
               rate. On top of that, we’ll look to do additional M&A to get
               another 5% to 10%. So that the revenue side will grow, and that,
               let's call it 10% plus, and then grow the bottom line even faster.
               That's how we structure the business and that's why we think we've
               got a great opportunity for the future.

       171.    The statements identified in paragraph 170 were materially false and misleading

when made because they omitted: (a) that Perrigo’s actual organic growth rate during the most

recent eight quarters averaged well below the referenced 5%-10% range; and (b) that organic

growth was threatened by known impediments to the Omega integration, by dependence on

unsustainable sales practices, and by the increasing difficulty in replicating supracompetitive

price hikes in the Generic Rx division.

       172.    On October 22, 2015, Defendants amplified their misrepresentations regarding

organic growth, and issued materially false and misleading profit forecasts for both 2015 and

2016. After issuing third quarter calendar year financial results, Defendants put on a presentation

projecting that Perrigo would earn $7.65-$7.85 for calendar year 2015, and that in 2016 it would

“Accelerat[e] Shareholder Value” and “Amplify[] Perrigo’s Earnings Power,” delivering a

baseline earnings per share of $9.30, increasing to $9.83 after including the effects of a planned

share repurchase and “optimization actions.” See Presentation Slides, attached as Ex. 99.3 to

Form 8-K filed by Perrigo on October 22. To reach these lofty goals, Perrigo issued “CY2016

Revenue Guidance” incorporating organic growth assumptions of 5%-10% overall, 5%-10% in

branded healthcare (former Omega), and 8%-12% in Generic Rx.

       173.    Perrigo and Papa stated as follows with respect to the October 22, 2015 investor

presentation: “The directors of Perrigo accept responsibility for the information contained in this

presentation. To the best of the knowledge and belief of the directors of Perrigo (who have taken

all reasonable care to ensure such is the case), the information contained in this presentation is in



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accordance with the facts and does not omit anything likely to affect the import of such

information.” Additionally, Perrigo and Papa indicated that the guidance for calendar years 2015

and 2016 constituted “profit forecasts” under Rule 28.1 of the Irish Takeover Rules. This

statement was intended to, and did, assure investors that the Company had compiled the profit

forecasts and “the assumptions upon which [they are] based” using “scrupulous care, accuracy

and objectivity by the directors.”

       174.    In a separate letter to investors, Perrigo and Papa identified the assumptions they

employed to calculate the 2015 and 2016 profit forecasts:

               Assumptions

               The Perrigo Directors have prepared the Profit Forecast on the
               basis of the following assumptions:

               Factors outside the influence or control of the Perrigo
               Directors

                      There will be no changes in regulation which would impact
                       the Company’s ability to price prescription products.

                      There will be no changes in general trading conditions,
                       economic conditions, competitive environment or levels of
                       demand, in the countries in which Perrigo operates or
                       trades which would materially affect Perrigo’s business.

                      There will be no business interruptions that materially
                       affect Perrigo, its major suppliers or major customers by
                       reason of technological faults, natural disasters, industrial
                       disruption, civil disturbance or government action.

                      There will be no material changes in the price of raw
                       materials, freight, energy, and labor costs from the prices
                       and costs in place at the date of this profit forecast.

                      There will be no material changes in exchange rates,
                       interest rates, bases and rates of taxes, and legislative or
                       regulatory requirements which would have a material
                       impact on Perrigo.




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              There will be no material adverse events that affect
               Perrigo’s key products, including, competition from new
               generic variants, product recalls, product liability claims or
               discovery of previously unknown side effects.

        Other than the impact of the factors above, the Profit Forecast
        assumes the following factors within the Directors Influence
        and Control

              Fourth quarter 2015 net sales for the CHC, BCH, Rx and
               Specialty Sciences segments are assumed to grow in line
               with the growth rates achieved 2015 year-to-date.

              The 2016 net sales for CHC, BCH and Rx segments are
               forecasted to grow organically in the middle of the three
               year compounded annual growth rate ranges published and
               disclosed to investors in the October 22, 2015 earnings
               release presentation. The ranges published and disclosed in
               April 2015 forecasted compounded annual growth of 5% -
               10% for the CHC and BCH segments and 8% - 12% for the
               Rx segment.

              The integration and realization of synergies in relation to
               the acquisition of, Omega Pharma, certain branded
               consumer healthcare products from GSK, and Yokebe
               will proceed as planned and will not be subject to
               unforeseen material delays.

              The forecast only includes those acquisitions closed or
               announced on or prior to October 22, 2015 and does not
               include any additional acquisitions, dispositions,
               partnerships, in-license transactions, or any changes to
               Perrigo’s existing capital structure or business model after
               October 22, 2015.

              Adjusted operating margin is forecasted to remain
               consistent in 2016 when compared to 2015 and average
               ~28% of net sales.

              Interest rates underlying Perrigo’s variable rate debt
               instruments will not vary significantly from the spot rates
               in effect as of October 22, 2015.

              The announced restructuring activities will proceed as
               planned and will not be subject to unforeseen material
               delays.



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                      The adjusted effective tax rate for the year ended December
                       31, 2016 is estimated at 14%-15% assuming a jurisdictional
                       mix of incomes in line with the Company’s current
                       operations and the implementation of the actions
                       announced on October 22, 2015.

                      Other than the Share Buyback Program, there will be no
                       material share repurchases, or issuances, in determining
                       weighted average number of diluted shares.

       175.    The statements identified in paragraphs 172 through 174 were materially false and

misleading when made because: (a) Perrigo’s growth prospects and competitive position were

not accurately described and the Defendants had not “taken all reasonable care” to ensure that

their characterizations of Perrigo’s growth and competitive position were “in accordance with the

facts and does not omit anything likely to affect the import of such information”; (b) Perrigo’s

profit forecasts for calendar years 2015 and 2016 were not prepared with “scrupulous care,

accuracy and objectivity”; (c) the assumptions underpinning Perrigo’s profit forecasts for

calendar years 2015 and 2016 were not prepared with “scrupulous care, accuracy and

objectivity,” especially the assumptions regarding 2016 organic net sales growth, of unchanged

“competitive environment,” the assumption that unsustainable sales practices would continue

unabated, and the assumption that the Omega integration and synergies “will proceed as

planned”; (d) the statements omitted that Perrigo’s actual organic growth rate during most recent

eight quarters was well below 7.5%—the organic growth rate that Directors assumed for 2016;

(e) the statements omitted that Perrigo’s actual organic growth rate during the most recent eight

quarters averaged substantially below the range of 5%-10% issued as guidance for 2016; (f) the

statements omitted that Perrigo’s “competitive environment” was already changing, as the anti-

competitive pricing activities used to boost its overall income and the results of its Generic Rx

division were already coming under scrutiny; and (g) the profit forecasts for both periods failed




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to properly account for the deterioration in the fair value of Perrigo’s largest financial asset, the

Tysabri royalty stream, or the effect of fair value mark-to- market charges on Perrigo’s earnings.

       176.    On January 11, 2016, Perrigo issued a press release increasing its 2016 earnings

per share guidance to a range of $9.50 to $10.10, to adjust for share repurchases announced

during the Mylan offer period, and for two accretive acquisitions that Perrigo closed in

December 2015. Papa stated:

               We enter 2016 excited about the prospects for our durable business
               model and plan for growth. We expect to launch greater than $1.2
               billion in new products over the next three years, including
               products on our European branded platform. We have the deepest
               Rx pipeline in our history and are excited about the quality of our
               M&A pipeline. For these reasons, we remain confident in our
               ability to deliver on our 2016 growth targets.

       177.    The statements identified in paragraph 176 were materially false and misleading

when made because they omitted the following information necessary to make the statements not

misleading under the circumstances in which they were made: (a) that Perrigo’s “growth targets”

had been prepared using assumptions of organic growth that Perrigo had failed to meet for most

of the prior eight quarters; (b) that the competitive environment was already changing in the

division contributing more than any other to Perrigo’s bottom line, Generic Rx, as regulators and

private litigants began to focus on the anticompetitive activities used to inflate results in that

division; and (c) that the EPS forecast failed to properly account for the deterioration in the fair

value of Perrigo’s largest financial asset, the Tysabri royalty stream, or the effect of fair value

mark-to-market charges on Perrigo’s earnings.

       C.      Pricing Pressure and Anti-Competitive Pricing Practices in Generic Rx
               Division

       178.    In the April 21, 2015 investor presentation discussed above, Perrigo and Papa

projected 8%-12% net sales growth for the Generic Rx division. Presentation slides explained



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that the “directors of Perrigo accept responsibility for the information contained in this

presentation. To the best of the knowledge and belief of the directors (who have taken all

reasonable care to ensure such is the case) the information contained in this presentation is in

accordance with the facts and does not omit anything likely to affect the import of such

information.” Ex. 99.2 to April 21, 2015 Form 8-K, Slide 1. Defendants Perrigo and Papa also

orally stated:

                 On the question of pricing,… our goal on pricing has been the
                 same goal, really for all the time, almost nine years I've been at
                 Perrigo. What we seek to do on our pricing is keep pricing flat to
                 up slightly and I’m very comfortable that, certainly in our current
                 year in our calendar 2015, as we look to the future, we can keep
                 pricing flat to up slightly. So that's really what our goal has been.
                 There is no doubt that there has been some continued wholesaler
                 consolidation and buying group consolidation has occurred. We’re
                 working very closely with those customers. They are very
                 important to our consumer business; obviously they are very
                 important to our Rx business. So we continue to work very closely
                 with all of them to continue to drive and talk about what we refer
                 to as the Perrigo advantage and what [is] unique about us that
                 allows us the help them to meet the needs of their customers or the
                 consumers in the world. So clearly, we do think that that is
                 something we can continue to drive.

        179.     The statements identified in paragraph 178 were materially false and misleading

when made because: (a) Perrigo’s pricing strategy in the Generic Rx division was not to “keep

pricing flat to up slightly,” but rather to wildly increase pricing in select generic drugs where

they could fix the market price in collusion with competitors and/or join an existing price-fixing

conspiracy; (b) as discussed above, in reality pricing levels for Perrigo’s U.S. generic drugs were

unsustainable as a result of increased market competition caused in large part by accelerated

approvals of generic drug applications by the FDA and U.S. regulatory scrutiny into drug

pricing; and (c) the Defendants had not “taken all reasonable care” to ensure that the description




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of Perrigo’s generic drug pricing strategy and growth prospects was “in accordance with the facts

and does not omit anything likely to affect the import of such information.”

       180.    On May 12, 2015, Defendants Perrigo and Papa attended the Bank of America

Merrill Lynch Health Care Conference, and stated as follows:

               Q – Unidentified Audience Member: So you and IGE [Farben (a
               German pharmaceuticals conglomerate)] both have a [Rx] product
               that you both benefited from a price increase and recently you
               decreased price and IGE has made some comments as to what they
               think you are doing, but it seems to be there may be some [pricing
               strategy] you created around your Rx products to address a certain
               customer demand or go after a certain group of customers. I was
               wondering if you could just elaborate on what the strategy may be
               there?

               A - Joseph C. Papa: Sure. I'm not going to comment specifically
               on this particular product conflict or product opportunity.
               Obviously, it’s a competitive market out there. There is always
               going to be – in a pricing world, somebody is going to gain some
               share, somebody is going to lose some share. I think, as a general
               rule, what I’ve tried to do with pricing at Perrigo in the eight
               years, nine years, I’ve been a part of the company is to keep
               pricing flat to up slightly. And if I do that, I believe that puts me in
               the best long-term position to deliver shareholder value for the
               Company. Any specific product conflict issue is just a normal part
               of give and take in terms of market share, gaining market share,
               losing market share. Right now as I sit here today, Perrigo is the
               leader in what I would call extended topical. So anything that’s
               observed topically, dermatology, respiratory, nasal, ophthalmic,
               we’ve got a leading position there and I think we’re just going to
               certainly try to continue to make good decisions on that pricing
               because I think as you've seen in our business, we’ve been able
               to drive some very significant growth both on the top-line and the
               bottom-line for the company relative to our operating margins in
               the mid-40%s.

       181.    The statements identified in paragraph 180 above were materially false and

misleading when made because: (a) Perrigo’s pricing strategy in the Generic Rx division was not

to “keep pricing flat to up slightly,” but rather to wildly increase pricing in select generic drugs

where they could fix the market price in collusion with competitors and/or join an existing price-



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fixing conspiracy; (b) for many of Perrigo’s generic drugs it was not a “competitive market,” but

rather a market where natural competition was constrained by collusion; (c) as discussed above,

in reality pricing levels for Perrigo’s U.S. generic drugs were unsustainable as a result of

increased market competition caused in large part by accelerated approvals of generic drug

applications by the FDA and U.S. regulatory scrutiny into drug pricing; and (d) it was not “good

decisions on that pricing,” but rather massive price hikes accomplished through collusion which

could not possibly be replicated on an ongoing basis that were responsible for the inflated

operating margins in Perrigo’s Generic Rx division.

       182.    On June 2, 2015, Defendants Perrigo and Papa attended the Jefferies Global

Healthcare Conference and made the following materially false and misleading statements:

               Q - David Steinberg – Jefferies & Co. - Analyst: Moving to
               another business line, generics[.] In retrospect, the acquisition of
               Paddock several years ago was really a brilliant one, and your star
               performer in these last several quarters were generic drugs. As you
               look at the portfolio, I know you’re reticent to raise price in store
               brands. But as you look at your portfolio, are there any pricing
               opportunities in some of your extended dermatologics? And
               secondly, with regards to M&A, what type of assets are you
               looking to bring in to augment your current generic portfolio?

               A - Joseph C. Papa: Sure. The approach we take on pricing is
               really a portfolio approach. I'm sure it’s very similar to many of
               you in the audience, as you think about the individual stocks you
               buy. You take a portfolio view on what you’re trying to
               accomplish. That’s what we do on our pricing for our business.

               Across all the Perrigo segments, the consumer segment, the
               nutrition segments, the RX segment and the API segment; we try
               to take a view on pricing across that total portfolio with the goal of
               keeping our pricing flat to up slightly. Now in any individual
               category, like Rx, there may be more upside. But we’re
               recognizing that there is going to be some products in Rx that
               I’m going to have to decrease for competitive reasons, as well as
               increase some. So what we try to do is take a holistic view across
               the entire portfolio and keep pricing flat to up slightly. I will say
               over the last several years to be fair, there’s been more pricing
               upside in the RX category than perhaps some of the other


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                categories. But we still take that kind of total portfolio view of
                keeping pricing flat to up slightly as a view.

        183.    The statements identified in paragraph 182 were materially false and misleading

when made because: (a) Perrigo’s policy with respect to pricing generic drugs was not to “keep[]

. . . pricing flat to up slightly,” but rather to inflate prices wildly on select generic drugs in

collusion with other generic drug manufacturers; (b) the statements omitted that the “pricing

upside in the RX category” over the last several years was the result of anti-competitive practices

by Perrigo and other generics manufacturers; and (c) as discussed above, in reality pricing levels

for Perrigo’s U.S. generic drugs were unsustainable as a result of increased market competition

caused in large part by accelerated approvals of generic drug applications by the FDA and U.S.

regulatory scrutiny into drug pricing.

        184.    During the conference call on August 5, 2015, regarding second quarter calendar

2015 results, Defendants Perrigo and Papa made the following materially false and misleading

statements:

                Q - Marc Goodman – UBS - Analyst: And third, in the generics
                business, just remind us of where we are in this price increase
                dynamic and how sustainable you feel like those increases are?
                Thanks.

                A - Joseph C. Papa: I'm going to go to your third part on generics
                and pricing and I'll go back to Judy for the second one. On the
                generics and the pricing environment, our team has done a great
                job at looking at pricing. . . . Across that portfolio, we think there
                are still opportunities to do pricing. We will continue to look at it.
                We think there's something that we'll be talking about in the future
                for pricing. But I think it really supports the strength of that
                operating profit line of 49.5% and what we achieved with our Rx
                business in the quarter. And importantly, the gross profit line is
                64.8%. For those reasons, we think we have got a strong Rx
                business and we look to still find some additional pricing
                opportunities for the future.




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       185.    The statements identified in paragraph 184 were materially false and misleading

when made because they omitted that: (a) Perrigo’s massive price increases on select drugs in its

Generic Rx division were made in collusion with competitors and/or join an existing price-fixing

conspiracy; (b) the “price increase dynamic” had changed and it had become more difficult to

make similarly-sized price increases as the generic drug industry faced more scrutiny on pricing

and collusion; (c) as discussed above, in reality pricing levels for Perrigo’s U.S. generic drugs

were unsustainable as a result of increased market competition caused in large part by

accelerated approvals of generic drug applications by the FDA and U.S. regulatory scrutiny into

drug pricing; and (d) the pricing achieved in prior quarters in the Generic Rx division was not the

result of a “great job” by Perrigo’s team, but rather by collusion with competitors in violation of

U.S. antitrust laws.

       186.    On August 13, 2015, Perrigo filed an Annual Report on Form 10-K for the fiscal

year ended June 27, 2015. The Annual Report was signed by the Individual Defendants and

falsely stated that the Generic Rx division “operate[d] in a highly competitive environment” and

“face[d] vigorous competition from other pharmaceutical companies that may threaten the

commercial acceptance and pricing of our products.”

       187.    The statements identified in paragraph 186 were materially false and misleading

when made because Perrigo’s Generic Rx division did not operate in a “highly competitive

environment” or face “vigorous competition” for many of its key products, but instead operated

in an environment where prices had been fixed with other generic drug manufacturers at

artificially high prices to garner collusive revenues that would not be possible in a competitive

market.




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       188.     On October 22, 2015, Perrigo held a conference call to announce calendar year

2015 third quarter financial results, in which Defendants Perrigo and Papa made the following

materially false and misleading statements in response to an analyst question regarding generic

drug pricing:

                Q - Elliot Wilbur – Raymond James - Analyst: And then maybe
                more importantly, obviously financial markets have become very
                concerned about the price inflation component of growth, both on
                the generic and brand side going forward. And certainly the
                generic topical business has been one of the few segments of
                generic industry that has really benefited from a strong overall
                pricing dynamic. And just thinking about 8% to 10% growth next
                year, how much do you think that is going to be driven by price?
                Or do you think we’ve kind of hit an inflection point maybe where
                growth metrics are going to be far less dependent on price and
                maybe we’re looking at the potential negative impact on price
                going forward in that segment? Thanks.

                A - Joseph C. Papa: So I think, Elliot, you had about three or four
                things I want to comment on . . . .

                On the question on pricing, certainly, we see that out in the
                marketplace, but I would remind the audience today that what
                we’ve always said about pricing is that our pricing across our total
                book of business is flat to up slightly. While there may be a
                product that we do raise the price on, there are other products we're
                taking price down. Our total strategy for pricing, as I have said I
                think on numerous calls, is keep pricing flat to up slightly. Which
                means that yes, some products we may attempt to the raise price
                there, but in another products we're bringing the price down. So
                think about us as keeping pricing flat to up slightly as really the
                way we're going to look at our total portfolio. Whether we are
                talking about any specific product or any specific category or any
                segment of our business, the overall comment is flat to up slightly
                for our pricing. And I think that's really the best place for the
                long, sustainable consistent approach to pricing that we've had
                in the past; we will in the future.

       189.     The statements identified in paragraph 188 were materially false and misleading

when made because: (a) Perrigo’s pricing strategy in the Generic Rx division was not to keep

pricing “flat to up slightly,” but rather to wildly increase pricing in select generic drugs where



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they could fix the market price in collusion with competitors and/or join an existing price-fixing

conspiracy; (b) Perrigo’s actual generic drug pricing strategy was not a “sustainable consistent

approach”; (c) as discussed above, in reality pricing levels for Perrigo’s U.S. generic drugs were

unsustainable as a result of increased market competition caused in large part by accelerated

approvals of generic drug applications by the FDA and U.S. regulatory scrutiny into drug

pricing; and (c) the statements omitted that the “strong overall pricing dynamic” that Perrigo

enjoyed in its Generic Rx division, and that the analyst inquired about, was the result of anti-

competitive price hikes which could not possibly be replicated on a continuing basis and, in

reality, pricing levels for Perrigo’s U.S. generic drugs were unsustainable as a result of increased

market competition.

       190.    On October 22, 2015, Perrigo and Papa issued inflated profit forecasts for

calendar years 2015 and 2016. The investor presentation in which these profit forecasts were

published to investors indicated that: “The directors of Perrigo accept responsibility for the

information contained in this presentation. To the best of the knowledge and belief of the

directors of Perrigo (who have taken all reasonable care to ensure such is the case), the

information contained in this presentation is in accordance with the facts and does not omit

anything likely to affect the import of such information.” Additionally, Perrigo and Papa

indicated that the guidance constituted “profit forecasts” under Rule 28.1 of the Irish Takeover

Rules. This statement was intended to, and did, assure investors that the Company had compiled

the profit forecasts and “the assumptions upon which [they are] based” using “scrupulous care,

accuracy and objectivity by the directors.” Perrigo’s profit forecasts guided investors to expect

adjusted diluted earnings per share (EPS) of $7.65-$7.85 in calendar year 2015, and $9.30-$9.83

in calendar year 2016. In a letter attempting to justify this inflated model, Perrigo and Papa




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indicated that they assumed that 2016 net sales for the Generic Rx segment would grow

organically in the middle of the 8%-12% guidance they had previously published, and that the

“competitive environment” would not change.

       191.    The statements identified in paragraph 190 were materially false and misleading

when made, because: (a) the Defendants had not compiled the assumptions regarding Generic Rx

division net sales, or the contribution of that division to Perrigo’s earnings per share projection,

with “scrupulous care, accuracy and objectivity”; and (b) the statements omitted that the strong

generic drug pricing and profit margins Perrigo had enjoyed in 2014 and 2015 were the result of

unsustainable collusion with competitors in violation of U.S. antitrust laws and pricing levels for

Perrigo’s U.S. generic drugs were unsustainable as a result of increased market competition

caused in large part by accelerated approvals of generic drug applications by the FDA.

       192.    On January 5, 2016, Defendants Perrigo and Papa attended the Goldman Sachs

Healthcare CEOs Conference and made the following materially false and misleading

statements:

               <Q>: I want to touch upon your generic business because it has
               performed exceptionally well. But it also appears, Joe, that your
               business has benefited from a very positive pricing environment.
               I think you’ve acknowledged that. How much of the growth in
               your business has been driven by price? Have we hit an inflection
               point where growth metrics are going to be far less dependent on
               price? And what happens to growth if generic pricing turns
               negative? And our analyst Bob Jones is tracking prescription
               generic drug inflation and noting that it's turning into negative
               territory. I don't know how much of that is affecting your business,
               but I imagine eventually it will.

               <A - Joseph C. Papa>: About three or four questions – and I’ll
               start with the first one.

               <Q>: I'm sorry.

               <A - Joseph C. Papa>: Number one, our goal – I’ve been at
               Perrigo nine years. My goal in pricing has been the same for the


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               nine years: try to keep my pricing flat to up slightly. Now, to be
               clear, what that means is that I’m taking some products up, and
               some products can be competition and I’m taking them down. On
               balance, what I’ve tried to – what I strive very hard to achieve is
               what I would call pricing flat to up slightly. Now, within a
               category like[,] let’s use the generic Rx products, there may be
               more volatility up or down in products. Certainly, there’s more
               than generics than there is in my consumer business. My consumer
               business has a very minimal volatility. So that’s what I’ve strived
               to accomplish. Is there a place now as we sit here today that there’s
               going to be less pricing? I think the answer really is – I’m a
               believer in economic theory. It all comes down to supply and
               demand. In other words, if there are five players, 10 players
               supplying drug, I can pretty much tell you what the price points are
               going to be. It's going to be your cost of goods plus 10%. It's going
               to find its way down to that level.

               In a case where there’s only two players or three players, it’s – you
               are going to make better margins. And that’s why we have
               purposely tried not to be in the commodity generics but to stay in
               the extended topicals. Do I think the point of your question is[,] is
               there going to be more price competition in even things like
               dermatology? Yes, I do because there are some people coming in.

       193.    The statements identified in paragraph 192 were materially false and misleading

when made because: (a) Perrigo’s pricing strategy in the Generic Rx division was not to “keep

pricing flat to up slightly,” but rather to wildly increase pricing in select generic drugs where

they could fix the market price in collusion with competitors and/or join an existing price-fixing

conspiracy; (b) for many of its most important generic drugs, Perrigo’s generic drug pricing did

not just raise prices to meet competition, but engaged in coordinated price hikes in collusion with

so-called competitors; and (c) the additional “price competition” in dermatological drugs

referenced by Papa was not simply the result of “economic forces” of new competitors entering

the market, but rather the increased scrutiny on anti-competitive practices in the generic drug

industry, and the increased difficulty of replicating price increases in the face of such scrutiny.




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       194.   On February 18, 2016, Perrigo announced fourth quarter calendar year results and

held a conference call, in which Defendants Papa and Brown made the following materially false

and misleading statements:

              <Q - Elliot Wilbur>: Thanks. Good morning. I’m sure there will
              be a lot of questions on BCH. Maybe I’ll actually start off and ask
              a question on the Rx generics segment. Judy, if you have the
              numbers available, could you give us a sense of what the full-year
              contribution was from new products versus decline in the base?
              I’m just looking at fourth quarter and it looks like there’s about a
              10% rate of decline in the base, which maybe seems a little bit
              higher than average, which leads me into part of my question here.
              It just seems like at the margin certain segments within the
              generic area are seeing more pricing erosion, particularly
              dermatologics. I’m just wondering how you are thinking about
              potential head winds there in terms of accelerated pricing erosion
              in 2016. Obviously, it’s been a very strong tail wind the past
              couple of years. Thanks.

              <A - Joseph C. Papa>: Judy, why don’t you take the first part of
              it and I’ll take that latter part.

              <A - Judy L. Brown>: Were you to go through and accumulate
              the comments we made each quarter throughout calendar 2015 on
              new products and Rx, new products contributed approximately
              $121 million over the course of those four quarters. And pricing-
              wise, we did see some pressure, give or take, in the total portfolio
              over the course of the year approximately 1%.

              <A - Joseph C. Papa>: And the latter part of your question, it
              really talks about the pricing dynamics and what we’re thinking
              about and looking at for the future. And I’d say the following. Are
              there some incremental product competition that we're going to
              face? The answer is yes. However, what we’ve tried to do at
              Perrigo Group is not just stay focused only on dermatology. As
              you know, we’ve moved into what I refer to as extended topicals.
              So those are things beyond just certainly dermatology – but
              respiratory, nasal, ophthalmic. And with those product categories –
              for example, at the end of the year, we’ll launch our ProAir
              product in terms of a meter-dosed inhaler for respiratory – those
              are the things that are giving us great strength in our Rx category.
              And, as we believe, that will give us a very high gross margin and
              operating margin, certainly as we think about the 2016 and
              beyond. So, we like what we see in terms of our ability to launch



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               these new products and what they mean for gross margins and
               operating margins.

       195.    The statements identified in paragraph 194 were materially false and misleading

when made because they omitted that: (a) the generic drug pricing had been favorable in prior

years because Perrigo had been able to dramatically raise prices in select generic drugs by

colluding with so-called competitors; and (b) the pricing erosion and “incremental product

competition” were actually the natural result of increased scrutiny by regulators and others into

collusion among generic drug manufacturers, and the increased difficulty of replicating price

increases in the face of such scrutiny.

       196.    On February 25, 2016, Perrigo filed a report on Form 10-KT for the fiscal six

month stub period ending December 31, 2015. The Form 10-KT was signed by Papa and Brown

and falsely stated that, as a manufacturer of generic versions of brand-name drugs, Perrigo

“operate[d] in a highly competitive environment” and “face[d] vigorous competition from other

pharmaceutical companies that may threaten the commercial acceptance and pricing of our

products.”

       197.    The statements identified in paragraph 196 were materially false and misleading

when made because Perrigo’s Generic Rx division did not operate in a “highly competitive

environment” or face “vigorous competition” for many of its key products, but instead operated

in an environment where prices had been fixed with other generic drug manufacturers at

artificially high prices to garner collusive revenues that would not be possible in a competitive

market.

       D.      Declining Fair Value of Tysabri Royalty Stream

       198.    On April 29, 2015, Perrigo filed its Quarterly Report on Form 10-Q for the

quarter ending March 28, 2015, which was signed by Defendants Papa and Brown. The April 29,



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2015 Form 10-Q claimed that its financial statements were “prepared in accordance with U.S.

generally accepted accounting principles (‘GAAP’).” The April 29, 2015 Form 10-Q stated that

the Tysabri royalty stream was an “intangible asset,” and that “[t]he asset’s value is $5.8 billion,

which is being amortized over a useful life of 20 years.”

       199.    The statements identified in paragraph 198 were materially false and misleading

when made because: (a) the asset’s value was not $5.8 billion; (b) the financial results reported

were not accurate and violated GAAP by improperly accounting for the Tysabri royalty stream

as an intangible asset instead of a financial asset, failing to disclose the fair market value of the

royalty stream, and failing to record mark-to-market changes in that fair market value; and (c) by

failing to properly account for the Tysabri royalty stream, Defendants made it impossible for

investors to understand that the royalty stream was deteriorating in value, as became apparent in

February 2017 when Perrigo was only able to sell the asset for $2.2 billion (or up to $2.85 billion

if certain milestones were met).

       200.    On August 13, 2015, Perrigo filed its Annual Report on Form 10-K for the fiscal

year ending June 27, 2015, which was signed by Papa and Brown. Like the April 29, 2015 Form

10-Q, the August 13, 2015 Form 10-K referenced GAAP compliance but did not disclose the fair

value of the Tysabri royalty stream at the end of the fiscal year; instead, it likewise stated that

that the asset had “a value of $5.8 billion and a useful life of 20 years.”

       201.    The statements identified in paragraph 200 were materially false and misleading

when made because: (a) as the Company conceded in its restatement, the asset’s value was not

$5.8 billion, but rather was no more than $5.42 billion by June 27, 2015; (b) the financial results

reported were not accurate and violated GAAP by improperly accounting for the Tysabri royalty

stream as an intangible asset instead of a financial asset, failing to disclose the fair market value




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of the royalty stream, and failing to record mark-to-market changes in that fair market value; and

(c) by failing to properly account for the Tysabri royalty stream, Defendants made it impossible

for investors to understand that the royalty stream was deteriorating in value, as became apparent

in February 2017 when Perrigo was only able to sell the asset for $2.2 billion (or up to $2.85

billion if certain milestones were met).

       202.    On October 22, 2015, Perrigo and Papa issued a press release announcing

earnings for the third calendar quarter of 2015. The press release stated: “The directors of Perrigo

accept responsibility for the information contained in this announcement. To the best of the

knowledge and belief of the directors of Perrigo (who have taken all reasonable care to ensure

such is the case), the information contained in this announcement is in accordance with the facts

and does not omit anything likely to affect the import of such information.”

       203.    The statements identified in paragraph 202 were materially false and misleading

when made because: (a) the financial results reported were not accurate and violated GAAP by

improperly accounting for the Tysabri royalty stream as an intangible asset instead of a financial

asset, failing to disclose the fair market value of the royalty stream, and failing to record mark-

to-market changes in that fair market value; (b) by failing to properly account for the Tysabri

royalty stream, Defendants made it impossible for investors to understand that the royalty stream

was deteriorating in value, as became apparent in February 2017 when Perrigo was only able to

sell the asset for $2.2 billion (or up to $2.85 billion if certain milestones were met); and (c) the

Defendants had not “taken all reasonable care” to ensure that the description of the Tysabri

royalty stream was “in accordance with the facts and does not omit anything likely to affect the

import of such information.”




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       204.    On November 2, 2015, Perrigo filed its Quarterly Report on Form 10-Q for the

quarter ending September 26, 2015, which was signed by Defendants Papa and Brown. The

November 2, 2015 Form 10-Q claimed that its financial statements were “prepared in accordance

with U.S. generally accepted accounting principles (‘GAAP’).” The November 2, 2015 Form 10-

Q did not disclose the fair market value of the Tysabri royalty stream, or update prior statements

claiming the asset’s value to be $5.8 billion.

       205.    The statements identified in paragraph 204 were materially false and misleading

when made because they included the following misstatements and omitted the following

information necessary to make the statements not misleading under the circumstances in which

they were made: (a) the financial results reported were not accurate and violated GAAP by

improperly accounting for the Tysabri royalty stream as an intangible asset instead of a financial

asset, failing to disclose the fair market value of the royalty stream, and failing to record mark-

to-market changes in that fair market value; and (b) by failing to properly account for the Tysabri

royalty stream, Defendants made it impossible for investors to understand that the royalty stream

was deteriorating in value, as became apparent in February 2017 when Perrigo was only able to

sell the asset for $2.2 billion (or up to $2.85 billion if certain milestones were met).

       206.    On January 5, 2016, Defendants Perrigo and Papa gave a presentation to investors

at the Goldman Sachs Healthcare CEO’s Conference, in which they were specifically asked

about the Tysabri royalty stream, and stated:

               <Q>: . . . Tysabri . . . gets less play because it's a path of royalty
               stream, but it’s also a very important part of your earnings picture.
               I guess a two-part question: what is the strategic rationale of
               keeping this now? Obviously, it is important to your earnings, but
               you could also sell it. And just curious to get your thoughts on your
               own internal outlook for Tysabri in light of new competition next
               year from Roche. And just looking at consensus estimates, it looks




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                like the Street is modeling growth of about 8% per year. And just
                wondering how comfortable you are with that.

                <A - Joseph C. Papa>: First and foremost, I’m going to say we
                think we’ve got a great partner with Tysabri and Biogen. And
                they’ve just done a great job with the product from day one. And
                we are really pleased with what they have done. And we think
                there’s continued opportunity for more patients to move to what I
                would refer to as the highly effective category versus the Avadox,
                Betaseron, Copaxone, Rebif. So we think the category of highly
                effective – especially when the introduction of new competition
                like Roche and other people are promoting is going to just expand
                that slice of the pie. So we feel very good about it.

        207.    The statements identified in paragraph 206 were materially false and misleading

when made because they omitted the following information necessary to make the statements not

misleading under the circumstances in which they were made: (a) the Company had been

reporting financial results that were not accurate and violated GAAP by improperly accounting

for the Tysabri royalty stream as an intangible asset instead of a financial asset, failing to

disclose the fair market value of the royalty stream, and failing to record mark-to-market changes

in that fair market value; and (b) by failing to properly account for the Tysabri royalty stream,

Defendants made it impossible for investors to understand that the royalty stream was

deteriorating in value, as became apparent in February 2017 when Perrigo was only able to sell

the asset for $2.2 billion (or up to $2.85 billion if certain milestones were met).

        208.    On February 25, 2016, Perrigo reported its financial results for the stub period

between the end of its prior fiscal year and the end of calendar year 2015 on Form 10-KT, which

was signed by Defendants Papa and Brown. The February 25, 2016 Form 10-KT referenced

conformity with GAAP but did not disclose the fair market value of the Tysabri royalty stream at

the end of the fiscal year; it, instead, again stated that that the asset had “a value of $5.8 billion

and a useful life of 20 years.”




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        209.    The statements identified in paragraph 208 were materially false and misleading

when made because they included the following misstatements and omitted the following

information necessary to make the statements not misleading in the circumstances in which they

were made: (a) the Tysabri royalty stream did not have a value of $5.8 billion, but rather was

worth no more than $5.31 billion as of December 31, 2015; (b) the financial statements in the

Form 10-KT were not accurate and violated GAAP by improperly accounting for the Tysabri

royalty stream as an intangible asset instead of a financial asset, failing to disclose the fair

market value of the royalty stream, and failing to record mark-to-market changes in that fair

market value; and (c) by failing to properly account for the Tysabri royalty stream, Defendants

made it impossible for investors to understand that the royalty stream was deteriorating in value,

as became apparent in February 2017 when Perrigo was only able to sell the asset for $2.2 billion

(or up to $2.85 billion if certain milestones were met).

VI.     THE TRUTH IS REVEALED

        210.    On February 18, 2016, after months of hyping its strong financial condition and

prospects, Perrigo stunned investors by reporting fourth calendar quarter 2015 revenue, margins,

earnings and cash flow that were all below what Defendants had led investors to expect. The

Company also revised its 2016 earnings guidance downward from the guidance it issued and

reiterated (with adjustments for recent acquisitions) just weeks earlier during the Mylan offer.

Most shockingly, however, the Company also revealed previously undisclosed problems

regarding Omega. In contrast to earlier claims that Perrigo’s team had already delivered on the

Omega integration, Perrigo conceded it needed to restructure parts of the BCH unit containing

Omega assets. The Company further admitted that it needed to record an impairment charge of

$185 million because the carrying value of certain Omega assets exceeded their fair value.




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       211.    Analysts uniformly reacted harshly to the news, with reports by Deutsche Bank,

Jefferies, J.P. Morgan, Leerink, Morgan Stanley, and UBS all describing the results as a

“disappointment” and/or “disappointing.” As a result of these disclosures, the price of Perrigo

shares fell $14.77 per share from the close of the market on February 17, 2016, or over 10%, to

close at $130.40 per share on February 18, 2016. The blow was softened because Defendants

failed to reveal the full extent of their growth problems or Omega issues, and did not reveal at all

the deteriorating fair market value of Tysabri or generic drug price collusion.

       212.    On April 22, 2016, just after Defendant Papa collected millions of dollars in cash

and equity bonuses for fending off the Mylan bid (see ¶115), Reuters and other news services

reported that he would be leaving Perrigo to become the new CEO of Valeant. According to

Reuters, Valeant was negotiating a contract with Papa and planned to announce his appointment

as soon as the following week.

       213.    UBS’s analyst report addressed the bombshell news by stating simply: “We are

surprised. We didn’t see this coming.” The news particularly disturbed the market given that

Papa had spent the better part of the prior year assuring investors of his long-term vision and

strategy for the Company. For example, Jefferies noted in its analyst report that, after investors

had “heeded [Papa’s] advice and voted against the [Mylan] tender,” “the mere thought that [Papa

would] consider a new role could lead one to conclude that [Perrigo] is far from being ‘fixed’”

and “could imply more . . . [disappointing performance] to come.” By the end of the day, the

price of Perrigo shares had fallen $7.33 per share, or 5.7%, from $128.68 per share at the close

on April 21, 2016, to $121.35 per share.

       214.    Though Perrigo had initially issued a press release stating only that it would not

comment on “speculation or market rumor,” before the market opened on April 25, 2016—the




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very next business day—Perrigo confirmed Papa’s resignation. Even worse, it also drastically

lowered its earnings guidance for 2016 and announced weak preliminary first-quarter 2016

results. Specifically, Perrigo announced first-quarter 2016 earnings per share guidance of $1.71

to $1.77, compared with the $1.89 per share investors had been led to expect. The Company also

again significantly lowered its 2016 earnings guidance, from the already reduced $9.50 to $9.80

per share announced in February down to only $8.20 to $8.60 per share, a decline of nearly 14%.

       215.    In sharp contrast to Defendants’ prior representations about the strength of

Perrigo’s competitive position and the success of the Omega acquisition, the Company attributed

these poor financial results to increased competitive pressures in its prescription drug segment

and weaker-than-expected performance within Omega. Even more surprisingly, Perrigo warned

that investors should expect this weak performance to continue for at least the next three

quarters. Perrigo also revealed that Omega impairment charges might grow even larger than the

$185 million charge it had announced two months earlier.

       216.    Market commentators and analysts immediately noted that these revelations

contradicted Defendants’ aggressive promotion of Perrigo’s growth and prospects during the

Mylan bid. For example, “Mad Money” host Jim Cramer stated that “Papa had come on ‘Mad

Money’ and talked about how the Mylan bid dramatically undervalued Perrigo. . . . That was

clearly untrue.” Cramer also noted his concern over Papa’s decision to depart “under what is

probably a terrible moment for Perrigo.”

       217.    Likewise, Wells Fargo downgraded Perrigo stock, noting that “Perrigo

management set unrealistic and aspirational earnings guidance in its effort to defend against

Mylan’s hostile bid.” A Barclays report stated that the news prompted “[n]o shortage of

frustration . . . especially since the reset of expectations comes ~6 months after management




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convinced shareholders to rebuff [Mylan’s] tender offer,” and that “the circumstances around

Papa’s departure, so soon after fending off [Mylan] . . . left many investors concerned that

[Perrigo] could be in worse shape than we supposed.”

       218.    As a result of these disclosures, Perrigo shares plummeted an astonishing 18%

that day, dropping by $21.95 per share from the prior day’s close and erasing $3.1 billion in

market value following unusually high trading volume of over 30 million shares.

       219.    On April 28, 2016, Perrigo issued a press release announcing that it had accepted

Coucke’s resignation. The release quotes Hendrickson as noting that “[a]ligned with the actions

that we are taking to drive improved performance in the BCH segment, we have accepted the

resignation of Marc Coucke.”

       220.    On May 12, 2016, Perrigo reported a disappointing first quarter 2016 loss of

$0.93 per share (which the Company later revised to a loss of $2.34 per share). The Company

largely attributed this loss to an additional $467 million impairment charge relating to the Omega

acquisition, bringing Omega impairment charges to more than $650 million, only months after

touting the success of the Omega acquisition to stave off Mylan’s tender offer.

       221.    In a conference call with investors later that same day, the Company’s newly

appointed CEO—John Hendrickson—stated that the Company’s “recent track record of

performance against our own expectations is unacceptable,” and also indicated that he would “try

to be as transparent as possible” and target “realistic” forecasts that the Company can meet.

       222.    The market took these statements as a clear admission that the Company and its

former CEO had misled investors with unrealistic and unattainable financial goals to defeat

Mylan’s takeover during the prior year. For example, in its analyst report addressing these

disclosures, Jefferies wrote that it was “looking forward to [Hendrickson’s’] ‘realistic’ and




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‘transparent’ approach to running the business since now more than ever the co needs to meet

expectations & reestablish credibility.” Likewise, an analyst report by Barclays described the

developments as Perrigo’s new leadership team “‘rethink[ing]’ everything which is leading to

more achievable targets.” As a result, Perrigo shares fell an additional $3.71 per share, or 4%,

from $92.75 at the close on May 11, 2016, to $89.04 at the close on May 12, 2016. Despite its

promises of transparency, the Company did not come clean about the full extent of its

deteriorating growth, the crumbling value of its largest asset, or its reliance on collusive pricing

to generate profits for the Generic Rx division.

       223.    On August 10, 2016, Perrigo announced that it was yet again revising its

guidance in part because of lower performance expectations related to the Omega acquisition as

it continued to implement “transformational organizational changes and improvements in

products and process in this business.” This news stunned the market, which began to question

how Perrigo could have so drastically and continually misstated the benefits and integration of

the Omega acquisition. For example, a RBC Capital Markets analyst report said Perrigo’s

guidance was only “now reasonable,” while a UBS analyst report stated that it was “surprised

that management did not plan for [Omega acquisition issues] in the last guidance change.”

       224.    Perrigo’s August 10, 2016 earnings press release acknowledged that part of the

shortfall was due to the beginning of the return of competitive pricing to the Generic Rx division,

the natural result of increased scrutiny making collusive price hikes more difficult to implement:

“To be clear, our financial results were below our expectations primarily due to competition and

price erosion in the Rx business.” The press release also stated: “Competition and price erosion

impacted both reported gross margin and adjusted gross margin[.]” In a conference call that same

day, Defendants Perrigo and Brown also attributed the shortfall partially to “price erosion” in the




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generics segment. As a result of the August 10, 2016 disclosures, Perrigo shares fell nearly

another 10%, from $95.09 at the close on August 9, 2016, to $86.00 at the close on August 10,

2016, following unusually high trading volume of over 13.7 million shares. Shares dropped

another 2.37% to close at $81.95 on December 8, 2016, after Perrigo announced that it had to

entirely restructure the BCH (Omega) unit.

       225.      On September 12, 2016, activist investor Starboard Value sent a letter to CEO

Hendrickson and the Board of Directors, criticizing the false promises that were made to thwart

the Mylan bid:

                 In April 2015, Mylan N.V. (“Mylan”) made an unsolicited
                 proposal to acquire Perrigo for cash and stock worth approximately
                 $205 per share, more than a 25% premium at that time. Even at
                 current market prices for Mylan shares, this combination would
                 have resulted in a current value of approximately $167 per share,
                 or 88% more than the current Perrigo stock price of approximately
                 $89. Management and the Board went to great lengths to oppose
                 this proposed combination, spending more than $100 million in
                 advisor fees relating to its defense, and promising shareholders that
                 their standalone strategy would produce more value than the
                 transaction given the robustness of Perrigo’s future prospects. In
                 order to convince Perrigo shareholders to reject Mylan’s offer,
                 management and the Board made aggressive promises of drastic
                 improvements in both financial and stock price performance.

See Starboard letter dated September 12, 2016. The Starboard letter also called out “multiple

overly optimistic presentations by Perrigo management illustrating the potential future value of

Perrigo shares,” and the fact that “since that time, results have gone decidedly in the wrong

direction, and management’s promises have been woefully unfulfilled.”

       226.      On February 27, 2017, Perrigo announced that it had agreed to sell the Tysabri

asset touted to investors at the beginning of the Relevant Period as having a “value of $5.8

billion,” and which Defendants had never indicated was impaired, for only $2.2 billion cash

(plus potential future payments of up to $0.65 billion). Perrigo also announced that, for the first



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time, the fair value of the royalty stream did not equal its carrying cost and it was therefore

recording an impairment charge associated with the asset. Moreover, Perrigo stated that it was

examining “historical revenue recognition practices” associated with the royalty stream and other

potential accounting irregularities and, as a result, could not timely file its periodic reports with

the SEC. Finally, Perrigo announced that Defendant Brown was unexpectedly leaving the

Company. As CFO, Brown was the person most responsible for these accounting irregularities.

Within months, the Company confirmed investors’ fears, restating every single financial

statement it had issued during the Relevant Period—an admission that those statements were

materially false as of the time they were issued.

       227.    As a result, the Company’s shares closed down nearly 12%, or $9.91 per share,

from $84.68 at the close on February 27 to $74.77 on February 28, 2017, on unusually high

trading volume of over 14 million shares. A Morgan Stanley analyst report described the

developments as a “Painful re-set” and explained that the pain was the result of inflated and

unachievable organic growth targets: “Under previous CEO Joe Papa, Perrigo had targeted 5-

10% . . . revenue growth, but the company did not achieve[] that level of growth in recent years.”

Likewise, an RBC Capital Markets analyst report described the disclosures as “worse than we

anticipated” and was concerned by the “unexpected CFO departure.”

       228.    On March 3, 2017, Bloomberg reported that Perrigo’s name had been raised by

antitrust regulators at the Department of Justice. See Perrigo Joins Firms With Generic Drugs

Under U.S. Glare, Bloomberg (Mar. 3, 2017), https://www.bloomberg.com/news/articles/2017-

03-03/perrigo-joins-list-of-firms-with-generic-drugs-under-u-s-glare. On this news, Perrigo

shares dropped 3.71% to close at $72.76, from $75.56 at the close of the prior day.




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        229.   After the close of the market on May 2, 2017, Perrigo revealed that its offices had

been raided as part of an ongoing investigation by the United States Department of Justice into

price-fixing in the pharmaceutical industry. Investors were stunned. As a Wells Fargo analyst

report noted, Perrigo had not “included a disclosure in its prior SEC filings related to an

investigation.” The raid was a far more severe measure than taken against most other generic

drug manufacturers, who merely received subpoenas. Consequentially, on May 3, 2017—the last

day of the Relevant Period—Perrigo’s shares closed down over 5%, or $3.88 per share, from

$76.23 at the close on May 2, 2017, to $72.35 on May 3, 2017. As one Seeking Alpha

contributor recognized in an article entitled “Will Perrigo Collapse?” published shortly after the

raid:

               Perrigo (NASDAQ:PRGO) stock has been bit by a U.S Justice
               Department investigation into price fixing and anti-competitive
               practices in the generics market. This controversy culminated in a
               federal raid on Perrigo’s offices.

                                                ***

               Perrigo’s ‘roll up’ business model is showing signs of stress.

                                                ***

               Perrigo's stock should be avoided, and the company looks like it is
               going down the same path Valeant went down this time last year.
               The Federal raid on Perrigo's offices suggests that the company's
               pricing power in the U.S market may come under threat, and its
               roll-up business model may be depending on pricing power.

Biotechnocrat, Will Perrigo Collapse?, Seeking Alpha (May 5, 2017),

https://seekingalpha.com/article/4069635-will-perrigo-collapse.

        230.   All told, Perrigo’s stock declined more than 62% from the start of the Relevant

Period as Defendants’ false and misleading statements about Perrigo came to light.




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       231.    On May 22, 2017, Perrigo filed its delinquent Form 10-K for calendar year 2016

and restated the financial statements previously filed on Form 10-Q for each of the first three

quarters of 2016. Perrigo’s delinquent 2016 Form 10-K conceded extensive material weaknesses

in its financial reporting. With regard to the Tysabri royalty stream, the Company admitted:

               [M]anagement determined that its control over the review of the
               application of the accounting guidance in ASC 805 Business
               Combinations did not operate effectively in the appropriate
               identification of the assets acquired and liabilities assumed in
               connection with the Elan acquisition in December 2013. All
               originally filed financial statements presented up to the filing of
               this 2016 Form 10-K included the disclosure of the Elan
               acquisition with the Tysabri® royalty stream presented as an
               intangible asset. In addition, due to the fact that the asset was
               historically classified as an intangible asset, we did not design or
               implement controls around the fair value accounting for the
               Tysabri® royalty stream as a financial asset, so these controls were
               not in place at any quarter end subsequent to the acquisition,
               including the date of the annual assessment of internal control.
               Accordingly, management concluded that these control
               deficiencies represent material weaknesses.

       232.    The delinquent 2016 Form 10-K and restated financial statements revealed that

billions of dollars in Tysabri deterioration had been hidden from investors during the Relevant

Period. As reflected in the below chart: (a) Perrigo’s delinquent 2016 Form 10-K conceded that,

in management’s assessment, the fair value of the Tysabri royalty stream as of June 27, 2015,

was no more than $5.42 billion, and as of December 31, 2015, was no more than $5.31 billion;

(b) Perrigo’s restated Form 10-Q for the first quarter of 2016 conceded that, in management’s

assessment, the fair value of the Tysabri royalty stream as of April 2, 2016, was no more than

$5.02 billion; (c) Perrigo’s restated Form 10-Q for the second quarter of 2016 conceded that, in

management’s assessment, the fair value of the Tysabri royalty stream as of July 2, 2016, was no

more than $4.02 billion; (d) Perrigo’s restated Form 10-Q for the third quarter of 2016 conceded

that, in management’s assessment, the fair value of the Tysabri royalty stream as of July 2, 2016,



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was no more than $3.55 billion; and (e) Perrigo’s delinquent 2016 Form 10-K conceded that, in

management’s assessment, the fair value of the Tysabri royalty stream as of December 31, 2016,

was no more than $2.35 billion.

 Measurement date            Last reported value           Actual fair value         Decline hidden from
                             for Tysabri royalty         according to Perrigo          investors by false
                                    stream                                                accounting
6/27/2015                   $5.8 billion                $5.42 billion                $380 million
12/31/2016                  $5.8 billion                $5.31 billion                $490 million
4/2/2016                    $5.8 billion                $5.02 billion                $780 million
7/2/2016                    $5.8 billion                $4.02 billion                $1.78 billion
10/1/2016                   $5.8 billion                $3.55 billion                $2.25 billion
12/31/2016                  $5.8 billion                $2.35 billion                $3.45 billion
Sources: Form 10-Q filed April 29, 2015; Form 10-Q filed August 29, 2015; Form 10-KT filed February 25, 2016;
Forms 10-K and 10-Q/A filed on May 22, 2017.



        233.     On June 5, 2017, Perrigo issued a press release announcing the forthcoming

retirement of John Hendrickson—who succeeded Defendant Papa as CEO of Perrigo—making

Hendrickson the second top executive to leave the Company that year (after Defendant Brown).

        234.     More recently, in April 2018, Bloomberg reported that prosecutors are close to

bringing criminal charges against generic drug companies, including potentially Perrigo,

explaining:

                 U.S. prosecutors are nearing their first charges against companies
                 in an almost four-year-old criminal investigation into alleged price-
                 fixing by generic-drug makers, according to people familiar with
                 the matter.

                 At least two companies are on track to be indicted in the coming
                 months, in addition to several executives, said two people, who
                 spoke on condition of anonymity because the investigation is
                 confidential. Another company could agree to plead guilty before
                 then, said one. . . .

                 The charges, which the people said could be filed as soon as the
                 summer, would mark a major breakthrough in an investigation that


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                   began in 2014 and has spread to nearly every major generic-drug
                   manufacturer. . . .

                                                   ***

                   Federal authorities have raided at least two companies in the
                   investigation. Perrigo Co. disclosed its offices were searched last
                   year.

                                                   ***

                   The looming charges involve fixing prices and dividing up the
                   market, according to one of the people. Although indictments are
                   expected, the companies or their executives could agree to plead
                   guilty rather than fight the charges, said the other person. The
                   identities of the companies set to be charged couldn’t be
                   learned.[14]

VII.        ADDITIONAL ALLEGATIONS OF SCIENTER

            235.   Numerous additional facts demonstrate that Defendants acted intentionally or, at

minimum, were reckless, in making the material misstatements and omissions concerning the

condition of Perrigo’s business.

            A.     Omega and Organic Growth

                   1.     Defendants’ own statements regarding the integration and valuation
                          of Omega and organic growth imply personal knowledge of the true
                          conditions

            236.   Defendant Papa professed to have detailed knowledge of Omega’s operations and

performance, as well as personal knowledge of the factors that drove that performance—and

repeatedly spoke on these subjects to investors. He repeatedly touted successful ongoing efforts

to integrate Omega, as well as the contribution such integration would make to Perrigo’s organic

growth. For example, Papa stated during a June 2, 2015 presentation to investors that “Omega


       14
       David McLaughlin & Drew Armstrong, Generic-Drug Companies to Face First Charges
in U.S. Probe, Bloomberg.com (Apr. 24, 2018), https://www.bloomberg.com/news/articles/2018-
04-24/generic-drug-companies-said-to-face-first-charges-in-u-s-probe (last visited July 26,
2018).



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and Perrigo together were well-positioned,” to achieve a “5% to 10% growth rate,” and described

the Omega acquisition as “immediately accretive.” Similarly, on Perrigo’s earnings call held on

August 5, 2015, Defendant Papa assured investors that the Company had “delivered on our

Omega integration plan” by, among other things, “achiev[ing] great operational efficiencies and

productivity improvement.” While making these statements, Papa also repeatedly reassured

investors that he and his team were intimately familiar and hands-on with the ongoing integration

process. For example, on May 18, 2015, in direct response to analysts’ questions concerning the

“negative and positive surprises that [ha]ve occurred since [the Omega acquisition],” Defendant

Papa affirmatively represented that he “had a chance to work with the [integration] team,” and

discussed specific details of the ongoing integration, including identifying Omega products and

channels that Perrigo had begun to utilize, and delving into the mechanics of the integration

process.

       237.    In light of these reassuring statements to the market on a topic of immense

importance to investors poised to decide whether to tender their shares, it was incumbent on

Defendant Papa to ensure he understood the true facts concerning the subject on which he spoke.

Either he possessed the knowledge of the Omega integration that he claimed to have, in which

case he knew that his statements were false and misleading, or he lacked the knowledge he

claimed to have, in which case his conduct was severely reckless.

       238.    Along similar lines, as Perrigo itself repeatedly stressed, the Omega acquisition

was Perrigo’s most important business initiative during the Relevant Period, and Omega’s post-

acquisition performance and successful integration was a subject of intense market scrutiny and

concern. As Defendant Brown noted on June 23, 2015, the importance of the acquisition was

such that Perrigo’s business shifted from predominantly domestic U.S. sales to become “55%




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US, 45% ex-US, primarily Europe.” On the same day, Brown also explicitly linked the much

touted “5%-10%” organic growth rate Perrigo to Omega’s success, stating “[t]hat is the growth

that . . . we see in our future from the combined Perrigo and Omega footprint.” Thus, not only

did the acquisition make Omega the second largest segment in Perrigo’s business overnight, the

Individual Defendants themselves admitted that Perrigo’s strategic future and its projected

organic growth lay in successfully integrating and running Omega. Moreover, given the

importance of the acquisition to Perrigo’s performance and the value of its stock, analysts were

consistently focused on it both before and during the Relevant Period. The Defendants were

keenly aware of this fact, and as discussed above, each of them professed to be deeply familiar

with the ongoing integration process. See, e.g., supra ¶¶134-35, 141, 143. The admitted

importance of the Omega acquisition, and Omega’s status as a core operation of Perrigo, strongly

indicates that Defendants were aware of ongoing integration problems, or were severely reckless

in not being aware.

       239.    Defendants also indicated that Papa and Brown each had significant roles in

overseeing the Omega integration, supporting an inference that they were aware of the true state

of the integration and Omega’s underperformance. For example, Defendant Papa stated on May

6, 2015, that “[w]hat we tried very hard to do is build a relationship with Mark [Coucke], the

CEO founder of [Omega]. That relationship goes back to visiting him, him visiting us in Allegan,

Michigan. . . . And we had some very good dialogs about how we can work together. We started

some things even before this transaction occurred. So it was a long-time relationship building

with Mark.” Moreover, on June 5, 2015, Papa stated that “I had to integrate the Omega

organization.” Similarly, Papa stated on February 5, 2015, that he and other senior Perrigo

executives “[have] been working with the Omega team [including Coucke] on the post close




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integration, and we’ve had meetings with country managers, finance team, and our supply chain

teams.” Likewise, on June 23, 2015, in response to an analyst’s questions, Defendant Brown

reported that the Mylan offer had not impacted the integration efforts, and that “[the integration]

team continues to do what their mission is and what they had been scheduled to do.” Defendant

Brown then gave a detailed discussion of Omega’s manufacturing and supply chain capabilities,

before stating that “Omega [is] more invigorated than ever by the combination of what we can do

together. [The integration] team is doing their thing and I am off to Belgium next week. That [is]

process like normal.”

       240.    Furthermore, Defendants Papa and Brown were the chief orchestrators of

Perrigo’s takeover defenses against Mylan and were responsible for making nearly all statements

Perrigo issued to investors opposing Mylan’s offer. In doing so, Defendants Papa and Brown

demonstrated that they were intimately familiar with post-acquisition operational synergies and

the complex obstacles involved in achieving them. Indeed, both commented extensively on the

practical impediments to Mylan’s synergy claims concerning Perrigo and personally and

repeatedly discussed the practical details of integration with investors in an effort to thwart the

Mylan acquisition. Perrigo’s Board of Directors recognized the importance of Papa and Brown to

the anti-takeover efforts and granted them special cash and equity bonuses for their “key

contributions related to Mylan’s hostile takeover attempt.”

       241.    Defendants admitted understanding the difficulty of integrating a large acquisition

and achieving merger synergies. In opposing Mylan’s bid, they acknowledged the same

impediments that plagued Perrigo’s integration with Omega. For example, on September 17,

2015, Defendant Brown told investors not to tender to Mylan because “Mylan hasn’t told you

[that] there are potentially very material negative synergies in product divestments and supplier




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contracts with change of control provisions, which could put significant revenue at risk.”

Accordingly, Defendants either knew that similar problems could emerge in Omega, which they

described to be Perrigo’s number one “growth driver[] for 2016 and beyond,” or were severely

reckless in not learning.

         242.   That Defendant Papa, Chairman of the Board, was actually aware of the true facts

involving the ongoing integration efforts is amplified by the statements he made to investors

under the Irish Takeover Rules. As discussed above, Rule 19.2 of the Takeover Rules required

that those issuing public statements during a takeover take “all reasonable care to ensure [that]

the information contained in the document or advertisement is in accordance with the facts and,

where appropriate, that it does not omit anything likely to affect the import of such information.”

Pursuant to Rule 19.2, each presentation and press release Perrigo issued from the beginning of

the Relevant Period through the end of Mylan’s tender offer contained the written assurance that

“[t]he directors of Perrigo accept responsibility for the information contained in this

announcement,” and that they “who have taken all reasonable care to ensure . . . the

information contained in this announcement is in accordance with the facts.” Thus, Papa, by his

own claim to have investigated the factual basis for his assertions, must be charged with

knowledge of the true facts concealed from investors.

         243.   Likewise, the Defendants cannot escape the inference that they were at least

reckless when issuing profit forecasts. Irish Takeover Rule 28 mandates that “[e]very such profit

forecast (including the assumptions upon which it is based) shall be compiled with scrupulous

care, accuracy and objectivity.”15 That the relevant Defendants did not use scrupulous (or even



    15
      See Irish Takeover Rules, available at http://irishtakeoverpanel.ie/wp-
content/uploads/2014/01/ITP-Takeover-Rules.pdf.



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moderate) care, accuracy and objectivity in compiling the profit forecasts they pitched to

investors as a basis to reject the Mylan bid, and instead rolled up fanciful assumptions that the

Company has since admitted were not “realistic” demonstrates a willingness to say or do

anything to defeat Mylan’s bid.

       244.    Highlighting his personal knowledge of the promised standards he was breaching,

Defendant Papa personally assured investors that he was familiar with and compliant with the

Irish Takeover Rules. On May 6, 2015, he stated that “The Irish rules and Irish governance

process is very clear . . . We have had regular communications with the Takeover Panel….and

they’ve been very helpful to us. . . .So there’s a good process. We understand it. We have been

working very closely with the takeover panel to make sure that we follow the rules.”

               2.      Information supplied by former employees of Perrigo and Omega
                       demonstrate Defendants’ scienter

       245.    As discussed above, according to information supplied by CW1, and other former

Perrigo and Omega employees to whom allegations in the Amended Securities Class Action

Complaint and Carmignac Complaint are attributed, adverse information concerning Omega’s

acquisition, integration and poor performance was made available and accessible to senior

Perrigo executives, including Defendants Papa and Brown. See, e.g., supra ¶¶46-59. Given the

repeated representations that Papa and Brown communicated closely with the senior-most

executives at Omega, and were personally involved in and oversaw the integration process, these

facts demonstrate that Papa and Brown either knew that these cost synergies they were touting




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were unrealistic or were severely reckless in ignoring repeated warnings by employees of Omega

and Perrigo that this was the case. 16

         B.     Generic Pricing and Anti-competitive Conduct

         246.   Defendants Papa and Brown both claimed to have personal knowledge of

Perrigo’s generic drug pricing strategy, the pricing environment of other manufacturers, and

Perrigo’s ability to withstand pricing pressures in the generic drug industry, and the Generic Rx

segment was a core operation of Perrigo, indicating that they would have inescapably learned of

the highly unusual, coordinated price hikes, and pricing pressures impacting (or reasonably likely

to impact in the near future) Perrigo’s Rx segment, alleged herein.

         247.   Moreover, Papa and Brown had access to information concerning, among other

things, the increased competition in the U.S. generic drug market and the FDA’s ramped-up

approval of generic drug applications. Indeed, these Defendants knew the immense regulatory

scrutiny was aimed at driving down the price of generic drugs, which had reached unsustainable

levels. At all relevant times, as alleged in the Carmignac Complaint (at ¶¶131-35, 235), Perrigo

maintained a comprehensive list of competitor companies that had filed ANDAs with the FDA

for products that would, if approved, compete with Perrigo’s products, was also keenly focused

on and monitored the FDA approval process, and thus was aware of when and how drugs would

hit the market. Papa and Brown and the other Defendants therefore had access to information

concerning applications in the FDA pipeline for generic drugs that would, once approved, rival

Perrigo’s stable of generics. At a minimum, the Defendants were reckless in falsely stating the




    16
       Defendants’ deliberate unlawful, anti-competitive conduct—price fixing—alleged herein
further supports an inference of scienter. See, e.g., infra IV.D.



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Company was “insulated” from negative pricing pressures and was keeping pricing “flat to up

slightly” despite those pressures.

       248.    Additionally, Defendants, unlike investors, were aware of or recklessly

disregarded the various sources of information pointing to unlawful activity undermining the

accuracy of their statements. Defendants had access to reports and information, including

industry data (see e.g., supra ¶¶71-72), containing red flags indicating anti-competitive conduct

was impacting the pricing of at least six generic compounds that generated millions of dollars in

revenues during the Relevant Period. These red flags should have at least generated suspicion

and investigation that the long-running anti-competitive conduct was possible. As red flags

known or available to Defendants were indicative of anti-competitive conduct for the reasons set

forth above, the fact that the DOJ was investigating Perrigo’s participation in anti-competitive

behavior should not—and would not—have taken Defendants by surprise. Despite these facts,

Defendants described, and continued to describe, Perrigo’s financial performance and prospects

in glowing terms and concealed, and then continued to conceal, the Company’s illegal conduct.

But, given Perrigo’s illegal antitrust scheme and Defendants’ knowledge of the aforementioned

facts, Defendants could not have genuinely believed that their statements were accurate and

complete.

       249.    Moreover, the very nature of the price-fixing activities inflating the results of

Perrigo’s most profitable division supports an inference of scienter. The price-fixing at issue

lasted for years and fundamentally transformed the revenues generated by some of Perrigo’s

most important generic drugs. The successful execution of this scheme required systematic

coordination and top-down command and control, which could not be done without the

knowledge and approval of the Company’s highest-ranking executives. Indeed, the significant




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corporate actions required to participate in any collusive behavior—including raising prices for

key products to the same levels near-simultaneously with multiple competitors pursuant to a

collusive agreement—could not have been accomplished by low level employees acting alone.

         250.   On July 20, 2016, a mere three months after Defendant Papa’s resignation,

Perrigo announced a “leadership change” in its Generic Rx division. Specifically, Perrigo

replaced the executive who was brought in to head the division just as the collusive price hikes

commenced, Douglas Boothe. Further, Boothe’s departure occurred shortly—only two months—

before private antitrust litigation relating to Perrigo’s Generic Rx division was brought against

Perrigo. These facts further contribute to the strong inference that senior executives of Perrigo

were personally aware of, or recklessly ignored, price fixing in Perrigo’s Generic Rx segment.

         C.     Tysabri

         251.   Defendants’ GAAP violations alleged above concealed billions of dollars of

declines in the value of Perrigo’s largest financial asset and demonstrate scienter. The correct

accounting treatment for the Tysabri royalty stream was clear and easy to apply. The Company

itself and its then-CEO described the royalty stream as a “financial asset” in May 2016,

approximately a year before restating results, and Perrigo now concedes that GAAP calls for

financial assets to be recorded at their fair market value. Moreover, the $3.6 billion difference

between the market price for the Tysabri royalty, as reflected in its sales price of just $2.2 billion

(before contingent payments of up to $650 million),17 and the $5.8 billion value Defendants

claimed during the Relevant Period, strongly supports an inference that at least Perrigo, Papa and

Brown knew that the Tysabri asset was worth far less than reported to investors.


    17
      The fact that Defendants were readying the royalty stream for sale in the second half of
2016 provides a motive for Perrigo to claim an inflated fair value, so as to not dissuade potential
buyers.



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         D.     Further Allegations of Scienter

                1.     Findings by the Irish Takeover Panel

         252.   That the Irish Takeover Panel repeatedly found Perrigo’s actions to be misleading

during the Mylan offer period bolsters an inference that it understood its aggressive statements

risked misleading investors. The Irish Takeover Panel—the government body charged with

enforcing and adjudicating disputes under the Takeover Rules—twice ruled that Perrigo

breached rule 19.3, “Avoidance of Misleading Statements,” by making materially misleading

statements in resisting the tender offer. The Panel’s August 25, 2015 ruling covered a series of

Perrigo’s statements concerning the tender offer and stated in no uncertain terms that the voided

“statements may mislead shareholders and the market or may create uncertainty contrary to

Rule 19.3(a) of the . . . Takeover Rules.”18 Similarly, in October 2015, the Panel ruled that

statements Perrigo made about Mylan’s largest shareholder “may be misleading and therefore in

breach of Rule 19.3,” directing Perrigo to make a corrective statement.19 If Defendants’ personal

admissions of responsibility and diligence were insufficient, the Takeover Panel’s direct

criticism of Perrigo’s public statements should have further put Defendants on notice as to their

responsibility to make accurate, factually substantiated statements under Irish law. That a neutral

observer found Defendants to be misleading in certain aspects of their takeover defense further

demonstrates their propensity to be misleading in the takeover defense statements and omissions

alleged above in Section V.




    18
        See Press release concerning ruling, available at
https://www.sec.gov/Archives/edgar/data/1585364/000119312515301798/d76981d425.htm
     19
        See Press release concerning ruling, available at
https://www.sec.gov/Archives/edgar/data/1585364/000158536415000145/a1009201514-
d9aattachment.htm



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                2.     The sheer size of Defendants’ misrepresentations and the GAAP
                       violations

        253.    The Omega misrepresentations covered up problems so large they led to “total

impairments of $2.0 billion”—43% of the entire Omega purchase value, 66% of the equity

Perrigo contributed to the acquisition, and 1.28 times the total goodwill Perrigo attributed to the

Omega acquisition as of June 27, 2015. The organic growth misrepresentations hid that a decade

of rapid organic growth had slowed to only around 1%, and the overstated earnings guidance had

to be slashed numerous times. The concealed generic drug price-fixing involved hundreds of

millions of dollars of unsustainable collusive revenue in Perrigo’s most profitable division.

Moreover, as alleged above, Defendants’ GAAP violations concealed billions of dollars of

declines in the value of Perrigo’s largest financial asset and led to one of the largest restatements

in recent history.

                3.     The close proximity, and sharp divergence, between the
                       misrepresentations and revelations of the truth

        254.    The temporal proximity between Defendants’ false reassurances to investors and

contradictory revelations supports a strong inference of scienter. Only months after issuing a

supposedly “scrupulous[ly]” objective profit forecast, and less than only five weeks after

reiterating guidance in January 2016, Defendants began to slash that guidance. Similarly, only

five weeks after Papa’s January 2016 reassurances concerning “synergies” with Omega, Perrigo

announced the first of many large impairments related to Omega. Then, Papa resigned less than

six months after urging investors to keep Perrigo an independent Company under his leadership,

which analysts and market commentators recognized and raised concerns about Defendants’

prior representations (see, e.g., ¶213). Such confident assurances followed quickly by

contradictory revelations contribute to an inference of scienter.




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        255.    The sharpness of the divergences between reassurances made during the Relevant

Period and subsequent revelations, involving multiple instances in which later negative

disclosures completely contradicted Defendants’ earlier positive statements, contributes to a

strong inference of scienter. For example, Defendant Papa repeatedly trumpeted Perrigo’s

“strong history of responsible corporate governance” and “commitment to corporate governance

and transparency,” which purportedly stood in sharp contrast to “Mylan’s irresponsible corporate

governance behavior,” which Defendant Papa called “abysmal.” But shortly after making these

forceful statements, Defendant Papa quit the Company, and the new CEO conceded that

Perrigo’s guidance to investors had not been “realistic.” As discussed above, Defendants’

repeated boasting concerning the value and success of the Omega acquisition were also

contradicted soon after their positive statements by write downs that exceeded the total value of

goodwill Perrigo had recorded in the acquisition. These shocking announcements were then

followed by a raft of further executive personnel departures (including that of the CFO and the

head of Perrigo’s Generic Rx segment) over the course of 2016 and 2017, as well as a

restatement. Such sharp contradictions, including a complete reversal from touting synergies to

the need to implement major, multi- hundred-million-dollar “restructuring[s]” in the span of

weeks, contributes to a strong inference of scienter, or at the very least, severe recklessness.

                4.      Sarbanes-Oxley Certifications

        256.    In their Certifications Pursuant to Sections 302 and 906 of the Sarbanes-Oxley

Act of 2002, submitted with the Company’s 2015 Form 10-K and Form 10-KT, Defendants Papa

and Brown represented that (i) they had reviewed the Company’s respective filings; (ii) the

reports did “not contain any untrue statement of material fact or omit to state a material fact

necessary to make the statements made . . . not misleading”; and (iii) the “information included

in this report, fairly present in all material respects the financial condition, results of operations


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and cash flows of the [Company].” Perrigo’s admission that it actually had “material

weaknesses” in internal controls, specifically that it “did not maintain, in all material respects,

effective internal control over financial reporting [throughout the Relevant Period],” suggests

that either Papa and Brown were reckless in making their Sarbanes-Oxley certifications, or had

actual knowledge of the deficiencies from the investigation they claimed to have conducted.

                5.      Timing and circumstances of executive departures

        257.    The timing and circumstances of Defendant Brown’s departure also demonstrates

her (and Perrigo’s) scienter. It came the same day that Perrigo announced it was investigating

“historical revenue recognition practices” regarding the Tysabri royalty stream, and that it could

only sell the Tysabri royalty stream for $2.2 billion (or up to $2.85 billion if certain milestones

were satisfied), billions less than the value Brown had caused Perrigo to report to investors

using an accounting scheme that Perrigo now admits violated GAAP, and which directly

furthered Defendants’ fraud. As discussed above, Defendants’ scienter is also demonstrated by

the timing and circumstances of the departures of Papa, Coucke, and Boothe, which are alleged

above. See, e.g., ¶¶12-13, 20, 31-32, 212-19, 250, 255.

                6.      Defendants’ Motives

        258.    As alleged in detail above—and as numerous independent observers, such as Jim

Cramer, Wells Fargo and Starboard Value concluded after the tender offer failed (as noted

above)—Defendants’ motive during the takeover period was to derail Mylan’s bid and cause

investors to reject the deal. Papa and Brown were awarded millions of dollars in special bonuses

for their roles in defeating the Mylan offer (see supra ¶115). Further, the Individual Defendants

were motived to engage in fraud for personal entrenchment reasons—to prevent a transaction

likely to lead to their terminations.




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VIII. RELIANCE

       259.    During the Relevant Period, Plaintiff and other Perrigo shareholders reasonably

relied on the materially false and misleading statements and omissions alleged herein in reaching

investment decisions concerning Perrigo common stock.

       260.    There is a presumption of reliance established by the fraud-on-the-market doctrine

because, among other things:

               (a)     The Defendants made public misrepresentations or failed to disclose

material facts during the relevant period;

               (b)     The misrepresentations and omissions were material;

               (c)     The Company’s securities traded in efficient markets;

               (d)     The misrepresentations and omissions alleged would induce a reasonable

investor to misjudge the value of the Company’s securities; and

               (e)     Plaintiff purchased Perrigo securities between the time Defendants

misrepresented or failed to disclose material facts, and the time the true facts were disclosed

without knowledge of the misrepresented or omitted facts.

       261.    At all relevant times, the market for Perrigo’s securities was efficient for the

following reasons, among others:

               (a)     Perrigo’s common stock met the requirements for listing, was liquid, and

was listed and actively traded on the NYSE and TASE, highly efficient and automated markets;

               (b)     As a regulated issuer, Perrigo filed periodic reports with the SEC and the

New York Stock Exchange;

               (c)     Perrigo regularly communicated with public investors via established

market communication mechanisms, including through regular disseminations of press releases

on the national circuits of major newswire services and through other wide-ranging public


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disclosures, such as communications with the financial press and other similar reporting services;

and

               (d)     Perrigo was covered by multiple analysts during the relevant period.

        262.   As a result of the foregoing, the market for Perrigo’s securities promptly digested

current information regarding Perrigo from all publicly available sources and reflected such

information in the price of Perrigo securities. Under these circumstances, a presumption of

reliance applies.

        263.   Plaintiff is also entitled to a presumption of reliance under Affiliated Ute Citizens

of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein against

Defendants are primarily predicated upon omissions of material fact for which there was a duty

to disclose.

        264.   In addition, Plaintiff directly relied on Defendants’ false and misleading

statements alleged herein when deciding to purchase Perrigo securities and/or hold Perrigo

securities through the tender offer.

        265.   During the Relevant Period, the investment recommendations were executed by

Plaintiff’s investment management arm, USS Investment Management Limited (“USSIM”),

which employed an active strategy based on an analytical, research-based investment process.

Under this process, USSIM made all decisions concerning whether to purchase, sell, tender, or

hold shares. USSIM regularly evaluated individual companies, including Perrigo, and was

responsible for determining whether to recommend Plaintiff purchase, sell, tender, or hold shares

in those companies. Factors considered by USSIM in deciding whether to recommend that

Plaintiff purchase, sell, tender, or hold Perrigo shares included, among other things, Perrigo’s




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financial performance and outlook, and a review of the Company’s strengths, weaknesses and

opportunities.

       266.      During the Relevant Period, USSIM undertook comprehensive asset valuation

analyses and performed rigorous independent and fundamental research including reading and

relying upon publicly available information concerning Perrigo from the following sources:

(a) Perrigo’s public statements, plans and press releases; (b) Perrigo’s corporate website and

materials posted thereon; (c) analyst reports and earnings conference calls involving Perrigo;

(d) Perrigo’s periodic securities filings with the SEC and the NYSE, including its Forms 10-K;

(e) other regulatory filings and reports regarding Perrigo; and (f) industry conferences and

conference transcripts involving Perrigo.

       267.      In particular, USSIM read, reviewed, and/or listened to, and relied on statements

from the foregoing sources set forth in Section V above concerning the Company’s financial

performance and outlook, Mylan’s tender offer, and audited financial statements, particularly

those regarding Perrigo’s financial condition, the Omega acquisition, Omega’s performance and

integration, Perrigo’s organic growth, pricing in the Generic Rx division, and the fair value of the

Tysabri royalty stream and GAAP compliance. USSIM used the Company’s reported revenues

and projections, among other things, as metrics to analyze Perrigo’s current and future operations

and financial performance and the relative value of Mylan’s tender offer, and in making

decisions about whether to invest in Perrigo or its competitors. In so doing, USSIM also read and

relied on statements from these sources relating to Perrigo’s financial condition, the Omega

acquisition, Omega’s performance and integration, Perrigo’s organic growth, pricing in the

Generic Rx division, the fair value of the Tysabri royalty stream, and GAAP compliance.




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       268.    Plaintiff, through USSIM, relied on Defendants’ false or misleading statements

set forth in Section V above (to the extent the statement was released to the market) as being

materially complete and as not omitting material information, including information regarding

Perrigo’s financial condition, the Omega acquisition, Omega’s performance and integration,

Perrigo’s organic growth, pricing in the Generic Rx division, and the fair value of the Tysabri

royalty stream and GAAP compliance. In reliance upon the false or misleading statements and

omissions identified above in Section V, Plaintiff purchased or acquired shares of Perrigo

common stock during the Relevant Period and held approximately 797,831 shares on the tender

offer deadline (see supra ¶28), and as a result, was damaged by the fraud detailed herein.

       269.    Defendants’ false and misleading statements and omissions of fact alleged herein

had a material influence and were a substantial factor in bringing about Plaintiff’s investment

manager’s investment recommendations regarding Perrigo stock. USSIM did not know, and in

the exercise of reasonable diligence could not have known, of Defendants’ false and misleading

statements alleged herein when reaching investment decisions concerning Perrigo common stock

during the Relevant Period.

IX.    NO SAFE HARBOR

       270.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The specific statements pleaded herein were not “forward-looking statements” nor were they

identified as “forward-looking statements” when made. Nor was it stated with respect to any of

the statements forming the basis of this Complaint that actual results “could differ materially

from those projected.” To the extent there were any forward-looking statements, there were no

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the purportedly forward-looking statements. Alternatively, to the


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extent that the statutory safe harbor does apply to any forward-looking statements pled herein,

Defendants are liable for those false forward-looking statements because at the time each of

those forward-looking statements was made, the particular speaker knew that the particular

forward-looking statement was false, and/or the forward-looking statement was authorized

and/or approved by an executive officer of Perrigo who knew that those statements were false

when made.

                                            COUNT I
                       For Violations of Section 10(b) of the Exchange Act
                                    (Against All Defendants)

        271.    Plaintiffs repeat, incorporate, and reallege each and every allegation set forth

above as if fully set forth herein.

        272.    During the Relevant Period, Defendants carried out a plan, scheme, and course of

conduct which was intended to and, throughout the Relevant Period, did: (i) deceive the

investing public, including Plaintiff, as alleged herein; and (ii) cause Plaintiffs to purchase

Perrigo common stock at artificially inflated prices.

        273.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s common stock in an effort

to maintain artificially high market prices for Perrigo common stock in violation of Section 10(b)

of the Exchange Act and Rule 10b-5 promulgated thereunder.

        274.    Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about the Company’s

financial well-being, operations, and prospects.


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        275.    During the Relevant Period, Defendants made the false statements specified

above, which they knew or recklessly disregarded to be false or misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

        276.    Defendants had actual knowledge of the misrepresentations and omissions of

material fact set forth herein, or recklessly disregarded the true facts that were available to them.

Defendants engaged in this misconduct to conceal Perrigo’s true condition from the investing

public and to support the artificially inflated prices of the Company’s common stock.

        277.    Plaintiffs have suffered damages in that, in reliance on the integrity of the market,

they paid artificially inflated prices for Perrigo common stock. Plaintiffs would not have

purchased the Company’s common stock at the prices they paid, or at all, had they been aware

that the market prices for Perrigo common stock had been artificially inflated by Defendants’

fraudulent course of conduct.

        278.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs

suffered damages in connection with their respective purchases of the Company’s common stock

during the Relevant Period.

        279.    By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange

Act and Rule 10b-5 promulgated thereunder.

                                           COUNT II
                       For Violations of Section 14(e) of the Exchange Act
                                    (Against All Defendants)

        280.    Plaintiff repeats, incorporates, and realleges each and every allegation set forth

above as if fully set forth herein.

        281.    Section 14(e) provides: “It shall be unlawful for any person to make any untrue

statement of a material fact or omit to state any material fact necessary in order to make the


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statements made, in the light of the circumstances under which they are made, not misleading, or

to engage in any fraudulent, deceptive, or manipulative acts or practices, in connection with any

tender offer.”

         282.    Defendants’ conduct violated their respective obligations under Section 14(e)

because Defendants made the materially false or misleading statements or omissions of material

fact set forth above in connection with Mylan’s tender offer.

         283.    Those misstatements and omissions were material, in that a reasonable investor

would have deemed those facts important in determining whether to purchase and tender its

shares of Perrigo stock in connection with the tender offer.

         284.    Defendants intentionally or recklessly engaged in acts, practices, and a course of

conduct that was fraudulent, deceptive or manipulative when issuing their false or misleading

statements or omissions of material in violation of Section 14(e) of the Exchange Act. During the

Relevant Period, and while in possession of material adverse, nonpublic information, Defendants

used the means and instrumentalities of interstate commerce, the U.S. mails, and the facilities of

the national securities exchanges to make the materially false or misleading statements and

omissions of material fact alleged herein to: (i) knowingly or recklessly deceive Perrigo

shareholders with respect to Perrigo’s operations, business, performance and prospects; (ii) cause

the market price of Perrigo common stock to trade above its true value; and (iii) induce a

majority of Perrigo shareholders to reject Mylan’s Tender Offer, thereby interfering with

Plaintiff’s opportunity, and depriving it of the opportunity, to tender its Perrigo common stock in

exchange for the combination of cash and Mylan stock offered by Mylan through the tender

offer.




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        285.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff'

suffered damages in connection with its holdings of Perrigo common stock as of the expiration

of Mylan’s Tender Offer on November 13, 2015 because the tender offer, which was in large

part defeated as the result of Defendants’ material misrepresentations and omissions, would have

provided Plaintiff with substantially more value than holding its Perrigo common stock.

        286.    As a direct and proximate result of Defendants’ violations of Section 14(e) of the

Exchange Act, Plaintiff was prevented from fairly assessing Mylan’s offer, and were deprived of

the opportunity to exchange its Perrigo shares for superior compensation in cash and stock. As a

result, Plaintiff incurred significant damages.

        287.    By reason of such conduct, Defendants are liable pursuant to Section 14(e) of the

Exchange Act.

                                            COUNT III
                        For Violations of Section 20(a) of the Exchange Act
                                    (Against Papa and Brown)

        288.    Plaintiff repeats, incorporates, and realleges each and every allegation set forth

above as if fully set forth herein.

        289.    Defendant Papa was the CEO and Chairman of the Board of Perrigo, and architect

of the strategic positions taken by Perrigo alleged herein. He was directly involved in the day-to-

day management of the Company, including its communications to investors. As a result, he had

the power and ability to control the actions of Perrigo, and acted as a controlling person of

Perrigo within the meaning of Section 20(a) of the Exchange Act for all statements and

omissions of Perrigo until his resignation, and is liable for Perrigo’s violations of the Exchange

Act during that time.

        290.    Defendant Brown was the CFO of Perrigo, signed periodic filings on behalf of

Perrigo, and certified those filings pursuant to Sarbanes-Oxley. As a result, Brown exercised


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control over Perrigo’s selection of accounting treatment, the recording of its financial statements,

and its decisions to comply or not comply with GAAP. By reason of such conduct, Brown was a

control person of Perrigo within the meaning of Section 20(a) of the Exchange Act for all

statements and omissions of Perrigo regarding its accounting for the Tysabri royalty stream, and

is liable for Perrigo’s violations of the Exchange Act related thereto.

       291.    Papa and Brown were the CEO and the CFO of Perrigo, respectively, and were

privy to, and monitored, confidential and proprietary information concerning Perrigo, its

business, operations, performance, and future prospects, including its compliance with applicable

federal, state, and local laws and regulations. In these roles, the Individual Defendants had

regular access to non-public information about its business, operations, performance, and future

prospects through access to internal corporate documents and information, conversations, and

connections with other corporate officers and employees, attendance at management meetings

and meetings of the Company’s Board of Directors and committees thereof, as well as reports

and other information provided to them in connection therewith.

       292.    Each of the Individual Defendants was a controlling person of Perrigo within the

meaning of Section 20(a), as alleged herein. By virtue of their high-level positions, participation

in, and/or awareness of the Company’s day-to-day operations and finances, and/or knowledge of

the statements filed by the Company with the SEC and disseminated to the investing public, Papa

and Brown each had the power and authority to influence and control, and did influence and

control, directly or indirectly, the day-to-day decision-making of the Company including the

content and dissemination of the statements Plaintiff alleges were materially false or misleading

and/or omitted material facts.




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       293.    Papa and Brown were provided with, or had access to, copies of the Company’s

reports, press releases, public filings, and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability and ultimate

authority to prevent the issuance of the statements or cause the statements to be corrected. In

particular, Papa and Brown maintained direct and supervisory involvement in the day-to-day

operations of the Company and, therefore, had, or are presumed to have had, the power to control

or influence the particular public statements or omissions giving rise to the securities violations

as alleged herein, and exercised the same.

       294.    As set forth above, Defendants violated Section 14(e) of the Exchange Act by

their acts and omissions as alleged herein. By virtue of the Individual Defendants’ status as

controlling persons and their respective participation in the underlying violations of Section

14(e) of the Exchange Act, Papa and Brown are liable pursuant to Section 20(a). As a direct and

proximate result of Papa’s and Brown’s culpable conduct, Plaintiff suffered damages in

connection with its purchases of the Company’s stock during the Relevant Period and holdings

of Perrigo common stock as of the expiration of Mylan’s Tender Offer on November 13, 2015.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

       A.      Awarding compensatory damages in favor of Plaintiff against all Defendants,

jointly and severally, for all damages sustained as a result of Defendants’ wrongdoing, in an

amount to be proven at trial, including interest thereon;

       B.      Awarding Plaintiff its reasonable costs and expenses incurred in this action,

including attorneys’ fees and expert fees; and




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       C.      Awarding such equitable/injunctive or other further relief as the Court may deem

just and proper.


                                        JURY DEMAND

       Plaintiff herby demands a trial by jury.


Dated: March 2, 2020                         Respectfully submitted,

 WHIPPLE AZZARELLO, LLC                           LABATON SUCHAROW LLP

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